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                                 EXHIBIT A
                                     Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                             Desc:
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                                                                           Twenty-Fourth Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                     CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
1 DEL VALLE RIVERA,             05/25/18   Commonwealth of Puerto         31916              Undetermined* DEL VALLE RIVERA,       05/25/18   Commonwealth of Puerto    32147        Undetermined*
  OLGA                                     Rico                                                            OLGA                               Rico
  HC 3 BOX 36198                           17 BK 03283-LTS                                                 HC 3 BOX 36198                     17 BK 03283-LTS
  CAGUAS, PR 00725-9702                                                                                    CAGUAS, PR 00725-9702

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
2 DELGADILLO                    06/29/18   Commonwealth of Puerto         132142             Undetermined* DELGADILLO              06/29/18   Commonwealth of Puerto    132429       Undetermined*
  BONIFACIO, IGNACIA M.                    Rico                                                            BONIFACIO, IGNACIA M.              Rico
                                           17 BK 03283-LTS                                                                                    17 BK 03283-LTS

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
3 DELGADO LABOY,                05/16/18   Commonwealth of Puerto         13293              Undetermined* DELGADO LABOY,          05/16/18   Commonwealth of Puerto    15211        Undetermined*
  LYDIA                                    Rico                                                            LYDIA                              Rico
  PO BOX 684                               17 BK 03283-LTS                                                 PO BOX 684                         17 BK 03283-LTS
  YABUCOA, PR 00767                                                                                        YABUCOA, PR 00767

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
4 DELGADO MATIAS,               08/13/18   Commonwealth of Puerto         163354             Undetermined* DELGADO MATIAS,         08/13/18   Commonwealth of Puerto    163375       Undetermined*
  MABEL                                    Rico                                                            MABEL                              Rico
  CALLE MARINA 330                         17 BK 03283-LTS                                                 CALLE MARINA 330                   17 BK 03283-LTS
  AGUADA, PR 00602                                                                                         AGUADA, PR 00602

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
5 DELGADO ORTIZ, JORGE          07/09/18   Commonwealth of Puerto         123999                $ 85,000.00 DELGADO ORTIZ, JORGE   07/09/18   Commonwealth of Puerto    166062          $ 85,000.00
  D                                        Rico                                                             D                                 Rico
  URBANIZACIÓN SYLVIA                      17 BK 03283-LTS                                                  URBANIZACIÓN SYLVIA               17 BK 03283-LTS
  CALLE #1 D 1                                                                                              CALLE #1 D 1
  COROZAL, PR 00783                                                                                         COROZAL, PR 00783

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
6 DELGADO RAMIREZ,              05/25/18   Commonwealth of Puerto         22353              Undetermined* DELGADO RAMIREZ,        05/25/18   Commonwealth of Puerto    23336        Undetermined*
  CARMEN M                                 Rico                                                            CARMEN M                           Rico
  VILLAS DE CANDELERO                      17 BK 03283-LTS                                                 VILLAS DE CANDELERO                17 BK 03283-LTS
  143 CALLE FLAMENCO                                                                                       143 CALLE FLAMENCO
  HUMACAO, PR 00791                                                                                        HUMACAO, PR 00791

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 1 of 96
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                                                                           Twenty-Fourth Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                     CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT              NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
7 DELGADO RAMIREZ,              05/25/18   Commonwealth of Puerto         22912              Undetermined* DELGADO RAMIREZ,      05/25/18   Commonwealth of Puerto    23336        Undetermined*
  CARMEN M                                 Rico                                                            CARMEN M                         Rico
  VILLAS DE CANDELERO                      17 BK 03283-LTS                                                 VILLAS DE CANDELERO              17 BK 03283-LTS
  143 CALLE FLAMENCO                                                                                       143 CALLE FLAMENCO
  HUMACAO, PR 00797                                                                                        HUMACAO, PR 00791

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
8 DELGADO RODRIGUEZ,            05/24/18   Commonwealth of Puerto         29417              Undetermined* DELGADO RODRIGUEZ,    05/24/18   Commonwealth of Puerto    30280        Undetermined*
  MARIBEL                                  Rico                                                            MARIBEL                          Rico
  HC-05 BOX 93080                          17 BK 03283-LTS                                                 HC 05 BOX 93080                  17 BK 03283-LTS
  ARECIBO, PR 00612                                                                                        ARECIBO, PR 00612

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
9 DELGADO TORRES,               06/28/18   Commonwealth of Puerto         117948             Undetermined* DELGADO TORRES,       06/28/18   Commonwealth of Puerto    122635       Undetermined*
  CARMEN L.                                Rico                                                            CARMEN L.                        Rico
  A-17 CALLE 11                            17 BK 03283-LTS                                                 A-17 C-11 URB.                   17 BK 03283-LTS
  URB JARDINES DE                                                                                          JARDINES DE GUAMANI
  GUAMAND                                                                                                  GUAYAMA, PR 00784
  GUAYAMA, PR 00784

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
10 DELGADO TORRES,              06/28/18   Commonwealth of Puerto         123600             Undetermined* DELGADO TORRES,       06/28/18   Commonwealth of Puerto    156195       Undetermined*
   MARITZA                                 Rico                                                            MARITZA                          Rico
   CALLE 11 A17 URB.                       17 BK 03283-LTS                                                 CALLE 11 A17 URB.                17 BK 03283-LTS
   JARDINES DE GUAMANI                                                                                     JARDINES DE GUAMANI
   GUAYAMA, PR 00784                                                                                       GUAYAMA, PR 00784

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
11 DELGADO TORRES,              06/28/18   Commonwealth of Puerto         137520             Undetermined* DELGADO TORRES,       06/28/18   Commonwealth of Puerto    156195       Undetermined*
   MARITZA                                 Rico                                                            MARITZA                          Rico
   CALLE 11 A17 URB.                       17 BK 03283-LTS                                                 CALLE 11 A17 URB.                17 BK 03283-LTS
   JARDINES DE GUAMANI                                                                                     JARDINES DE GUAMANI
   GUAYAMA, PR 00784                                                                                       GUAYAMA, PR 00784

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 2 of 96
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
12 DELGADO VEGA,                 06/26/18   Commonwealth of Puerto         97612              Undetermined* DELGADO VEGA,           06/27/18   Commonwealth of Puerto    101768       Undetermined*
   LILLIAM                                  Rico                                                            LILLIAM                            Rico
   #7015 CALLE TURCA                        17 BK 03283-LTS                                                 #7015 CALLE TURCA                  17 BK 03283-LTS
   COTO LAUREL, PR 00780                                                                                    URB. LAUREL SUR
                                                                                                            COTO LAUREL, PR 00780

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
13 DIAZ ACHURY, IRENE            06/07/18   Commonwealth of Puerto         49742              Undetermined* DIAZ ACHURY, IRENE      06/07/18   Commonwealth of Puerto    52623        Undetermined*
   COLINAS DE FAIR VIEW                     Rico                                                            COLINAS DE FAIR VIEW               Rico
   CALLE 223 4P 20                          17 BK 03283-LTS                                                 4P20 CALLE 223                     17 BK 03283-LTS
   TRUJILLO ALTO, PR                                                                                        TRUJILLO ALTO, PR
   00976                                                                                                    00976

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
14 DIAZ ASIA, IVAN               06/27/18   Commonwealth of Puerto         38324              Undetermined* DIAZ ASIA, IVAN         06/27/18   Commonwealth of Puerto    54879        Undetermined*
   PO BOX 6302                              Rico                                                            P.O. BOX 6302                      Rico
   CAGUAS, PR 00726                         17 BK 03283-LTS                                                 CAGUAS, PR 00726                   17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
15 DIAZ DIAZ, IRVIN              05/10/18   Commonwealth of Puerto         13719              Undetermined* DIAZ DIAZ, IRVIN        05/10/18   Commonwealth of Puerto    14262        Undetermined*
   HC 1 BOX 4668                            Rico                                                            HC-01 BOX 4668                     Rico
   NAGUABO, PR 00718                        17 BK 03283-LTS                                                 NAGUABO, PR 00718                  17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
16 DIAZ DIAZ, IRVIN              05/10/18   Commonwealth of Puerto         14211              Undetermined* DIAZ DIAZ, IRVIN        05/10/18   Commonwealth of Puerto    14262        Undetermined*
   HC 1 BOX 4668                            Rico                                                            HC-01 BOX 4668                     Rico
   NAGUABO, PR 00718                        17 BK 03283-LTS                                                 NAGUABO, PR 00718                  17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
17 DIAZ DIAZ, MAYRA              06/29/18   Commonwealth of Puerto         105263             Undetermined* DIAZ DIAZ, MAYRA        06/29/18   Commonwealth of Puerto    145592       Undetermined*
   P.O. BOX 1304                            Rico                                                            PO BOX 1304                        Rico
   AGUAS BUENAS, PR                         17 BK 03283-LTS                                                 AGUAS BUENAS, PR                   17 BK 03283-LTS
   00703                                                                                                    00703-1304

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 3 of 96
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
18 DIAZ DIAZ, MAYRA              06/29/18   Commonwealth of Puerto         135931             Undetermined* DIAZ DIAZ, MAYRA       06/29/18   Commonwealth of Puerto    145592       Undetermined*
   P.O. BOX 1304                            Rico                                                            PO BOX 1304                       Rico
   AGUAS BUENAS, PR                         17 BK 03283-LTS                                                 AGUAS BUENAS, PR                  17 BK 03283-LTS
   00703                                                                                                    00703-1304

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
19 DIAZ DIAZ, MAYRA              06/29/18   Commonwealth of Puerto         136671             Undetermined* DIAZ DIAZ, MAYRA       06/29/18   Commonwealth of Puerto    145592       Undetermined*
   PO BOX 1304                              Rico                                                            PO BOX 1304                       Rico
   AGUAS BUENAS, PR                         17 BK 03283-LTS                                                 AGUAS BUENAS, PR                  17 BK 03283-LTS
   00703                                                                                                    00703-1304

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
20 DIAZ DIAZ, MAYRA              06/29/18   Commonwealth of Puerto         137335             Undetermined* DIAZ DIAZ, MAYRA       06/29/18   Commonwealth of Puerto    145592       Undetermined*
   P.O. BOX 1304                            Rico                                                            PO BOX 1304                       Rico
   AGUAS BUENAS, PR                         17 BK 03283-LTS                                                 AGUAS BUENAS, PR                  17 BK 03283-LTS
   00703                                                                                                    00703-1304

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
21 DIAZ MARCANO, JOSE            04/09/18   Commonwealth of Puerto          4315                 $ 5,700.00* DIAZ MARCANO, JOSE    04/09/18   Commonwealth of Puerto    5650            $ 5,700.00*
   A.                                       Rico                                                             A.                               Rico
   LYMARIS PEREZ                            17 BK 03283-LTS                                                  LYMARIS PEREZ                    17 BK 03283-LTS
   RODRIGUEZ                                                                                                 RODRIGUEZ
   PO BOX 195287                                                                                             PO BOX 195287
   SAN JUAN, PR 00919                                                                                        SAN JUAN, PR 00919

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
22 DIAZ MARIN, AUREA L.          06/28/18   Commonwealth of Puerto         68178              Undetermined* DIAZ MARIN, AUREA L.   06/28/18   Commonwealth of Puerto    69098        Undetermined*
   PO BOX 1413                              Rico                                                            P.O. BOX. 1413                    Rico
   HATILLO, PR 00659                        17 BK 03283-LTS                                                 HATILLO, PR 00659                 17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
23 DIAZ MARRERO, ANA H           07/02/18   Commonwealth of Puerto         112370             Undetermined* DIAZ MARRERO, ANA H    07/02/18   Commonwealth of Puerto    142701       Undetermined*
   PO BOX 455                               Rico                                                            PO BOX 455                        Rico
   TOA ALTA, PR 00954                       17 BK 03283-LTS                                                 TOA ALTA, PR 00954                17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 4 of 96
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
24 DIAZ MARRERO, ANA H           07/02/18   Commonwealth of Puerto         128021             Undetermined* DIAZ MARRERO, ANA H    07/02/18   Commonwealth of Puerto    142701       Undetermined*
   PO BOX 455                               Rico                                                            PO BOX 455                        Rico
   TOA ALTA, PR 00954                       17 BK 03283-LTS                                                 TOA ALTA, PR 00954                17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
25 DIAZ MATOS, LUZ               04/13/18   Commonwealth of Puerto          4971              Undetermined* DIAZ MATOS, LUZ        04/13/18   Commonwealth of Puerto    4973         Undetermined*
   HC 3 BOX 19060                           Rico                                                            HC 03 BUZON 19060                 Rico
   RIO GRANDE, PR 00745                     17 BK 03283-LTS                                                 RIO GRANDE, PR 00745              17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
26 DIAZ MEDINA, FRANCES          05/29/18   Commonwealth of Puerto         58030              Undetermined* DIAZ MEDINA, FRANCES   05/29/18   Commonwealth of Puerto    69136        Undetermined*
   URB ANAIDA                               Rico                                                            URB ANAIDA                        Rico
   G-5 CALLE 6                              17 BK 03283-LTS                                                 G-5 CALLE 6                       17 BK 03283-LTS
   PONCE, PR 00716                                                                                          PONCE, PR 00731

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
27 DIAZ MORALES,                 05/25/18   Commonwealth of Puerto         19306              Undetermined* DIAZ MORALES,          06/07/18   Commonwealth of Puerto    60157        Undetermined*
   HILDAMARIS                               Rico                                                            HILDAMARIS                        Rico
   URB. VILLA HUMACAO                       17 BK 03283-LTS                                                 URB. VILLA HUMACAO                17 BK 03283-LTS
   CALLE 12 F-10                                                                                            CALLE 12 F-10
   HUMACAO, PR 00791                                                                                        HUMACAO, PR 00791

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
28 DIAZ PEREZ, DAISY             05/30/18   Commonwealth of Puerto         37914              Undetermined* DIAZ PEREZ, DAISY      05/30/18   Commonwealth of Puerto    23895        Undetermined*
   PO BOX 1323                              Rico                                                            PO BOX 1323                       Rico
   VEGA ALTA, PR 00692                      17 BK 03283-LTS                                                 VEGA ALTA, PR 00692               17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
29 DIAZ RIVERA, JOSE J           06/07/18   Commonwealth of Puerto         49775              Undetermined* DIAZ RIVERA, JOSE J    06/07/18   Commonwealth of Puerto    52353        Undetermined*
   CALLE VIRGILIO                           Rico                                                            CALLE VIRGILIO                    Rico
   SANCHEZ                                  17 BK 03283-LTS                                                 SANCHEZ                           17 BK 03283-LTS
   EDIFICIO 1 APTO 45                                                                                       EDIFICIO 1 APTO 45
   ARROYO, PR 00714                                                                                         ARROYO, PR 00714

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 5 of 96
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
30 DIAZ RIVERA, MIRIAM           06/19/18   Commonwealth of Puerto         83729                $ 300,000.00 DIAZ RIVERA, MIRIAM      06/19/18   Commonwealth of Puerto    86907          $ 300,000.00
   HC 02 BOX 69648                          Rico                                                             HC 2 BOX 69648                      Rico
   LAS PIEDRAS, PR 00771                    17 BK 03283-LTS                                                  LAS PIEDRAS, PR 00771-              17 BK 03283-LTS
                                                                                                             9715

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
31 DIAZ RODRIGUEZ,               06/29/18   Commonwealth of Puerto         83555              Undetermined* DIAZ RODRIGUEZ,           06/29/18   Commonwealth of Puerto    83902        Undetermined*
   FELIX R.                                 Rico                                                            FELIX R.                             Rico
   PO BOX 766                               17 BK 03283-LTS                                                 PO BOX 766                           17 BK 03283-LTS
   QUEBRADILLAS, PR                                                                                         QUEBRADILLAS, PR
   00678                                                                                                    00627

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
32 DIAZ RODRIGUEZ, JOSE          06/26/18   Commonwealth of Puerto         91357              Undetermined* DIAZ RODRIGUEZ, JOSE      06/26/18   Commonwealth of Puerto    98241        Undetermined*
   R                                        Rico                                                            R                                    Rico
   334 CALLE TARTAGOS                       17 BK 03283-LTS                                                 334 CALLE TARTAGOS                   17 BK 03283-LTS
   PONCE, PR 00730-2394                                                                                     PONCE, PR 00730-2394

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
33 DIAZ ROJAS, LUIS O            06/22/18   Commonwealth of Puerto         81535              Undetermined* DIAZ ROJAS, LUIS O        06/22/18   Commonwealth of Puerto    85855        Undetermined*
   RR-7 BOX 2688                            Rico                                                            RR-7 BOX 2688                        Rico
   TOA ALTA, PR 00953                       17 BK 03283-LTS                                                 TOA ALTA, PR 00953                   17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
34 DIAZ ROSADO, RAUL             06/29/18   Commonwealth of Puerto         131825             Undetermined* DIAZ ROSADO, RAUL         06/29/18   Commonwealth of Puerto    142034       Undetermined*
   URB. BORINQUEN                           Rico                                                            URB. BORINQUEN                       Rico
   VALLEY 533 C/ YAGUA                      17 BK 03283-LTS                                                 VALLEY 533 C/YAGUA                   17 BK 03283-LTS
   CAGUAS, PR 00725-9870                                                                                    CAGUAS, PR 00725-9870

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
35 DIAZ VAZQUEZ, JOSE A          06/07/18   Commonwealth of Puerto         49420              Undetermined* DIAZ VAZQUEZ, JOSE A      06/07/18   Commonwealth of Puerto    60088        Undetermined*
   URB JARDINES DE                          Rico                                                            JARDINES DE GUAMANI                  Rico
   GUAMANI                                  17 BK 03283-LTS                                                 I20 C 8                              17 BK 03283-LTS
   CALLE 8 I-20                                                                                             GUAYAMA, PR 00784
   GUAYAMA, PR 00784

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 6 of 96
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
36 DIODONET, CARMEN              06/23/18   Commonwealth of Puerto         40738               $ 150,000.00* DIODONET, CARMEN          06/23/18   Commonwealth of Puerto    47972         $ 150,000.00*
   ARNALDO ELIAS                            Rico                                                             ARNALDO ELIAS                        Rico
   PO BOX 191841                            17 BK 03283-LTS                                                  PO BOX 191841                        17 BK 03283-LTS
   SAN JUAN, PR 00919-1841                                                                                   SAN JUAN, PR 00919-1841

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
37 DOMINGUEZ PEREZ,              06/28/18   Commonwealth of Puerto         113389               $ 70,000.00* DOMINGUEZ PEREZ,          06/28/18   Commonwealth of Puerto    116527          $ 70,000.00*
   GLORIMAR                                 Rico                                                             GLORIMAR                             Rico
   URB METROPOLIS                           17 BK 03283-LTS                                                  URB METROPOLIS                       17 BK 03283-LTS
   H25 CALLE 12                                                                                              H25 CALLE 12
   CAROLINA, PR 00987                                                                                        CAROLINA
                                                                                                             SAN JUAN, PR 00987

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
38 DOMINICCI LUCCA,              06/07/18   Commonwealth of Puerto         60926              Undetermined* DOMINICCI LUCCA,           06/07/18   Commonwealth of Puerto    61004        Undetermined*
   MARIA L                                  Rico                                                            MARIA L                               Rico
   PO BOX 413                               17 BK 03283-LTS                                                 PO BOX 413                            17 BK 03283-LTS
   SECTOR LOS VERDES                                                                                        LAS MARIAS, PR 00670
   LAS MARIAS, PR 00670

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
39 DORAL FINANCIAL               12/15/17   Commonwealth of Puerto           370           $ 149,761,563.00* DORAL FINANCIAL           12/15/17   Commonwealth of Puerto     380       $ 149,761,563.00*
   CORPORATION                              Rico                                                             CORPORATION                          Rico
   C/O DRIVETRAIN LLC                       17 BK 03283-LTS                                                  C/O DRIVETRAIN LLC                   17 BK 03283-LTS
   ATTN: L. KRUEGER                                                                                          ATTN: L. KRUEGER
   630 THIRD AVENUE                                                                                          630 THIRD AVENUE
   21ST FLOOR                                                                                                21ST FLOOR
   NEW YORK, NY 10017                                                                                        NEW YORK, NY 10017

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
40 DOWNTOWN                      05/27/18   Commonwealth of Puerto         25639                $ 148,651.09 DOWNTOWN                  05/27/18   Commonwealth of Puerto    27267           $ 148,651.09
   DEVELOPMENT, CORP.                       Rico                                                             DEVELOPMENT, CORP.                   Rico
   PO BOX 190858                            17 BK 03283-LTS                                                  P.O.BOX 190858                       17 BK 03283-LTS
   SAN JUAN, PR 00919-0858                                                                                   SAN JUAN, PR 00919-0858

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 7 of 96
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
41 DROS PEREZ, BERENIS           06/07/18   Commonwealth of Puerto         61110              Undetermined* DROS PEREZ, BERENIS       06/07/18   Commonwealth of Puerto    61137        Undetermined*
   URB VALLE HERMOSO                        Rico                                                            URB VALLE HERMOSOS                   Rico
   SW 14 CALLE CORAL                        17 BK 03283-LTS                                                 CALLE CORAL SW-14                    17 BK 03283-LTS
   HORMIGUEROS, PR                                                                                          HORMIGUEROS, PR
   00660                                                                                                    00660

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
42 ECHEVARRIA BELBRU,            04/22/18   Commonwealth of Puerto          6775              Undetermined* ECHEVARRIA BELBRU,        04/22/18   Commonwealth of Puerto    6990         Undetermined*
   SONIA                                    Rico                                                            SONIA                                Rico
   PO BOX 10026                             17 BK 03283-LTS                                                 PO BOX 10026                         17 BK 03283-LTS
   PONCE, PR 00732-0026                                                                                     PONCE, PR 00732-0026

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
43 ECHEVARRIA                    06/28/18   Commonwealth of Puerto         59407              Undetermined* ECHEVARRIA                06/29/18   Commonwealth of Puerto    79345        Undetermined*
   SANTIAGO, LYDIA                          Rico                                                            SANTIAGO, LYDIA                      Rico
   PO BOX 401                               17 BK 03283-LTS                                                 PO BOX 401                           17 BK 03283-LTS
   AGUADILLA, PR 00605                                                                                      AGUADILLA, PR 00605-
                                                                                                            0401

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
44 ENTERTAINMENT                 05/17/18   Commonwealth of Puerto         15827              Undetermined* ENTERTAINMENT             05/17/18   Commonwealth of Puerto    16042        Undetermined*
   CENTER INC.                              Rico                                                            CENTER INC.                          Rico
   BANCO COOPERATIVO                        17 BK 03283-LTS                                                 ANGEL E. GONZALEZ                    17 BK 03283-LTS
   PLAZA                                                                                                    ORTIZ
   ANGEL E GONZALEZ                                                                                         BANCO COOPERATIVO
   ORTIZ                                                                                                    PLAZA
   SUITE 605-D 623 AVE                                                                                      SUITE 605-D 623 AVE.
   PONCE DE LEON                                                                                            PONCE DE LEON
   SAN JUAN, PR 00917-4820                                                                                  SAN JUAN, PR 00917-4820

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 8 of 96
                                      Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                               Desc:
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
45 ENTERTAINMENT                 05/23/18   Commonwealth of Puerto         17309              Undetermined* ENTERTAINMENT             05/23/18   Commonwealth of Puerto    19604        Undetermined*
   CENTER INC.                              Rico                                                            CENTER INC.                          Rico
   ANGEL E. GONZALEZ                        17 BK 03283-LTS                                                 ANGEL E. GONZALEZ                    17 BK 03283-LTS
   ORTIZ                                                                                                    ORTIZ
   BANCO COOPERATIVO                                                                                        BANCO COOPERATIVO
   PLAZA                                                                                                    PLAZA
   SUITE 605-D 623 AVE.                                                                                     SUITE 605-D 623 AVE.
   PONCE DE LEON                                                                                            PONCE DE LEON
   SAN JUAN, PR 00917-4820                                                                                  SAN JUAN, PR 00917-4820

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
46 ESCALERA ROMERO,              07/20/18   Commonwealth of Puerto         125372             Undetermined* ESCALERA ROMERO,          07/20/18   Commonwealth of Puerto    148992       Undetermined*
   MYRTA S.                                 Rico                                                            MYRTA S.                             Rico
   48 CIUDAD DEL LAGO                       17 BK 03283-LTS                                                 48 CIUDAD DEL LAGO                   17 BK 03283-LTS
   TRUJILLO ALTO, PR                                                                                        TRUJILLO ALTO, PR
   00976                                                                                                    00976

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
47 ESPADA ORTIZ, IVETTE          06/28/18   Commonwealth of Puerto         118922             Undetermined* ESPADA ORTIZ, IVETTE      06/28/18   Commonwealth of Puerto    123781       Undetermined*
   1267 AVE. HOSTOS APT.                    Rico                                                            1267 AVE. HOSTOS APT.                Rico
   601                                      17 BK 03283-LTS                                                 601                                  17 BK 03283-LTS
   PONCE, PR 00717                                                                                          PONCE, PR 00717

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
48 ESPADA ORTIZ, IVETTE          06/28/18   Commonwealth of Puerto         120964             Undetermined* ESPADA ORTIZ, IVETTE      06/28/18   Commonwealth of Puerto    161651       Undetermined*
   1267 AV. HOSTOS APT.                     Rico                                                            1267 AV. HOSTOS APT.                 Rico
   601                                      17 BK 03283-LTS                                                 601                                  17 BK 03283-LTS
   PONCE, PR 00717                                                                                          PONCE, PR 00717

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
49 ESPADA ORTIZ,                 06/28/18   Commonwealth of Puerto         79041              Undetermined* ESPADA ORTIZ,             06/28/18   Commonwealth of Puerto    114008       Undetermined*
   YOLANDA                                  Rico                                                            YOLANDA                              Rico
   PO BOX 593                               17 BK 03283-LTS                                                 P.O. BOX 593                         17 BK 03283-LTS
   SALINAS, PR 00751                                                                                        SALINAS, PR 00751

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 9 of 96
                                      Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                              Desc:
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
50 ESPADA ORTIZ,                 06/28/18   Commonwealth of Puerto         110802             Undetermined* ESPADA ORTIZ,            06/28/18   Commonwealth of Puerto    118668       Undetermined*
   YOLANDA                                  Rico                                                            YOLANDA                             Rico
   PO BOX 593                               17 BK 03283-LTS                                                 PO BOX 593                          17 BK 03283-LTS
   SALINAS, PR 00751                                                                                        SALINAS, PR 00751

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
51 ESPINOSA MORALES,             05/04/18   Commonwealth of Puerto         10920               $ 150,000.00* ESPINOSA MORALES,       05/04/18   Commonwealth of Puerto    11737          $ 150,000.00
   SAMUEL                                   Rico                                                             SAMUEL                             Rico
   HC 01 BOX 6187                           17 BK 03283-LTS                                                  HC01 BOX 6187                      17 BK 03283-LTS
   LAS PIEDRAS, PR 00771                                                                                     LAS PIEDRAS, PR 00771

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
52 ESPINOZA MARTINEZ,            05/29/18   Commonwealth of Puerto         34328              Undetermined* ESPINOZA MARTINEZ,       05/29/18   Commonwealth of Puerto    32405        Undetermined*
   JAVIER                                   Rico                                                            JAVIER                              Rico
   PO BOX 8981                              17 BK 03283-LTS                                                 PO BOX 8981                         17 BK 03283-LTS
   HUMACAO, PR 00792                                                                                        HUMACAO, PR 00792

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
53 ESQUILIN CINTRON,             05/29/18   Commonwealth of Puerto         39065              Undetermined* ESQUILIN CINTRON,        05/29/18   Commonwealth of Puerto    43713        Undetermined*
   ROSA                                     Rico                                                            ROSA                                Rico
   BC5 CALLE YAGRUMO                        17 BK 03283-LTS                                                 URB VALLE ARRIBA                    17 BK 03283-LTS
   VALLE ARRIBA                                                                                             HEIGHTS
   HEIGHTS                                                                                                  BC5 CALLE YAGRUMO
   CAROLINA, PR 00983                                                                                       CAROLINA, PR 00983

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
54 ESQUILIN CINTRON,             05/29/18   Commonwealth of Puerto         43696              Undetermined* ESQUILIN CINTRON,        05/29/18   Commonwealth of Puerto    43713        Undetermined*
   ROSA                                     Rico                                                            ROSA                                Rico
   URB. VALLE ARRIBA                        17 BK 03283-LTS                                                 URB VALLE ARRIBA                    17 BK 03283-LTS
   HEIGHTS                                                                                                  HEIGHTS
   BC5 CALLE YAGRUMO                                                                                        BC5 CALLE YAGRUMO
   CAROLINA, PR 00983                                                                                       CAROLINA, PR 00983

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 10 of 96
                                      Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                               Desc:
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
55 ESQUILIN MELENDEZ,            05/24/18   Commonwealth of Puerto         19901              Undetermined* ESQUILIN MELENDEZ,        05/25/18   Commonwealth of Puerto    20625        Undetermined*
   JESUS M.                                 Rico                                                            JESUS M.                             Rico
   RR16                                     17 BK 03283-LTS                                                 RR16 BOX 3452                        17 BK 03283-LTS
   BOX 3452                                                                                                 SAN JUAN, PR 00926
   SAN JUAN, PR 00926

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
56 ESTANCIAS DE                  05/04/18   Commonwealth of Puerto         10585              Undetermined* ESTANCIAS DE              06/06/18   Commonwealth of Puerto    47761        Undetermined*
   AIBONITO, INC.                           Rico                                                            AIBONITO, INC.                       Rico
   654 AVE MU---OZ                          17 BK 03283-LTS                                                 654 AVE MU---OZ                      17 BK 03283-LTS
   RIVERA STE 1024                                                                                          RIVERA STE 1024
   SAN JUAN, PR 00918-4128                                                                                  SAN JUAN, PR 00918-4128

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
57 ESTRADA PABON,                05/01/18   Commonwealth of Puerto          8198                 $ 18,051.22 ESTRADA PABON,           05/01/18   Commonwealth of Puerto    8200            $ 18,051.22
   EFRAIN                                   Rico                                                             EFRAIN                              Rico
   PO BOX 656                               17 BK 03283-LTS                                                  PO BOX 656                          17 BK 03283-LTS
   CANOVANAS, PR 00729                                                                                       CANOVANAS, PR 00729

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
58 ESTRADA VARGAS,               05/11/18   Commonwealth of Puerto         20635                 $ 16,800.00 ESTRADA VARGAS,          05/11/18   Commonwealth of Puerto    24423           $ 16,800.00
   BEATRICE                                 Rico                                                             BEATRICE                            Rico
   290 CALLE DORADO                         17 BK 03283-LTS                                                  290 CALLE DORADO APT                17 BK 03283-LTS
   APTDO.101                                                                                                 101
   ENSENADA, PR 00647                                                                                        ENSENADA, PR 00647

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
59 ESTRADA VEGA,                 07/06/18   Commonwealth of Puerto         158170             Undetermined* ESTRADA VEGA,             07/06/18   Commonwealth of Puerto    165226       Undetermined*
   MANUEL                                   Rico                                                            MANUEL                               Rico
   #11 CALLE VIDAL                          17 BK 03283-LTS                                                 11 CALLE VIDAL COLON                 17 BK 03283-LTS
   COLON                                                                                                    SAN SEBASTIAN, PR
   SAN SEBASTIAN, PR                                                                                        00685
   00685

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 11 of 96
                                      Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                            Desc:
                                                 Exhibit Exhibit A (Schedule of Claims -English) Page 13 of 97

                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
60 ESTREMERA RIVERA,             06/28/18   Commonwealth of Puerto         79405              Undetermined* ESTREMERA RIVERA,      07/06/18   Commonwealth of Puerto    103763       Undetermined*
   DIANA E.                                 Rico                                                            DIANA E.                          Rico
   4 CALLE JOSÉ ROSA                        17 BK 03283-LTS                                                 4 JOSE ROSA CORDERO               17 BK 03283-LTS
   CORDERO                                                                                                  CAMUY, PR 00627
   CAMUY, PR 00627

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
61 FALTO LARACUENTE,             07/16/18   Commonwealth of Puerto         120218             Undetermined* FALTO LARACUENTE,      07/16/18   Commonwealth of Puerto    130146       Undetermined*
   LINNETTE                                 Rico                                                            LINNETTE                          Rico
   PO BOX 1462                              17 BK 03283-LTS                                                 PO BOX 1462                       17 BK 03283-LTS
   HORMIGUEROS, PR                                                                                          HORMIGUEROS, PR
   00660                                                                                                    00660

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
62 FALU FEBRES, OLGA             04/26/18   Commonwealth of Puerto          7157                 $ 33,561.41 FALU FEBRES, OLGA     04/30/18   Commonwealth of Puerto    8873           $ 33,561.41*
   URB VILLAS DE LOIZA                      Rico                                                             URB VILLAS DE LOIZA              Rico
   P 14 CALLE 16                            17 BK 03283-LTS                                                  P 14 CALLE 16                    17 BK 03283-LTS
   CANOVANAS, PR 00729                                                                                       CANOVANAS, PR 00729

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
63 FARRANT JR, JAMES             04/30/18   Commonwealth of Puerto          9672                 $ 10,000.00 FARRANT JR, JAMES     04/30/18   Commonwealth of Puerto    9785             $ 9,476.10
   APT 502 CALLE EBANO                      Rico                                                             APT 502 CALLE EBANO              Rico
   I-7                                      17 BK 03283-LTS                                                  I-7                              17 BK 03283-LTS
   GUAYNABO, PR 00968-                                                                                       GUAYNABO, PR 00968-
   3134                                                                                                      3134

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
64 FARRARO PLAU,                 06/06/18   Commonwealth of Puerto         49157              Undetermined* FARRARO PLAU,          06/06/18   Commonwealth of Puerto    52008        Undetermined*
   CARLOS                                   Rico                                                            CARLOS                            Rico
   URB. COSTA AZUL                          17 BK 03283-LTS                                                 URB. COSTA AZUL                   17 BK 03283-LTS
   CALLE 7 D-24                                                                                             CALLE 7 D 24
   GUAYAMA, PR 00784                                                                                        GUAYAMA, PR 00784

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 12 of 96
                                      Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                            Desc:
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
65 FELICIANO AGUIAR,             03/28/18   Commonwealth of Puerto          4454               $ 150,000.00* FELICIANO AGUIAR,     03/28/18   Commonwealth of Puerto    4910          $ 150,000.00*
   FERNANDO                                 Rico                                                             FERNANDO                         Rico
   URB SANTA MONICA                         17 BK 03283-LTS                                                  URB SANTA MONICA                 17 BK 03283-LTS
   11 A Q7                                                                                                   11 A Q7
   BAYAMON, PR 00957                                                                                         BAYAMON, PR 00957

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
66 FELICIANO MELENDEZ,           06/28/18   Commonwealth of Puerto         72347              Undetermined* FELICIANO MELENDEZ,    06/28/18   Commonwealth of Puerto    72736        Undetermined*
   JISELA                                   Rico                                                            JISELA                            Rico
   VILLA MADRID V-20                        17 BK 03283-LTS                                                 CALLE NUM 8                       17 BK 03283-LTS
   CALLE NUM. 8                                                                                             VILLA MADRID V-20
   COAMO, PR 00769                                                                                          COAMO, PR 00769

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
67 FELICIANO RIVERA,             06/28/18   Commonwealth of Puerto         52464                   $ 3,000.00 FELICIANO RIVERA,    06/28/18   Commonwealth of Puerto    65873            $ 3,000.00
   MARIELY                                  Rico                                                              MARIELY                         Rico
   BUZON HC-01 8469                         17 BK 03283-LTS                                                   BUZON HC-01 8469                17 BK 03283-LTS
   MARICAO, PR 00606                                                                                          MARICAO, PR 00606

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
68 FELICIANO RODRIGUEZ,          06/28/18   Commonwealth of Puerto         116539             Undetermined* FELICIANO RODRIGUEZ,   06/29/18   Commonwealth of Puerto    144231       Undetermined*
   GRACIAN                                  Rico                                                            GRACIAN                           Rico
   HC 01 BOX 7003                           17 BK 03283-LTS                                                 HC01 BOX 7003                     17 BK 03283-LTS
                                                                                                            GUAYANILLA, PR 00656

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
69 FELICIANO RODRIGUEZ,          06/27/18   Commonwealth of Puerto         45620              Undetermined* FELICIANO RODRIGUEZ,   06/27/18   Commonwealth of Puerto    56168        Undetermined*
   MARIANA                                  Rico                                                            MARIANA                           Rico
   HC 02 BOX 7832                           17 BK 03283-LTS                                                 HC 02 BOX 7832                    17 BK 03283-LTS
   GUAYANILLA, PR 00656                                                                                     GUAYANILLA, PR 00656

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
70 FELICIANO RODRIGUEZ,          06/27/18   Commonwealth of Puerto         55501              Undetermined* FELICIANO RODRIGUEZ,   06/27/18   Commonwealth of Puerto    56168        Undetermined*
   MARIANA                                  Rico                                                            MARIANA                           Rico
   HC 02 BOX 7832                           17 BK 03283-LTS                                                 HC 02 BOX 7832                    17 BK 03283-LTS
   GUAYANILLA, PR 00656                                                                                     GUAYANILLA, PR 00656

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 13 of 96
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
71 FELICIANO VALENTIN,           05/15/18   Commonwealth of Puerto         11315              Undetermined* FELICIANO VALENTIN,       05/15/18   Commonwealth of Puerto    11328        Undetermined*
   ALIDEXMI                                 Rico                                                            ALIDEXMI                             Rico
   PO BOX 1631                              17 BK 03283-LTS                                                 PO BOX 1631                          17 BK 03283-LTS
   RINCON, PR 00677                                                                                         RINCON, PR 00677

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
72 FELICIER HERNANDEZ,           06/29/18   Commonwealth of Puerto         144123                $ 3,900.00* FELICIER HERNANDEZ,      06/29/18   Commonwealth of Puerto    161916          $ 3,900.00*
   LUZ DELIA                                Rico                                                             LUZ DELIA                           Rico
   188 #24 CALLE 523                        17 BK 03283-LTS                                                  188 #24 CALLE 523                   17 BK 03283-LTS
   VILLA CAROLINA                                                                                            VILLA
   CAROLINA, PR 00985-                                                                                       CAROLINA, PR 00985-
   3004                                                                                                      3004

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
73 FELIX RODRIGUEZ,              05/30/18   Commonwealth of Puerto         40066              Undetermined* FELIX RODRIGUEZ,          05/30/18   Commonwealth of Puerto    42480        Undetermined*
   EVELIO                                   Rico                                                            EVELIO                               Rico
   HC 7 BOX 32729                           17 BK 03283-LTS                                                 HC 7 BOX 32729                       17 BK 03283-LTS
   CAGUAS, PR 00727                                                                                         CAGUAS, PR 00727

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
74 FELIX RODRIGUEZ,              05/30/18   Commonwealth of Puerto         40853              Undetermined* FELIX RODRIGUEZ,          05/30/18   Commonwealth of Puerto    42480        Undetermined*
   EVELIO                                   Rico                                                            EVELIO                               Rico
   HC 7 BOX 32729                           17 BK 03283-LTS                                                 HC 7 BOX 32729                       17 BK 03283-LTS
   CAGUAS, PR 00727                                                                                         CAGUAS, PR 00727

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
75 FERMAINT RODRIGUEZ,           06/28/18   Commonwealth of Puerto         116425             Undetermined* FERMAINT RODRIGUEZ,       06/28/18   Commonwealth of Puerto    149416       Undetermined*
   GEORGINA                                 Rico                                                            GEORGINA                             Rico
   SECT LA PLAYITA                          17 BK 03283-LTS                                                 SECT LA PLAYITA                      17 BK 03283-LTS
   225 CALLEJON                                                                                             225 CALLE JON
   CAROLINA                                                                                                 CAROLINA
   SAN JUAN, PR 00915-2413                                                                                  SAN JUAN, PR 00915-2413

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 14 of 96
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
76 FERMAINT RODRIGUEZ,           06/28/18   Commonwealth of Puerto         126050             Undetermined* FERMAINT RODRIGUEZ,       06/28/18   Commonwealth of Puerto    149416       Undetermined*
   GEORGINA                                 Rico                                                            GEORGINA                             Rico
   SECT LA PLAYITA                          17 BK 03283-LTS                                                 SECT LA PLAYITA                      17 BK 03283-LTS
   225 CALLEJON                                                                                             225 CALLE JON
   CAROLINA                                                                                                 CAROLINA
   SAN JUAN, PR 00915-2413                                                                                  SAN JUAN, PR 00915-2413

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
77 FERNANDEZ ALVAREZ,            06/25/18   Commonwealth of Puerto         40954              Undetermined* FERNANDEZ ALVAREZ,        06/27/18   Commonwealth of Puerto    55215        Undetermined*
   MARLENE                                  Rico                                                            MARLENE                              Rico
   CARR. #2 KM 24.1 PARC.                   17 BK 03283-LTS                                                 CARR. #2 KM 24.1 PARC.               17 BK 03283-LTS
   35-A BO.                                                                                                 35-A BO.
   ESPINOSA SECT.                                                                                           ESPINOSA SECT.
   JACANA                                                                                                   JACANA
   DORADO, PR 00646                                                                                         DORADO, PR 00646

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
78 FERNANDEZ ALVAREZ,            06/25/18   Commonwealth of Puerto         48213              Undetermined* FERNANDEZ ALVAREZ,        06/27/18   Commonwealth of Puerto    55215        Undetermined*
   MARLENE                                  Rico                                                            MARLENE                              Rico
   CARR. #2 KM 24.1 PARC.                   17 BK 03283-LTS                                                 CARR. #2 KM 24.1 PARC.               17 BK 03283-LTS
   35-A BO.                                                                                                 35-A BO.
   ESPINOSA SECT.                                                                                           ESPINOSA SECT.
   JACANA                                                                                                   JACANA
   DORADO, PR 00646                                                                                         DORADO, PR 00646

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
79 FERNANDEZ ALVAREZ,            06/27/18   Commonwealth of Puerto         54231              Undetermined* FERNANDEZ ALVAREZ,        06/27/18   Commonwealth of Puerto    55215        Undetermined*
   MARLENE                                  Rico                                                            MARLENE                              Rico
   CARR. #2 KM. 24.1 PARC.                  17 BK 03283-LTS                                                 CARR. #2 KM 24.1 PARC.               17 BK 03283-LTS
   35-A BO.                                                                                                 35-A BO.
   ESPINOSA SECT.                                                                                           ESPINOSA SECT.
   JACANA                                                                                                   JACANA
   DORADO, PR 00646                                                                                         DORADO, PR 00646

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 15 of 96
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
80 FERNANDEZ DELGADO,            06/29/18   Commonwealth of Puerto         82645                 $ 24,180.00 FERNANDEZ DELGADO,        07/06/18   Commonwealth of Puerto    159375          $ 24,180.00
   MARIBEL                                  Rico                                                             MARIBEL                              Rico
   CALLE ROOSELVELT                         17 BK 03283-LTS                                                  URB. JOSE MERCADO                    17 BK 03283-LTS
   V56B URB JOSE                                                                                             C/ ROOSEVELT V-56B
   MERCADO                                                                                                   CAGUAS, PR 00725
   CAGUAS, PR 00725

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
81 FERNANDEZ                     06/29/18   Commonwealth of Puerto         84061                 $ 27,762.00 FERNANDEZ                 06/29/18   Commonwealth of Puerto    99187          $ 27,762.00*
   FERNANDEZ, LEONEL                        Rico                                                             FERNANDEZ, LEONEL                    Rico
   HC-01 BOX 6760                           17 BK 03283-LTS                                                  HC-01 BOX 6760                       17 BK 03283-LTS
   TOA BAJA, PR 00949-9621                                                                                   TOA BAJA, PR 00949-9621

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
82 FERNANDEZ ORTEGA,             05/25/18   Commonwealth of Puerto         21678              Undetermined* FERNANDEZ ORTEGA,          05/25/18   Commonwealth of Puerto    22365        Undetermined*
   ANGEL L                                  Rico                                                            ANGEL L                               Rico
   URB. MONTE VERDE #                       17 BK 03283-LTS                                                 URB. MONTE VERDE                      17 BK 03283-LTS
   3200                                                                                                     #3200
   CALLE MONTE CRISTO                                                                                       CALLE MONTE CRISTO
   MANATI, PR 00674                                                                                         VV5
                                                                                                            MANATI, PR 00674

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
83 FERNANDEZ RAMIREZ,            05/18/18   Commonwealth of Puerto         35760              Undetermined* FERNANDEZ RAMIREZ,         05/18/18   Commonwealth of Puerto    36225        Undetermined*
   ONIS V.                                  Rico                                                            ONIS V.                               Rico
   PO BOX 410                               17 BK 03283-LTS                                                 MONSERRATE COURT                      17 BK 03283-LTS
   HORMIGUEROS, PR                                                                                          187 APT 407
   00660                                                                                                    HORMIGUEROS, PR
                                                                                                            00660

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
84 FERNANDEZ SANCHEZ,            05/25/18   Commonwealth of Puerto         20608                 $ 20,000.00 FERNANDEZ SANCHEZ,        05/29/18   Commonwealth of Puerto    33592          $ 20,000.00*
   CARLOS                                   Rico                                                             CARLOS                               Rico
   VILLA CAROLINA                           17 BK 03283-LTS                                                  VILLA CAROLINA 42-14                 17 BK 03283-LTS
   42-14 ST 39                                                                                               ST 39
   CAROLINA, PR 00985                                                                                        CAROLINA, PR 00985

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 16 of 96
                                      Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                             Desc:
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
85 FERNANDEZ TORRES,             06/29/18   Commonwealth of Puerto         143439                $ 25,000.00 FERNANDEZ TORRES,      06/29/18   Commonwealth of Puerto    153288          $ 25,000.00
   JULIO E.                                 Rico                                                             JULIO E.                          Rico
   URB. ENTRE RIOS                          17 BK 03283-LTS                                                  URB ENTRES RIOS                   17 BK 03283-LTS
   PLAZA SERENA ER-132                                                                                       ER-132
   TRUJILLO ALTO, PR                                                                                         TRUJILLO ALTO, PR
   00976                                                                                                     00976

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
86 FERNANDEZ VINALES,            07/02/18   Commonwealth of Puerto         153173             Undetermined* FERNANDEZ VINALES,      07/02/18   Commonwealth of Puerto    164863       Undetermined*
   MARIA C                                  Rico                                                            MARIA C                            Rico
   URB. BONNEVILLE                          17 BK 03283-LTS                                                 URB BONNEVILLE                     17 BK 03283-LTS
   HEIGHTS                                                                                                  HIGHTS
   CALLE 2 C-3 2DA                                                                                          C 3 2DA SECCION CALLE
   SECCION                                                                                                  2
   CAGUAS, PR 00727                                                                                         CAGUAS, PR 00725

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
87 FERRAU RIVERA,                04/16/18   Commonwealth of Puerto          7454                 $ 1,000.00* FERRAU RIVERA,         04/16/18   Commonwealth of Puerto    7493             $ 1,000.00
   ROLANDO                                  Rico                                                             ROLANDO                           Rico
   LCDO. ALLAN RIVERA                       17 BK 03283-LTS                                                  LAW OFFICES OF LUIS               17 BK 03283-LTS
   FERNÁNDEZ                                                                                                 RAFAEL RIVERA
   CAPITAL CENTER                                                                                            ALLAN RIVERA
   BUILDING SUITE 401                                                                                        FERNÁNDEZ
   239 ARTERIAL HOSTOS                                                                                       CAPITAL CENTER
   AVENUE                                                                                                    BUILDING SUITE 401
   HATO REY, PR 00918                                                                                        239 ARTERIAL HOSTOS
                                                                                                             AVENUE
                                                                                                             HATO REY, PR 00918

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
88 FERRER DAVILA, LUIS           04/04/18   Commonwealth of Puerto          5986                $ 191,826.00 FERRER DAVILA, LUIS    04/16/18   Commonwealth of Puerto    6716           $ 191,826.00
   M                                        Rico                                                             M                                 Rico
   MARINA STATION                           17 BK 03283-LTS                                                  PO BOX 3779                       17 BK 03283-LTS
   PO BOX 3779                                                                                               MARINA STATION
   MAYAGUEZ, PR 00681-                                                                                       MAYAGUEZ, PR 00681-
   3779                                                                                                      3779

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 17 of 96
                                      Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                              Desc:
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
89 FERRER REYES, ROSA I.         06/28/18   Commonwealth of Puerto         57834                 $ 16,484.97 FERRER REYES, ROSA I.   06/28/18   Commonwealth of Puerto    65424           $ 16,484.97
   HC-2 BOX 22615                           Rico                                                             HC-2 BOX 22615                     Rico
   AGUADILLA, PR 00603                      17 BK 03283-LTS                                                  BO. PALMAR                         17 BK 03283-LTS
                                                                                                             AGUADILLA, PR 00603

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
90 FIGUEROA BONILLA,             06/29/18   Commonwealth of Puerto         65482              Undetermined* FIGUEROA BONILLA,        06/29/18   Commonwealth of Puerto    79087        Undetermined*
   NITZA                                    Rico                                                            NITZA                               Rico
   CALLE EL MONTE                           17 BK 03283-LTS                                                 CALLE EL MONTE                      17 BK 03283-LTS
   PARCELA 150                                                                                              PARCELA 150
   BO CAMPANILLA                                                                                            BO. CAMPANILLA
   TOA BAJA, PR 00949                                                                                       TOA BAJA, PR 00949

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
91 FIGUEROA CABRERA,             06/28/18   Commonwealth of Puerto         69630              Undetermined* FIGUEROA CABRERA,        06/29/18   Commonwealth of Puerto    74912        Undetermined*
   WANDA I.                                 Rico                                                            WANDA I.                            Rico
   HC- BOX 6484 BARRIO                      17 BK 03283-LTS                                                 HC-02 BOX 6484 BARRIO               17 BK 03283-LTS
   VAGA1                                                                                                    VAGA1
   MOROVIS, PR 00687                                                                                        MOROVIS, PR 00687

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
92 FIGUEROA CLAUDIO,             06/27/18   Commonwealth of Puerto         55038                $ 75,000.00* FIGUEROA CLAUDIO,       06/28/18   Commonwealth of Puerto    120378         $ 75,000.00*
   GISELLE                                  Rico                                                             GISELLE                            Rico
   P.O. BOX 619                             17 BK 03283-LTS                                                  P.O. BOX 619                       17 BK 03283-LTS
   SAN LORENZO, PR 00754                                                                                     SAN LORENZO, PR 00754

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
93 FIGUEROA COLLADO,             06/28/18   Commonwealth of Puerto         47188              Undetermined* FIGUEROA COLLADO,        06/28/18   Commonwealth of Puerto    67118        Undetermined*
   MARIA I                                  Rico                                                            MARIA I                             Rico
   PO BOX 10000 PMB 487                     17 BK 03283-LTS                                                 PO BOX 10000 PMB 487                17 BK 03283-LTS
   CANOVANAS, PR 00729                                                                                      CANOVANAS, PR 00729

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
94 FIGUEROA DIAZ, IRIS N         05/23/18   Commonwealth of Puerto         28333                 $ 24,177.74 FIGUEROA DIAZ, IRIS N   05/23/18   Commonwealth of Puerto    29237           $ 24,177.74
   HC 02 BOX 7651                           Rico                                                             H C 1 BOX 7651                     Rico
   CIALES, PR 00638                         17 BK 03283-LTS                                                  CIALES, PR 00638                   17 BK 03283-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 18 of 96
                                      Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                            Desc:
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
95 FIGUEROA MELENDEZ,            06/28/18   Commonwealth of Puerto         65707              Undetermined* FIGUEROA MELENDEZ,     07/03/18   Commonwealth of Puerto    151533       Undetermined*
   VIANGERIS                                Rico                                                            VIANGERIS                         Rico
   REPARTO VALENCIA                         17 BK 03283-LTS                                                 REPARTO VALENCIA                  17 BK 03283-LTS
   AH-5 CALLE 9                                                                                             AH-5 CALLE 9
   BAYAMON, PR 00959                                                                                        BAYAMON, PR 00959

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
96 FIGUEROA NIEVES,              06/05/18   Commonwealth of Puerto         29240              Undetermined* FIGUEROA NIEVES,       06/05/18   Commonwealth of Puerto    46546        Undetermined*
   VIRGINIA                                 Rico                                                            VIRGINIA                          Rico
   PARCELAS VAN SCOY                        17 BK 03283-LTS                                                 PARCELAS VAN SCOY                 17 BK 03283-LTS
   I-1                                                                                                      I 1 CALLE PRINCIPAL
   CALLE PRINCIPAL                                                                                          BAYAMON, PR 00957-
   BAYAMON, PR 00957                                                                                        6540

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
97 FIGUEROA ORTIZ,               05/30/18   Commonwealth of Puerto         27395                 $ 5,000.00* FIGUEROA ORTIZ,       05/30/18   Commonwealth of Puerto    38998           $ 5,000.00*
   ALEXIS G.                                Rico                                                             ALEXIS G.                        Rico
   LCDO. PABLO LUGO                         17 BK 03283-LTS                                                  PABLO LUGO LEBRON                17 BK 03283-LTS
   LEBRON                                                                                                    PO BOX 8051 REPARTO
   REPARTO MENDOZA A-1                                                                                       MENDOZA A-1
   PO BOX 8051                                                                                               HUMACAO, PR 00792
   HUMACAO, PR 00792

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
98 FIGUEROA PEREZ,               03/13/18   Commonwealth of Puerto          2551              Undetermined* FIGUEROA PEREZ,        03/19/18   Commonwealth of Puerto    3283         Undetermined*
   ACISCLO                                  Rico                                                            ACISCLO                           Rico
   PO BOX 523                               17 BK 03283-LTS                                                 PO BOX 523                        17 BK 03283-LTS
   PENUELAS, PR 00624                                                                                       PENUELAS, PR 00624-
                                                                                                            0523

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
99 FIGUEROA PEREZ,               03/08/18   Commonwealth of Puerto          1510              Undetermined* FIGUEROA PEREZ,        03/22/18   Commonwealth of Puerto    4216         Undetermined*
   ACISCLO R                                Rico                                                            ACISCLO R                         Rico
   EXT ALTURAS II                           17 BK 03283-LTS                                                 EXT ALTURAS II                    17 BK 03283-LTS
   407 CALLE RUBI                                                                                           407 CALLE RUBI
   PENUELAS, PR 00624-                                                                                      PENUELAS, PR 00624-
   0523                                                                                                     0523

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 19 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                            Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
100 FIGUEROA PEREZ,               06/28/18   Commonwealth of Puerto         60816                 $ 20,000.00 FIGUEROA PEREZ,       07/03/18   Commonwealth of Puerto    147279          $ 20,000.00
    LOURDES                                  Rico                                                             LOURDES                          Rico
    CALLE 41 JJ-54                           17 BK 03283-LTS                                                  CALLE 41 JJ-54                   17 BK 03283-LTS
    VILLAS DE LOIZA                                                                                           VILLAS DE LOIZA
    CANOVANAS, PR 00729                                                                                       CANOVANAS, PR 00729

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
101 FIGUEROA RODRIGUEZ,           06/27/18   Commonwealth of Puerto         55324              Undetermined* FIGUEROA RODRIGUEZ,    07/03/18   Commonwealth of Puerto    144617       Undetermined*
    HILDA M.                                 Rico                                                            HILDA M.                          Rico
    P.O. BOX 998                             17 BK 03283-LTS                                                 P.O. BOX 998                      17 BK 03283-LTS
    LAJAS, PR 00667                                                                                          LAJAS, PR 00667

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
102 FIGUEROA SANCHEZ,             06/26/18   Commonwealth of Puerto         95185              Undetermined* FIGUEROA SANCHEZ,      06/26/18   Commonwealth of Puerto    97922        Undetermined*
    SANTOS                                   Rico                                                            SANTOS                            Rico
    CALLE 10 B 27 MIRADOR                    17 BK 03283-LTS                                                 CALLE 10 B27 MIRADOR              17 BK 03283-LTS
    UNIVERSITARIO                                                                                            UNIVERSITARIO
    PO BOX 1759                                                                                              PO BOX 1759
    CAYEY, PR 00737                                                                                          CAYEY, PR 00737

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
103 FIGUEROA SANTANA,             05/18/18   Commonwealth of Puerto         17627              Undetermined* FIGUEROA SANTANA,      05/18/18   Commonwealth of Puerto    18385        Undetermined*
    CARMEN                                   Rico                                                            CARMEN                            Rico
    URB VILLAS DE CASTRO                     17 BK 03283-LTS                                                 URBANIZACION VILLAS               17 BK 03283-LTS
    CALLE 2 A-13                                                                                             DE CASTRO
    CAGUAS, PR 00725                                                                                         A13 CALLE 2
                                                                                                             CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
104 FIGUEROA SANTIAGO,            04/20/18   Commonwealth of Puerto          8610              Undetermined* FIGUEROA SANTIAGO,     04/20/18   Commonwealth of Puerto    8621         Undetermined*
    JAVIER                                   Rico                                                            JAVIER                            Rico
    URB.COFRESI                              17 BK 03283-LTS                                                 F111 ALTURAS                      17 BK 03283-LTS
    CALLE PIERETTI NUM.77                                                                                    SABANERAS
    CABO ROJO, PR 00623                                                                                      SABANA GRANDE, PR
                                                                                                             00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 20 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
105 FIGUEROA SIERRA,              05/09/18   Commonwealth of Puerto         12758              Undetermined* FIGUEROA SIERRA,        05/09/18   Commonwealth of Puerto    13202        Undetermined*
    SILKIA M                                 Rico                                                            SILKIA M                           Rico
    URB LAS LOMAS                            17 BK 03283-LTS                                                 URB. LAS LOMAS                     17 BK 03283-LTS
    1663 CALLE 28 S O                                                                                        CALLE 28
    SAN JUAN, PR 00921-2447                                                                                  S. O. # 1663
                                                                                                             SAN JUAN, PR 00921

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
106 FIGUEROA TORRES,              06/27/18   Commonwealth of Puerto         163273             Undetermined* FIGUEROA TORRES,        06/28/18   Commonwealth of Puerto    132189       Undetermined*
    CARMEN E.                                Rico                                                            CARMEN E.                          Rico
    PO BOX 849                               17 BK 03283-LTS                                                 P.O. BOX 849                       17 BK 03283-LTS
    COAMO, PR 00769                                                                                          COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
107 FIGUEROA TORRES,              06/28/18   Commonwealth of Puerto         44262              Undetermined* FIGUEROA TORRES,        06/29/18   Commonwealth of Puerto    68391        Undetermined*
    TAMARA                                   Rico                                                            TAMARA                             Rico
    APDO 309                                 17 BK 03283-LTS                                                 APARTADO 309                       17 BK 03283-LTS
    VILLALBA, PR 00766                                                                                       VILLALBA, PR 00766

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
108 FIGUEROA VEGA,                06/28/18   Commonwealth of Puerto         153496                  $ 6,000.00 FIGUEROA VEGA,        07/03/18   Commonwealth of Puerto    153714            $ 6,000.00
    RUBEN                                    Rico                                                              RUBEN                            Rico
    P.O. BOX 372454                          17 BK 03283-LTS                                                   P.O. BOX 372454                  17 BK 03283-LTS
    CAYEY, PR 00737                                                                                            CAYEY, PR 00737

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
109 FIGUEROA, MILAGROS            06/27/18   Commonwealth of Puerto         57397              Undetermined* FIGUEROA, MILAGROS      06/27/18   Commonwealth of Puerto    57437        Undetermined*
    DE LOS A.                                Rico                                                            DE LOS A.                          Rico
    PO BOX 58                                17 BK 03283-LTS                                                 PO BOX 58                          17 BK 03283-LTS
    CIALES, PR 00638                                                                                         CIALES, PR 00638

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
110 FINCA MATILDE, INC.           12/15/17   Commonwealth of Puerto           368              $ 11,184,576.00 FINCA MATILDE, INC.   12/15/17   Commonwealth of Puerto     369         $ 11,184,576.00
    9166 CALLE MARINA                        Rico                                                              9166 CALLE MARINA                Rico
    PONCE, PR 00717                          17 BK 03283-LTS                                                   PONCE, PR 00717                  17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 21 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
111 FISA, S.E.                    05/24/18   Commonwealth of Puerto         18068                   $ 9,517.50 FISA, S.E.           05/24/18   Commonwealth of Puerto    21331            $ 9,517.50
    P.O. BOX 2286                            Rico                                                              PO BOX 2286                     Rico
    GUAYAMA, PR 00785-                       17 BK 03283-LTS                                                   GUAYAMA, PR 00785-              17 BK 03283-LTS
    2286                                                                                                       2286

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
112 FISA, S.E.                    05/24/18   Commonwealth of Puerto         18212                 $ 12,764.08 FISA, S.E.            05/24/18   Commonwealth of Puerto    18412           $ 12,764.08
    P.O. BOX 2286                            Rico                                                             PO BOX 2286                      Rico
    GUAYAMA, PR 00785                        17 BK 03283-LTS                                                  GUAYAMA, PR 00785-               17 BK 03283-LTS
                                                                                                              2286

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
113 FISA, S.E.                    05/24/18   Commonwealth of Puerto         20266                 $ 80,042.63 FISA, S.E.            05/24/18   Commonwealth of Puerto    27599           $ 80,042.63
    PO BOX 2286                              Rico                                                             PO BOX 2286                      Rico
    GUAYAMA, PR 00785-                       17 BK 03283-LTS                                                  GUAYAMA, PR 00785-               17 BK 03283-LTS
    2286                                                                                                      2286

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
114 FISA, S.E.                    05/24/18   Commonwealth of Puerto         20754                 $ 17,952.00 FISA, S.E.            05/24/18   Commonwealth of Puerto    28710           $ 17,952.00
    PO BOX 2286                              Rico                                                             PO BOX 2286                      Rico
    GUAYAMA, PR 00785-                       17 BK 03283-LTS                                                  GUAYAMA, PR 00785-               17 BK 03283-LTS
    2286                                                                                                      2286

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
115 FLAMBOYAN                     07/16/18   Commonwealth of Puerto         91880              Undetermined* FLAMBOYAN              07/16/18   Commonwealth of Puerto    161181       Undetermined*
    TRANSPORT                                Rico                                                            TRANSPORT                         Rico
    APARTADO 596                             17 BK 03283-LTS                                                 APARTADO 596                      17 BK 03283-LTS
    QUEBRADA CEIBA                                                                                           QUEBRADA CEIBA
    PENUELAS, PR 00624                                                                                       PENUELAS, PR 00624

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
116 FLECHA CASILLAS,              05/25/18   Commonwealth of Puerto         26662              Undetermined* FLECHA CASILLAS,       05/25/18   Commonwealth of Puerto    40908        Undetermined*
    EFRAIN                                   Rico                                                            EFRAIN                            Rico
    CALLE ROSADO #H-167                      17 BK 03283-LTS                                                 URB PATAGONIA                     17 BK 03283-LTS
    JARDINES DE LA VIA                                                                                       7 CALLE ESPANA
    NAGUABO, PR 00791                                                                                        HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 22 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
117 FLORES NIEVES,                06/27/18   Commonwealth of Puerto         55397                   $ 1,200.00 FLORES NIEVES,       06/27/18   Commonwealth of Puerto    56528            $ 1,200.00
    YARITZA                                  Rico                                                              YARITZA                         Rico
    RR 4 BOX. 2836                           17 BK 03283-LTS                                                   RR 4 BOX 2836                   17 BK 03283-LTS
    CARR. 829 K 2.5 BO.                                                                                        BAYAMON,, PR 00956
    BUENA VISTA
    BAYAMON, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
118 FLORES SANCHEZ,               03/14/18   Commonwealth of Puerto          2866                 $ 62,000.00 FLORES SANCHEZ,       03/14/18   Commonwealth of Puerto    3078            $ 22,006.80
    CARLOS M                                 Rico                                                             CARLOS M                         Rico
    ESTANCIAS DE BAIROA                      17 BK 03283-LTS                                                  ESTANCIAS DE BAIROA              17 BK 03283-LTS
    E 3 CALLE TULIPAN                                                                                         E 3 CALLE TULIPAN
    CAGUAS, PR 00727                                                                                          CAGUAS, PR 00727

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
119 FLORES SANCHEZ,               05/29/18   Commonwealth of Puerto         24329                 $ 49,173.14 FLORES SANCHEZ,       05/29/18   Commonwealth of Puerto    26188           $ 49,173.14
    SAMARY                                   Rico                                                             SAMARY                           Rico
    205 URB LAS                              17 BK 03283-LTS                                                  205 URB. A.5 URB.                17 BK 03283-LTS
    CAROLINAS III                                                                                             LAS CAROLINAS III
    CAGUAS, PR 00727                                                                                          CAGUAS, PR 00727

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
120 FLORES TIRADO, EDNA           05/29/18   Commonwealth of Puerto         22868              Undetermined* FLORES TIRADO, EDNA    06/13/18   Commonwealth of Puerto    133865       Undetermined*
    MARGARITA                                Rico                                                            MARGARITA                         Rico
    URB. LIRIOS CALA                         17 BK 03283-LTS                                                 269 CALLE SAN BENITO              17 BK 03283-LTS
    269 CALLE SAN BENITO                                                                                     URB LIRIOS CALA
    JUNCOS, PR 00777                                                                                         JUNCOS, PR 00777

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
121 FONTANEZ                      06/28/18   Commonwealth of Puerto         87768              Undetermined* FONTANEZ               06/28/18   Commonwealth of Puerto    119225       Undetermined*
    CARRASQUILLO,                            Rico                                                            CARRASQUILLO,                     Rico
    LAURA                                    17 BK 03283-LTS                                                 LAURA                             17 BK 03283-LTS
    HC 3 BOX 9487                                                                                            HC 3 BOX 9487
    GURABO, PR 00778                                                                                         GURABO, PR 00778

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 23 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                              Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
122 FONTANEZ                      06/28/18   Commonwealth of Puerto         116920             Undetermined* FONTANEZ                 06/28/18   Commonwealth of Puerto    119225       Undetermined*
    CARRASQUILLO,                            Rico                                                            CARRASQUILLO,                       Rico
    LAURA                                    17 BK 03283-LTS                                                 LAURA                               17 BK 03283-LTS
    HC 3 BOX 9487                                                                                            HC 3 BOX 9487
    GURABO, PR 00778                                                                                         GURABO, PR 00778

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
123 FONTANEZ                      06/28/18   Commonwealth of Puerto         117043             Undetermined* FONTANEZ                 06/28/18   Commonwealth of Puerto    119225       Undetermined*
    CARRASQUILLO,                            Rico                                                            CARRASQUILLO,                       Rico
    LAURA                                    17 BK 03283-LTS                                                 LAURA                               17 BK 03283-LTS
    HC 3 BOX 9487                                                                                            HC 3 BOX 9487
    GURABO, PR 00778                                                                                         GURABO, PR 00778

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
124 FONTANEZ                      06/28/18   Commonwealth of Puerto         117206             Undetermined* FONTANEZ                 06/28/18   Commonwealth of Puerto    119225       Undetermined*
    CARRASQUILLO,                            Rico                                                            CARRASQUILLO,                       Rico
    LAURA                                    17 BK 03283-LTS                                                 LAURA                               17 BK 03283-LTS
    HC 3 BOX 9487                                                                                            HC 3 BOX 9487
    GURABO, PR 00778                                                                                         GURABO, PR 00778

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
125 FONTANEZ DELGADO,             05/04/18   Commonwealth of Puerto         10717               $ 190,000.00* FONTANEZ DELGADO,       05/04/18   Commonwealth of Puerto    10724         $ 190,000.00*
    MARIA D.                                 Rico                                                             MARIA D.                           Rico
    PO BOX 284                               17 BK 03283-LTS                                                  6 CALLE FARIS                      17 BK 03283-LTS
    YABUCOA, PR 00767-                                                                                        SANTIAGO
    0284                                                                                                      LAS PIEDRAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
126 FORNES VELEZ, DIANA           06/29/18   Commonwealth of Puerto         72127                       $ 0.00 FORNES VELEZ, DIANA    06/29/18   Commonwealth of Puerto    87885        Undetermined*
    URB PASEO SOL Y MAR                      Rico                                                              URB. PASEO SOL Y MAR              Rico
    643 CALLE CORAL                          17 BK 03283-LTS                                                   CALLE CORAL B11                   17 BK 03283-LTS
    JUANA DIAZ, PR 00795                                                                                       JUANA DIAZ, PR 00795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 24 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
127 FRANCESCHINI LAJARA,          05/27/18   Commonwealth of Puerto         24427                 $ 10,000.00 FRANCESCHINI LAJARA,      05/28/18   Commonwealth of Puerto    24578           $ 10,000.00
    ROXANNE M                                Rico                                                             ROXANNE M                            Rico
    BOX 962                                  17 BK 03283-LTS                                                  BOX 962                              17 BK 03283-LTS
    BO. VIVI ABAJO                                                                                            BO. VIVI ABAJO
    UTUADO, PR 00641                                                                                          UTUADO, PR 00641

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
128 FRANCO FIGUEROA,              03/26/18   Commonwealth of Puerto          4292              Undetermined* FRANCO FIGUEROA,           03/28/18   Commonwealth of Puerto    2851         Undetermined*
    LUIS A                                   Rico                                                            LUIS A                                Rico
    D-27 CALLE 3                             17 BK 03283-LTS                                                 D-27 CALLE 3                          17 BK 03283-LTS
    CAYEY, PR 00736                                                                                          CAYEY, PR 00736

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
129 FRANCO VILLAFANE,             04/27/18   Commonwealth of Puerto          7823                $ 951,840.00 FRANCO VILLAFANE,         05/04/18   Commonwealth of Puerto    11738          $ 951,840.00
    ANTONIO                                  Rico                                                             ANTONIO                              Rico
    QUINTAS DE                               17 BK 03283-LTS                                                  QTAS DE CANOVANAS                    17 BK 03283-LTS
    CANOVANAS                                                                                                 410 CALLE 4
    410 CALLE 4                                                                                               CANOVANAS, PR 00729-
    CANOVANAS, PR 00729-                                                                                      3907
    3907

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
130 FRATICELLI-OLIVER,            06/27/18   Commonwealth of Puerto         52386                 $ 17,400.00 FRATICELLI-OLIVER,        07/03/18   Commonwealth of Puerto    154830          $ 17,400.00
    JEFFRY                                   Rico                                                             JEFFRY                               Rico
    URB. CASA MIA                            17 BK 03283-LTS                                                  URB. CASA MIA                        17 BK 03283-LTS
    CALLE CLERIGO 5313                                                                                        CALLE CLERIGO 5313
    PONCE, PR 00728                                                                                           PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
131 FRYE PINA, MILLIE             05/29/18   Commonwealth of Puerto         38110                $ 86,716.00* FRYE PINA, MILLIE         05/29/18   Commonwealth of Puerto    44263           $ 86,716.00
    PO BOX 367485                            Rico                                                             PO BOX 367485                        Rico
    SAN JUAN, PR 00936-7485                  17 BK 03283-LTS                                                  SAN JUAN, PR 00936-7485              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 25 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                      REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                           DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                   NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
132 FUENTES AYALA, LUIS           05/24/18   Commonwealth of Puerto         18620                       $ 548.94 FUENTES AYALA, LUIS     05/24/18   Commonwealth of Puerto    19803              $ 548.94
    A.                                       Rico                                                                A.                                 Rico
    MILAGROS ACEVEDO                         17 BK 03283-LTS                                                     MILAGROS ACEVEDO                   17 BK 03283-LTS
    COLON                                                                                                        COLON
    COND COLINA REAL                                                                                             COND COLINA REAL
    2000 AVE F RINCON BOX                                                                                        2000 AVE F RINCON BOX
    1405                                                                                                         1405
    SAN JUAN, PR 00926                                                                                           SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
133 FUENTES DE RIOS,              06/29/18   Commonwealth of Puerto         135727             Undetermined* FUENTES DE RIOS,            06/29/18   Commonwealth of Puerto    143550       Undetermined*
    EVALYN                                   Rico                                                            EVALYN                                 Rico
    43 PLANTIO                               17 BK 03283-LTS                                                 43 PLANTIO                             17 BK 03283-LTS
    CAROLINA, PR 00987                                                                                       CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
134 FUMERO RODRIGUEZ,             07/05/18   Commonwealth of Puerto         115109             Undetermined* FUMERO RODRIGUEZ,           07/09/18   Commonwealth of Puerto    124046       Undetermined*
    MIRIAM Z.                                Rico                                                            MIRIAM Z.                              Rico
    PO BOX 491                               17 BK 03283-LTS                                                 P.O. BOX 491                           17 BK 03283-LTS
    SABANA HOYOS, PR                                                                                         SABANA HOYOS, PR
    00688                                                                                                    00688

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
135 FUNDACION LUIS                06/28/18   Commonwealth of Puerto         63202               $ 2,989,939.98 FUNDACION LUIS            06/28/18   Commonwealth of Puerto    117111       $ 2,989,939.98
    MUNOZ MARIN                              Rico                                                              MUNOZ MARIN                          Rico
    RR-2 BOX 5                               17 BK 03283-LTS                                                   RR-2 BOX 5                           17 BK 03283-LTS
    SAN JUAN, PR 00926                                                                                         SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
136 GALARZA CINTRON,              05/29/18   Commonwealth of Puerto         19986               $ 100,000.00* GALARZA CINTRON,           05/29/18   Commonwealth of Puerto    32154         $ 100,000.00*
    JESSICA                                  Rico                                                             JESSICA                               Rico
    EITON ARROYO MUÑIZ                       17 BK 03283-LTS                                                  LCDO. EITON ARROYO                    17 BK 03283-LTS
    153 VALLE E. VAZQUEZ                                                                                      MUNIZ
    BAEZ                                                                                                      153 CALLE E VAZQUEZ
    MAYAGUEZ, PR 00680                                                                                        BAEZ
                                                                                                              MAYAGUEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 26 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
137 GALARZA VEGA, DIANE           07/06/18   Commonwealth of Puerto         115786             Undetermined* GALARZA VEGA, DIANE      07/06/18   Commonwealth of Puerto    142775       Undetermined*
    #4 CALLE CARITE                          Rico                                                            #4 CALLE LARITE URB.                Rico
    URB. MONTE RIO                           17 BK 03283-LTS                                                 MONTE RIO                           17 BK 03283-LTS
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
138 GALLARDO RAMOS,               06/28/18   Commonwealth of Puerto         125593             Undetermined* GALLARDO RAMOS,          06/28/18   Commonwealth of Puerto    137914       Undetermined*
    BRIGIDO                                  Rico                                                            BRIGIDO                             Rico
    URB. PARQUE DE SAN                       17 BK 03283-LTS                                                 URB. PARQUE DE SAN                  17 BK 03283-LTS
    ANTONIO RR-2-7123                                                                                        ANTONIO
    GUAYAMA, PR 00784                                                                                        RR. 2 7123
                                                                                                             GUAYAMA, PR 00784

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
139 GARCIA BURGOS,                06/25/18   Commonwealth of Puerto         90596              Undetermined* GARCIA BURGOS,           07/03/18   Commonwealth of Puerto    130321       Undetermined*
    EMERIDA                                  Rico                                                            EMERIDA                             Rico
    URB SAN MARTIN                           17 BK 03283-LTS                                                 B-5 C-1 URB. SAN                    17 BK 03283-LTS
    CALLE 1 B-5                                                                                              MARTIN
    JUANA DIAZ, PR 00795                                                                                     JUANA DIAZ, PR 00795-
                                                                                                             2003

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
140 GARCIA COLON,                 05/30/18   Commonwealth of Puerto         43779              Undetermined* GARCIA COLON,            05/30/18   Commonwealth of Puerto    167755       Undetermined*
    DENNIS A.                                Rico                                                            DENNIS A                            Rico
    URB ESTANCIAS DE SI                      17 BK 03283-LTS                                                 URB EST DE S.I.                     17 BK 03283-LTS
    CALLE PERLA 627                                                                                          C/PERLA 627
    BUZON 2088                                                                                               BUZ. - 2082
    SANTA ISABEL, PR 00757                                                                                   SANTA ISABEL, PR 00757

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
141 GARCIA CRESPO,                06/26/18   Commonwealth of Puerto         94347              Undetermined* GARCIA CRESPO,           06/26/18   Commonwealth of Puerto    98415        Undetermined*
    FRANCISCO                                Rico                                                            FRANCISCO                           Rico
    PARCELAS MAGUEYES                        17 BK 03283-LTS                                                 PARCELAS MAGUEYES                   17 BK 03283-LTS
    CALLE SAFIRO NUMERO                                                                                      CALLE SAFIRO NUMERO
    228                                                                                                      228
    PONCE, PR 00728                                                                                          PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 27 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                             Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
142 GARCIA GARCIA,                06/28/18   Commonwealth of Puerto         61336              Undetermined* GARCIA GARCIA,          07/06/18   Commonwealth of Puerto    160528       Undetermined*
    IVELISA                                  Rico                                                            IVELISA                            Rico
    BARRIO LEGUILLOU                         17 BK 03283-LTS                                                 BUZÓN E-61                         17 BK 03283-LTS
    BUZÓN E-61                                                                                               BARRIO LEGUILLOU
    VIEQUES, PR 00765                                                                                        VIEQUES, PR 00765

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
143 GARCIA HIRALDO,               05/30/18   Commonwealth of Puerto         29688              Undetermined* GARCIA HIRALDO,         05/30/18   Commonwealth of Puerto    41552        Undetermined*
    JULIA L                                  Rico                                                            JULIA L                            Rico
    PARADA 22 1 2                            17 BK 03283-LTS                                                 PARADA 22 1/2                      17 BK 03283-LTS
    C CARRION MADURO                                                                                         C/ CARRION MADURO
    902                                                                                                      902
    SANTURCE, PR 00907                                                                                       SANTURCE, PR 00909

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
144 GARCIA LABOY,                 05/29/18   Commonwealth of Puerto         26605              Undetermined* GARCIA LABOY,           05/29/18   Commonwealth of Puerto    27013        Undetermined*
    YAIRENE                                  Rico                                                            YAIRENE                            Rico
    PO BOX 688                               17 BK 03283-LTS                                                 PO BOX 688                         17 BK 03283-LTS
    PUERTO REAL, PR 00740                                                                                    PUERTO REAL, PR 00740

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
145 GARCIA MELENDEZ,              05/24/18   Commonwealth of Puerto         19730              Undetermined* GARCIA MELENDEZ,        05/24/18   Commonwealth of Puerto    20669        Undetermined*
    IRIS G                                   Rico                                                            IRIS G                             Rico
    P O BOX 814                              17 BK 03283-LTS                                                 P O BOX 814                        17 BK 03283-LTS
    HATILLO, PR 00659                                                                                        HATILLO, PR 00659

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
146 GARCIA MONTALVO,              05/21/18   Commonwealth of Puerto         15179              Undetermined* GARCIA MONTALVO,        05/21/18   Commonwealth of Puerto    16945        Undetermined*
    ANA LIVIA                                Rico                                                            ANA LIVIA                          Rico
    PO BOX 662                               17 BK 03283-LTS                                                 PO BOX 662                         17 BK 03283-LTS
    BOQUERÓN, PR 00622                                                                                       BOQUERON, PR 00622

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
147 GARCIA MONTALVO,              05/21/18   Commonwealth of Puerto         15294              Undetermined* GARCIA MONTALVO,        05/21/18   Commonwealth of Puerto    16945        Undetermined*
    ANA LIVIA                                Rico                                                            ANA LIVIA                          Rico
    PO BOX 662                               17 BK 03283-LTS                                                 PO BOX 662                         17 BK 03283-LTS
    BOQUERÓN, PR 00622                                                                                       BOQUERON, PR 00622

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 28 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
148 GARCÍA MONTALVO,              05/21/18   Commonwealth of Puerto         13012              Undetermined* GARCÍA MONTALVO,       05/21/18   Commonwealth of Puerto    16917        Undetermined*
    ANA LIVIA                                Rico                                                            ANA LIVIA                         Rico
    PO BOX 662                               17 BK 03283-LTS                                                 PO BOX 662                        17 BK 03283-LTS
    BOQUERON, PR 00622                                                                                       BOQUERÓN, PR 00622

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
149 GARCÍA MONTALVO,              05/21/18   Commonwealth of Puerto         15305              Undetermined* GARCÍA MONTALVO,       05/21/18   Commonwealth of Puerto    16917        Undetermined*
    ANA LIVIA                                Rico                                                            ANA LIVIA                         Rico
    PO BOX 662                               17 BK 03283-LTS                                                 PO BOX 662                        17 BK 03283-LTS
    BOQUERON, PR 00622                                                                                       BOQUERÓN, PR 00622

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
150 GARCIA NARVAEZ,               06/05/18   Commonwealth of Puerto         38724              Undetermined* GARCIA NARVAEZ,        06/05/18   Commonwealth of Puerto    49397        Undetermined*
    CARMEN I.                                Rico                                                            CARMEN I.                         Rico
    HC 75 BOX 1144                           17 BK 03283-LTS                                                 HC75 BOX 1144                     17 BK 03283-LTS
    BO. CEDRO ABAJO                                                                                          BO CEDRO ABAJO
    NARANJITO, PR 00719                                                                                      NARANJITO, PR 00719-
                                                                                                             9702

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
151 GARCIA NARVAEZ,               06/05/18   Commonwealth of Puerto         46440              Undetermined* GARCIA NARVAEZ,        06/05/18   Commonwealth of Puerto    49397        Undetermined*
    CARMEN I.                                Rico                                                            CARMEN I.                         Rico
    BO CEDRO ABAJO                           17 BK 03283-LTS                                                 HC75 BOX 1144                     17 BK 03283-LTS
    HC 71 BOX 1144                                                                                           BO CEDRO ABAJO
    NARANJITO, PR 00719                                                                                      NARANJITO, PR 00719-
                                                                                                             9702

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
152 GARCIA NARVAEZ,               06/05/18   Commonwealth of Puerto         46452              Undetermined* GARCIA NARVAEZ,        06/05/18   Commonwealth of Puerto    49397        Undetermined*
    CARMEN I.                                Rico                                                            CARMEN I.                         Rico
    BO CEDRO ABAJO                           17 BK 03283-LTS                                                 HC75 BOX 1144                     17 BK 03283-LTS
    HC 71 BOX 1144                                                                                           BO CEDRO ABAJO
    NARANJITO, PR 00719                                                                                      NARANJITO, PR 00719-
                                                                                                             9702

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 29 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                                Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
153 GARCIA PADIN,                 04/30/18   Commonwealth of Puerto          8673              Undetermined* GARCIA PADIN,              04/30/18   Commonwealth of Puerto    8706         Undetermined*
    GAMALIEL                                 Rico                                                            GAMALIEL                              Rico
    URB SAN ANTONIO                          17 BK 03283-LTS                                                 URB. SAN ANTONIO                      17 BK 03283-LTS
    2908 CALLE MATOMAS                                                                                       #2908 CALLE MATOMAS
    SAN ANTONIO, PR 00690-                                                                                   SAN ANTONIO, PR 00690
    1161

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
154 GARCIA QUINONES,              06/21/18   Commonwealth of Puerto         60621                   $ 400.00* GARCIA QUINONES,          06/22/18   Commonwealth of Puerto    62137            $ 400.00*
    JOSE                                     Rico                                                             JOSE                                 Rico
    PO BOX 40177                             17 BK 03283-LTS                                                  PO BOX 40177                         17 BK 03283-LTS
    SAN JUAN, PR 00940-0177                                                                                   SAN JUAN, PR 00940-0177

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
155 GARCIA RIVERA,                05/30/18   Commonwealth of Puerto         26793              Undetermined* GARCIA RIVERA,             05/30/18   Commonwealth of Puerto    27778        Undetermined*
    LISANDRA                                 Rico                                                            LISANDRA                              Rico
    PO BOX 523                               17 BK 03283-LTS                                                 PO BOX 523                            17 BK 03283-LTS
    MAUNABO, PR 00707                                                                                        MAUNABO, PR 00707

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
156 GARCIA RIVERA,                06/28/18   Commonwealth of Puerto         112397             Undetermined* GARCIA RIVERA,             06/28/18   Commonwealth of Puerto    130981       Undetermined*
    MARTA                                    Rico                                                            MARTA                                 Rico
    CALLE ANTIOQUIA                          17 BK 03283-LTS                                                 REPTO APOLO                           17 BK 03283-LTS
    #2103                                                                                                    2103 ANTIOQUIA
    REPARTO APOLO                                                                                            GUAYNABO, PR 00969
    GUAYNABO, PR 00969

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
157 GARCIA RODRIGUEZ,             06/28/18   Commonwealth of Puerto         150041             Undetermined* GARCIA RODRIGUEZ,          06/28/18   Commonwealth of Puerto    151197       Undetermined*
    JEANNETTE                                Rico                                                            JEANNETTE                             Rico
    CALLE 22 4-F-25-4 TA                     17 BK 03283-LTS                                                 CALLE 22 4 F-25 4TH SEC               17 BK 03283-LTS
    SECC                                                                                                     VILLA DEL REY
    VILLA DEL REY                                                                                            CAGUAS, PR 00727
    CUGAUS, PR 00727

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 30 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                         Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                              REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                   DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME          FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
158 GARCIA SANTIAGO,              06/29/18   Commonwealth of Puerto         107075             Undetermined* GARCIA SANTIAGO,    07/05/18   Commonwealth of Puerto    147912       Undetermined*
    ALMA                                     Rico                                                            ALMA                           Rico
    137 PARC GUARAS                          17 BK 03283-LTS                                                 PARCELAS RAYO                  17 BK 03283-LTS
    SABANA GRANDE, PR                                                                                        GUARAS 137
    00637                                                                                                    SABANA GRANDE, PR
                                                                                                             00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
159 GARCIA SANTIAGO,              06/29/18   Commonwealth of Puerto         110137             Undetermined* GARCIA SANTIAGO,    07/05/18   Commonwealth of Puerto    147912       Undetermined*
    ALMA                                     Rico                                                            ALMA                           Rico
    PARCELAS RAYO                            17 BK 03283-LTS                                                 PARCELAS RAYO                  17 BK 03283-LTS
    GUARAS 137                                                                                               GUARAS 137
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
160 GARCIA SANTIAGO,              06/30/18   Commonwealth of Puerto         121641             Undetermined* GARCIA SANTIAGO,    06/30/18   Commonwealth of Puerto    129993       Undetermined*
    JAVIER                                   Rico                                                            JAVIER                         Rico
    HC-38 BOX 7291                           17 BK 03283-LTS                                                 HC 03 BOX 7291                 17 BK 03283-LTS
    GUANICA, PR 00653                                                                                        GUANICA, PR 00653

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
161 GARCIA SANTIAGO,              06/30/18   Commonwealth of Puerto         125881             Undetermined* GARCIA SANTIAGO,    06/30/18   Commonwealth of Puerto    129993       Undetermined*
    JAVIER                                   Rico                                                            JAVIER                         Rico
    HC 38 BOX 7291                           17 BK 03283-LTS                                                 HC 03 BOX 7291                 17 BK 03283-LTS
    GUANICA, PR 00653                                                                                        GUANICA, PR 00653

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
162 GARCIA VELEZ,                 05/29/18   Commonwealth of Puerto         25931              Undetermined* GARCIA VELEZ,       06/08/18   Commonwealth of Puerto    49949        Undetermined*
    MILDRED YOLANDA                          Rico                                                            MILDRED YOLANDA                Rico
    HC 02 BOX 3028                           17 BK 03283-LTS                                                 HC 02 BOX 3028                 17 BK 03283-LTS
    SABANA HOYOS, PR                                                                                         SABANA HOYOS, PR
    00688                                                                                                    00688

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                    Page 31 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                               Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 33 of 97

                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                   NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
163 GARCIA, ANGELA                06/28/18   Commonwealth of Puerto         63111              Undetermined* GARCIA, ANGELA            06/28/18   Commonwealth of Puerto    70059        Undetermined*
    HC 05 BOX 5802                           Rico                                                            HC 05 BOX 5802                       Rico
    AGUAS BUENAS, PR                         17 BK 03283-LTS                                                 AGUAS BUENAS, PR                     17 BK 03283-LTS
    00703                                                                                                    00703

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
164 GARCIA, MARVIN                05/11/18   Commonwealth of Puerto         10544                       $ 950.00 GARCIA, MARVIN        05/11/18   Commonwealth of Puerto    10950             $ 950.00
    14 CALLE MARSEILLES,                     Rico                                                                14 CALLE MARSEILLES              Rico
    APT 4C                                   17 BK 03283-LTS                                                     APT 4C                           17 BK 03283-LTS
    SAN JUAN, PR 00907                                                                                           SAN JUAN, PR 00907

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
165 GARCIA-TROCHE,                07/02/18   Commonwealth of Puerto         153404             Undetermined* GARCIA-TROCHE,            07/03/18   Commonwealth of Puerto    154938       Undetermined*
    SANTIAGO                                 Rico                                                            SANTIAGO                             Rico
    P.O. BOX 2273                            17 BK 03283-LTS                                                 PO BOX 2273                          17 BK 03283-LTS
    SPRINGFIELD, MA 01101                                                                                    SPRINGFIELD, MA 01101

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
166 GARRIGA DE JESUS,             05/29/18   Commonwealth of Puerto         36851                $ 25,000.00* GARRIGA DE JESUS,        05/29/18   Commonwealth of Puerto    51278          $ 25,000.00*
    YAHAIRA                                  Rico                                                             YAHAIRA                             Rico
    URB BRISAS DEL                           17 BK 03283-LTS                                                  URB BRISAS LAUREL                   17 BK 03283-LTS
    LAUREL                                                                                                    1001 CALLE LOS
    1001 CALLE LOS                                                                                            FLAMBOYANES
    FLAMBOYANES                                                                                               COTTO LAUREL, PR
    COTO LAUREL, PR 00780                                                                                     00780-2240

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
167 GAVILLAN VAZQUEZ,             06/29/18   Commonwealth of Puerto         76329              Undetermined* GAVILLAN VAZQUEZ,         07/03/18   Commonwealth of Puerto    138234       Undetermined*
    JORGE                                    Rico                                                            JORGE                                Rico
    URB. BRISAS DEL                          17 BK 03283-LTS                                                 URB. BRISAS DEL                      17 BK 03283-LTS
    PARQUE                                                                                                   PARQUE
    CALLE SAN ANTONIO                                                                                        CALLE SAN ANTONIO
    604                                                                                                      604
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 32 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                            Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 34 of 97

                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
168 GELABERT CARDOZA,             07/02/18   Commonwealth of Puerto         107332               $ 22,200.00* GELABERT CARDOZA,     07/09/18   Commonwealth of Puerto    161012         $ 22,200.00*
    NEREIDA                                  Rico                                                             NEREIDA                          Rico
    CARR 311 5 8                             17 BK 03283-LTS                                                  CARR 311 5.8                     17 BK 03283-LTS
    SECTOR CERRILLOS                                                                                          SECTOR CERRILLOS
    CABO ROJO, PR 00623                                                                                       CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
169 GENES QUESADA,                06/29/18   Commonwealth of Puerto         118849             Undetermined* GENES QUESADA,         06/29/18   Commonwealth of Puerto    164290       Undetermined*
    ROSALINA                                 Rico                                                            ROSALINA                          Rico
    PO BOX 866                               17 BK 03283-LTS                                                 PO BOX 866                        17 BK 03283-LTS
    COAMO, PR 00769                                                                                          COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
170 GINARA, INC                   05/25/18   Commonwealth of Puerto         20717                 $ 18,444.00 GINARA, INC           05/29/18   Commonwealth of Puerto    36147           $ 18,444.00
    URB ROUND HLS                            Rico                                                             URB ROUND HLS                    Rico
    322 CALLE CRUZ DE                        17 BK 03283-LTS                                                  322 CALLE CRUZ DE                17 BK 03283-LTS
    MALTA                                                                                                     MALTA
    TRUJILLO ALTO, PR                                                                                         TRUJILLO ALTO, PR
    00976-2709                                                                                                00976-2709

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
171 GOMEZ BIAMON,                 04/04/18   Commonwealth of Puerto          3804                $ 15,750.00* GOMEZ BIAMON,         04/05/18   Commonwealth of Puerto    3837           $ 15,750.00*
    CELESTE M                                Rico                                                             CELESTE M                        Rico
    LYMARIS PEREZ                            17 BK 03283-LTS                                                  LYMARIS PEREZ                    17 BK 03283-LTS
    RODRIGUEZ                                                                                                 RODRIGUEZ
    PO BOX 195287                                                                                             PO BOX 195287
    SAN JUAN, PR 00919                                                                                        SAN JUAN, PR 00919

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
172 GOMEZ CHACON,                 06/05/18   Commonwealth of Puerto         97226              Undetermined* GOMEZ CHACON,          06/05/18   Commonwealth of Puerto    71001        Undetermined*
    GLORIA I.                                Rico                                                            GLORIA I.                         Rico
    PO BOX 1784                              17 BK 03283-LTS                                                 PO BOX 1784                       17 BK 03283-LTS
    HATILLO, PR 00659                                                                                        HATILLO, PR 00659

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 33 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                              Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
173 GOMEZ DIAZ, LUZ               07/05/18   Commonwealth of Puerto         139724             Undetermined* GOMEZ DIAZ, LUZ          07/05/18   Commonwealth of Puerto    157767       Undetermined*
    PATRIA                                   Rico                                                            PATRIA                              Rico
    #29 C/104 BLOQ 103                       17 BK 03283-LTS                                                 #29 CALLE 104 BLOQ 103              17 BK 03283-LTS
    VILLA CAROLINA                                                                                           VILLA CAROLINA
    CAROLINA, PR 00985                                                                                       CAROLINA, PR 00985

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
174 GOMEZ DIAZ, LUZ               07/05/18   Commonwealth of Puerto         141951             Undetermined* GOMEZ DIAZ, LUZ          07/05/18   Commonwealth of Puerto    157767       Undetermined*
    PATRIA                                   Rico                                                            PATRIA                              Rico
    #29 C/104 BLDG. 103                      17 BK 03283-LTS                                                 #29 CALLE 104 BLOQ 103              17 BK 03283-LTS
    VILLA CAROLINA                                                                                           VILLA CAROLINA
    CAROLINA, PR 00985                                                                                       CAROLINA, PR 00985

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
175 GOMEZ DIAZ, LUZ               07/05/18   Commonwealth of Puerto         155966             Undetermined* GOMEZ DIAZ, LUZ          07/05/18   Commonwealth of Puerto    157767       Undetermined*
    PATRIA                                   Rico                                                            PATRIA                              Rico
    #29 C/ 104 BLDG 103                      17 BK 03283-LTS                                                 #29 CALLE 104 BLOQ 103              17 BK 03283-LTS
    VILLA CAROLINA                                                                                           VILLA CAROLINA
    CAROLINA, PR 00985                                                                                       CAROLINA, PR 00985

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
176 GOMEZ GARCIA, MARIA           05/09/18   Commonwealth of Puerto         14480              Undetermined* GOMEZ GARCIA, MARIA      05/09/18   Commonwealth of Puerto    15068        Undetermined*
    M                                        Rico                                                            M                                   Rico
    58 URB VILLA SERENA                      17 BK 03283-LTS                                                 URB. VILLA SERENA                   17 BK 03283-LTS
    SANTA ISABEL, PR 00757                                                                                   58 CALLE TIBER
    -2547                                                                                                    SANTA ISABEL, PR 00757
                                                                                                             -2547

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
177 GOMEZ RODRIGUEZ,              06/27/18   Commonwealth of Puerto         54722              Undetermined* GOMEZ RODRIGUEZ,         07/06/18   Commonwealth of Puerto    159762       Undetermined*
    FELIX                                    Rico                                                            FELIX                               Rico
    PO BOX 1044                              17 BK 03283-LTS                                                 P.O. BOX 1044                       17 BK 03283-LTS
    ARROYO, PR 00714                                                                                         ARROYO, PR 00714

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 34 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                            Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
178 GOMEZ RODRIGUEZ,              06/27/18   Commonwealth of Puerto         55385              Undetermined* GOMEZ RODRIGUEZ,       07/05/18   Commonwealth of Puerto    143900       Undetermined*
    FELIX                                    Rico                                                            FELIX                             Rico
    P O BOX 1044                             17 BK 03283-LTS                                                 PO BOX 1044                       17 BK 03283-LTS
    ARROYO, PR 00714                                                                                         ARROYO, PR 00714

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
179 GOMEZ RUIZ, ANTONIO           06/26/18   Commonwealth of Puerto         51949                 $ 46,266.25 GOMEZ RUIZ, ANTONIO   06/27/18   Commonwealth of Puerto    57064           $ 46,266.25
    COND. RIVERSIDE                          Rico                                                             CONDOMINO                        Rico
    PLAZA 74 C STA.                          17 BK 03283-LTS                                                  RIVERSIDE PLAZA 74               17 BK 03283-LTS
    CRUZ APT. 19 K                                                                                            CALLE SANTA CRUZ
    BAYAMON, PR 00961                                                                                         APT 19K
                                                                                                              BAYAMON, PR 00961

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
180 GOMEZ SIERRA,                 06/29/18   Commonwealth of Puerto         68129                $ 14,400.00* GOMEZ SIERRA,         06/29/18   Commonwealth of Puerto    85506          $ 14,400.00*
    DORCAS                                   Rico                                                             DORCAS                           Rico
    BUZON 1406 BO. JUAN                      17 BK 03283-LTS                                                  BUZON 1406 BO. JUAN              17 BK 03283-LTS
    SANCHEZ                                                                                                   SANCHEZ
    BAYAMON, PR 00959                                                                                         BAYAMON, PR 00959

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
181 GONZALEZ AGUIRRE,             06/07/18   Commonwealth of Puerto         49853              Undetermined* GONZALEZ AGUIRRE,      06/07/18   Commonwealth of Puerto    61134        Undetermined*
    CORALIS                                  Rico                                                            CORALIS                           Rico
    C-4 CALLE 1                              17 BK 03283-LTS                                                 URB VILLA ROSA I                  17 BK 03283-LTS
    GUAYAMA, PR 00784                                                                                        C4 CALLE 1
                                                                                                             GUAYAMA, PR 00784

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
182 GONZALEZ AGUIRRE,             06/07/18   Commonwealth of Puerto         49885              Undetermined* GONZALEZ AGUIRRE,      06/07/18   Commonwealth of Puerto    61134        Undetermined*
    CORALIS                                  Rico                                                            CORALIS                           Rico
    URB HACIENDA LOS                         17 BK 03283-LTS                                                 URB VILLA ROSA I                  17 BK 03283-LTS
    RECREOS                                                                                                  C4 CALLE 1
    B 8 CALLE DELICIAS                                                                                       GUAYAMA, PR 00784
    GUAYAMA, PR 00784

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 35 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                              REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                   DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME          FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
183 GONZALEZ AGUIRRE,             06/07/18   Commonwealth of Puerto         60208              Undetermined* GONZALEZ AGUIRRE,   06/07/18   Commonwealth of Puerto    61134        Undetermined*
    CORALIS                                  Rico                                                            CORALIS                        Rico
    URB HACIENDA LOS                         17 BK 03283-LTS                                                 URB VILLA ROSA I               17 BK 03283-LTS
    RECREOS                                                                                                  C4 CALLE 1
    CALLE DELICIAS B-8                                                                                       GUAYAMA, PR 00784
    GUAYAMA, PR 00784

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
184 GONZALEZ AGUIRRE,             06/07/18   Commonwealth of Puerto         61424              Undetermined* GONZALEZ AGUIRRE,   06/07/18   Commonwealth of Puerto    61134        Undetermined*
    CORALIS                                  Rico                                                            CORALIS                        Rico
    URB HACIENDA LOS                         17 BK 03283-LTS                                                 URB VILLA ROSA I               17 BK 03283-LTS
    RECREOS                                                                                                  C4 CALLE 1
    B 8 CALLE DELICIAS                                                                                       GUAYAMA, PR 00784
    GUAYAMA, PR 00784

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
185 GONZALEZ AQUINO,              05/14/18   Commonwealth of Puerto         11081              Undetermined* GONZALEZ AQUINO,    05/14/18   Commonwealth of Puerto    13531        Undetermined*
    JOSE                                     Rico                                                            JOSE                           Rico
    SECTOR JUAN RAMIREZ                      17 BK 03283-LTS                                                 HC 59 BOX 5950                 17 BK 03283-LTS
    2002 CARR 417 INT                                                                                        AGUADA, PR 00602
    AGUADA, PR 00602-8403

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
186 GONZALEZ AQUINO,              05/14/18   Commonwealth of Puerto         12976              Undetermined* GONZALEZ AQUINO,    05/14/18   Commonwealth of Puerto    13531        Undetermined*
    JOSE                                     Rico                                                            JOSE                           Rico
    2002 CARR 417 INT                        17 BK 03283-LTS                                                 HC 59 BOX 5950                 17 BK 03283-LTS
    AGUADA, PR 00602                                                                                         AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
187 GONZALEZ AYALA,               05/25/18   Commonwealth of Puerto         21149              Undetermined* GONZALEZ AYALA,     05/30/18   Commonwealth of Puerto    41988        Undetermined*
    JOSE A                                   Rico                                                            JOSE A                         Rico
    HC 5 BOX 16832                           17 BK 03283-LTS                                                 HC 5 BOX 16832                 17 BK 03283-LTS
    YABUCOA, PR 00767                                                                                        YABUCOA, PR 00767

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                    Page 36 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
188 GONZALEZ                      06/28/18   Commonwealth of Puerto         65267              Undetermined* GONZALEZ               06/29/18   Commonwealth of Puerto    127608       Undetermined*
    BERGODERES, LUIS O                       Rico                                                            BERGODERES, LUIS O                Rico
    EXT. EQUESTRE CALLE                      17 BK 03283-LTS                                                 EXT. EQUESTRE CALLE               17 BK 03283-LTS
    # 39 M-18                                                                                                #39 M-18
    CAROLINA, PR 00987                                                                                       CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
189 GONZALEZ                      06/28/18   Commonwealth of Puerto         64570              Undetermined* GONZALEZ               06/29/18   Commonwealth of Puerto    120285       Undetermined*
    BERGODERES, LUIS O.                      Rico                                                            BERGODERES, LUIS O.               Rico
    EXT. EQUESTRE                            17 BK 03283-LTS                                                 EXT. EQUESTRE, CALLE              17 BK 03283-LTS
    CALLE 39 M-18                                                                                            #39 M-18
    CAROLINA, PR 00987                                                                                       CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
190 GONZALEZ                      06/27/18   Commonwealth of Puerto         53946              Undetermined* GONZALEZ               06/29/18   Commonwealth of Puerto    161937       Undetermined*
    BERGODERES, MARIA E                      Rico                                                            BERGODERES, MARIA E               Rico
    URB. BONNEVILLE                          17 BK 03283-LTS                                                 URB. BONNEVILLE                   17 BK 03283-LTS
    HEIGHTS, CALLE                                                                                           HEIGHTS
    AÑASCO # 12                                                                                              CALLE ANASCO #12
    CAGUAS, PR 00727                                                                                         CAGUAS, PR 00727

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
191 GONZALEZ                      06/28/18   Commonwealth of Puerto         59969              Undetermined* GONZALEZ               06/29/18   Commonwealth of Puerto    165484       Undetermined*
    BERGODERES, MARIA E                      Rico                                                            BERGODERES, MARIA E               Rico
    CALLE ANASCO # 12.                       17 BK 03283-LTS                                                 CALLE ANASCO #12.                 17 BK 03283-LTS
    BONNEVILLE HEIGHTS                                                                                       BONNEVILLE HEIGHTS
    CAGUAS, PR 00727                                                                                         CAGUAS, PR 00727

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
192 GONZALEZ                      06/27/18   Commonwealth of Puerto         54207              Undetermined* GONZALEZ               06/29/18   Commonwealth of Puerto    164962       Undetermined*
    BERGODERES, MARIA E.                     Rico                                                            BERGODERES, MARIA E.              Rico
    URB. BONNEVILLE                          17 BK 03283-LTS                                                 CALLE ANASCO #12,                 17 BK 03283-LTS
    HEIGHTS                                                                                                  BONNEVILLE HEIGHTS
    CALLE ANASCO #12                                                                                         CAGUAS, PR 00727
    CAGUAS, PR 00727

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 37 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
193 GONZALEZ                      06/26/18   Commonwealth of Puerto         96733              Undetermined* GONZALEZ                 06/26/18   Commonwealth of Puerto    97370        Undetermined*
    BETANCOURT,                              Rico                                                            BETANCOURT,                         Rico
    MILAGROS                                 17 BK 03283-LTS                                                 MILAGROS                            17 BK 03283-LTS
    COLINAS DE MAGNOLIA                                                                                      COLINAS DE MAGNOLIA
    J #93                                                                                                    J #93
    JUNCOS, PR 00777                                                                                         JUNCOS, PR 00777

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
194 GONZALEZ CHAEZ,               05/07/18   Commonwealth of Puerto         12241              Undetermined* GONZALEZ CHAEZ,          05/07/18   Commonwealth of Puerto    127817       Undetermined*
    ROSA                                     Rico                                                            ROSA                                Rico
    54 JULIA VAZQUEZ                         17 BK 03283-LTS                                                 54 JULIA VAZQUEZ                    17 BK 03283-LTS
    SAN LORENZO, PR 00754                                                                                    SAN LORENZO, PR 00754

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
195 GONZALEZ COLLAZO,             05/07/18   Commonwealth of Puerto         10656                $ 100,625.02 GONZALEZ COLLAZO,       05/25/18   Commonwealth of Puerto    22338          $ 100,625.02
    MARILU                                   Rico                                                             MARILU                             Rico
    MILAGROS ACEVEDO                         17 BK 03283-LTS                                                  MILAGROS ACEVEDO                   17 BK 03283-LTS
    COLON                                                                                                     COLON
    COND COLINA REAL                                                                                          COND COLINA REAL
    2000 AVE F RINCON BOX                                                                                     2000 AVE F RINCON BOX
    1405                                                                                                      1405
    SAN JUAN, PR 00926                                                                                        SAN JUAN, PR 00926

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
196 GONZALEZ COLON,               05/24/18   Commonwealth of Puerto         20593              Undetermined* GONZALEZ COLON,          05/25/18   Commonwealth of Puerto    45018        Undetermined*
    VANESSA                                  Rico                                                            VANESSA                             Rico
    313 W WOOD ST APT B-2                    17 BK 03283-LTS                                                 URB BRISAS DE MAR                   17 BK 03283-LTS
    VINELAND, NJ 08360                                                                                       CHIQUITA
                                                                                                             254 VELERO ST
                                                                                                             MANATI, PR 00674

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 38 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
197 GONZALEZ CORTES,              06/29/18   Commonwealth of Puerto         133112             Undetermined* GONZALEZ CORTES,       06/29/18   Commonwealth of Puerto    145932       Undetermined*
    ANGELA                                   Rico                                                            ANGELA                            Rico
    HC03 BOX 12591                           17 BK 03283-LTS                                                 HC 3 BOX 12591                    17 BK 03283-LTS
    BO.TALLOBON                                                                                              TALLABOA PONIENTE
    PONIENTE CON 384 KM                                                                                      CARR. 384 KM 30
    3.D                                                                                                      PENUELAS, PR 00624-
    PENUELAS, PR 00624-                                                                                      9716
    9716

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
198 GONZALEZ CORTES,              05/25/18   Commonwealth of Puerto         22882              Undetermined* GONZALEZ CORTES,       05/25/18   Commonwealth of Puerto    22987        Undetermined*
    DALIA                                    Rico                                                            DALIA                             Rico
    URBANIZACION VILA                        17 BK 03283-LTS                                                 VILLA SERENA                      17 BK 03283-LTS
    SERENA CANARIO C-3                                                                                       CANARIO C 3
    ARECIBO, PR 00612                                                                                        ARECIBO, PR 00612

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
199 GONZALEZ CRUZ,                06/29/18   Commonwealth of Puerto         96410              Undetermined* GONZALEZ CRUZ,         07/03/18   Commonwealth of Puerto    154822       Undetermined*
    ALFREDO                                  Rico                                                            ALFREDO                           Rico
    PO BOX 1598                              17 BK 03283-LTS                                                 PO BOX 1598                       17 BK 03283-LTS
    JUANA DIAZ, PR 00795                                                                                     JUANA DIAZ, PR 00795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
200 GONZALEZ CRUZ,                06/28/18   Commonwealth of Puerto         161920             Undetermined* GONZALEZ CRUZ,         06/28/18   Commonwealth of Puerto    149251       Undetermined*
    MARIA N                                  Rico                                                            MARIA N                           Rico
    PO BOX 8972                              17 BK 03283-LTS                                                 PO BOX 8972                       17 BK 03283-LTS
    PONCE, PR 00732-8972                                                                                     PONCE, PR 00732-8972

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
201 GONZALEZ CUEVAS,              05/01/18   Commonwealth of Puerto         11608              Undetermined* GONZALEZ CUEVAS,       05/01/18   Commonwealth of Puerto    11627        Undetermined*
    MARISOL                                  Rico                                                            MARISOL                           Rico
    VILLA DEL CARMEN                         17 BK 03283-LTS                                                 URB VILLA DEL                     17 BK 03283-LTS
    2452 CALLE TURIN                                                                                         CARMEN
    PONCE, PR 00716                                                                                          2452 CALLE TURIN
                                                                                                             PONCE, PR 00716-2222

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 39 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                              Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
202 GONZALEZ CURET,               05/07/18   Commonwealth of Puerto         10985              Undetermined* GONZALEZ CURET,          05/07/18   Commonwealth of Puerto    10989        Undetermined*
    LIZETTE                                  Rico                                                            LIZETTE                             Rico
    EXT EL COMANDANTE                        17 BK 03283-LTS                                                 EXT EL COMANDANTE                   17 BK 03283-LTS
    460 CALLE SANTA                                                                                          460 CALLE SANTA
    MARIA                                                                                                    MARIA
    CAROLINA, PR 00982                                                                                       CAROLINA, PR 00982

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
203 GONZALEZ DIAZ, LUIS           05/04/18   Commonwealth of Puerto         10715               $ 130,000.00* GONZALEZ DIAZ, LUIS     05/04/18   Commonwealth of Puerto    11353          $ 130,000.00
    M                                        Rico                                                             M                                  Rico
    H C 01 BOX 6187                          17 BK 03283-LTS                                                  HC 1 BOX 6187                      17 BK 03283-LTS
    LAS PIEDRAS, PR 00771                                                                                     LAS PIEDRAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
204 GONZALEZ DIAZ,                05/29/18   Commonwealth of Puerto         41730              Undetermined* GONZALEZ DIAZ,           05/29/18   Commonwealth of Puerto    43759        Undetermined*
    REYNALDO                                 Rico                                                            REYNALDO                            Rico
    106 E VESTE BDA                          17 BK 03283-LTS                                                 106 E-ODESK BDG                     17 BK 03283-LTS
    NEUVA EL CERRO                                                                                           NUEVA EL CORREO
    GUARABO, PR 00778                                                                                        GURABO, PR 00778

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
205 GONZALEZ FIGUEROA,            04/30/18   Commonwealth of Puerto          8103                $ 52,306.12* GONZALEZ FIGUEROA,      05/07/18   Commonwealth of Puerto    10987          $ 52,306.12*
    MADELINE                                 Rico                                                             MADELINE                           Rico
    COMUNIDAD ESTELA                         17 BK 03283-LTS                                                  COMUNIDAD STELLA                   17 BK 03283-LTS
    BOX 3410                                                                                                  C 1 BUZON 3410
    RINCON, PR 00677                                                                                          RINCON, PR 00677

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
206 GONZALEZ GONZALEZ,            04/02/18   Commonwealth of Puerto          5896              Undetermined* GONZALEZ GONZALEZ,       04/02/18   Commonwealth of Puerto    6048         Undetermined*
    GREGORIO                                 Rico                                                            GREGORIO                            Rico
    HC-61 BOX 5094                           17 BK 03283-LTS                                                 HC 61 PO BOX 5080                   17 BK 03283-LTS
    TRUJILLO ALTO, PR                                                                                        TRUJILLO ALTO, PR
    00976                                                                                                    00976

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 40 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                            Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
207 GONZALEZ GONZALEZ,            05/25/18   Commonwealth of Puerto         20614              Undetermined* GONZALEZ GONZALEZ,     06/05/18   Commonwealth of Puerto    59861        Undetermined*
    YOLANDA                                  Rico                                                            YOLANDA                           Rico
    HC-01 BOX 4716                           17 BK 03283-LTS                                                 HC-01 BOX 4716                    17 BK 03283-LTS
    LARES, PR 00669                                                                                          LARES, PR 00669

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
208 GONZALEZ                      06/28/18   Commonwealth of Puerto         59814                $ 26,935.57* GONZALEZ              06/28/18   Commonwealth of Puerto    67548          $ 26,935.57*
    HERNANDEZ, YAHAIRA                       Rico                                                             HERNANDEZ, YAHAIRA               Rico
    HC 05 BOX 7161                           17 BK 03283-LTS                                                  HC 5 BOX 7161                    17 BK 03283-LTS
    GUAYNABO, PR 00971                                                                                        GUAYNABO, PR 00971

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
209 GONZALEZ LOPEZ,               06/29/18   Commonwealth of Puerto         111966             Undetermined* GONZALEZ LOPEZ,        07/06/18   Commonwealth of Puerto    155421       Undetermined*
    SYLVIA                                   Rico                                                            SYLVIA                            Rico
    P.O. BOX 2067 HATILLO                    17 BK 03283-LTS                                                 P.O. BOX 2067                     17 BK 03283-LTS
    HATILLO, PR 00659                                                                                        HATILLO, PR 00659

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
210 GONZALEZ                      05/25/18   Commonwealth of Puerto         43914              Undetermined* GONZALEZ               05/25/18   Commonwealth of Puerto    51966        Undetermined*
    MALDONADO,                               Rico                                                            MALDONADO,                        Rico
    MIGDALIA                                 17 BK 03283-LTS                                                 MIGDALIA                          17 BK 03283-LTS
    HC 1 BOX 31031                                                                                           HC 1 BOX 31031
    JUANA DIAZ, PR 00795                                                                                     JUANA DIAZ, PR 00795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
211 GONZALEZ MARTINEZ,            05/29/18   Commonwealth of Puerto         38331              Undetermined* GONZALEZ MARTINEZ,     05/29/18   Commonwealth of Puerto    43100        Undetermined*
    MANUEL                                   Rico                                                            MANUEL                            Rico
    HC 09 BOX 4199                           17 BK 03283-LTS                                                 HC 9 BOX 4199                     17 BK 03283-LTS
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
212 GONZALEZ MARTINEZ,            05/29/18   Commonwealth of Puerto         42763              Undetermined* GONZALEZ MARTINEZ,     05/29/18   Commonwealth of Puerto    43100        Undetermined*
    MANUEL                                   Rico                                                            MANUEL                            Rico
    HC 09 BOX 4199                           17 BK 03283-LTS                                                 HC 9 BOX 4199                     17 BK 03283-LTS
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 41 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                               Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
213 GONZALEZ MENDEZ,              05/25/18   Commonwealth of Puerto         26620              Undetermined* GONZALEZ MENDEZ,          05/25/18   Commonwealth of Puerto    40086        Undetermined*
    VICTOR A                                 Rico                                                            VICTOR A                             Rico
    JUNCAL CONTRAC                           17 BK 03283-LTS                                                 JUNCAL CONTRAC                       17 BK 03283-LTS
    STATION                                                                                                  STATION
    PO BOX 2567                                                                                              APT 2567
    SAN SEBASTIAN, PR                                                                                        SAN SEBASTIAN, PR
    00685                                                                                                    00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
214 GONZALEZ MONTANEZ,            05/14/18   Commonwealth of Puerto         11023                   $ 3,531.00 GONZALEZ MONTANEZ,      05/14/18   Commonwealth of Puerto    11560            $ 3,531.00
    SARAHI                                   Rico                                                              SARAHI                             Rico
    URB VALLE PIEDRA                         17 BK 03283-LTS                                                   URB VALLE PIEDRA                   17 BK 03283-LTS
    602 CALLE FELIX LOPEZ                                                                                      602 CALLE FELIX LOPEZ
    LAS PIEDRAS, PR 00771                                                                                      LAS PIEDRAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
215 GONZALEZ MORALES,             06/27/18   Commonwealth of Puerto         99522              Undetermined* GONZALEZ MORALES,         06/27/18   Commonwealth of Puerto    110617       Undetermined*
    VIONETTE A                               Rico                                                            VIONETTE A                           Rico
    BOX 65                                   17 BK 03283-LTS                                                 BOX 65                               17 BK 03283-LTS
    AGUADILLA, PR 00605                                                                                      AGUADILLA, PR 00605

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
216 GONZALEZ OCASIO,              06/29/18   Commonwealth of Puerto         71672                 $ 78,455.52 GONZALEZ OCASIO,         06/29/18   Commonwealth of Puerto    91178           $ 78,455.52
    SONIA                                    Rico                                                             SONIA                               Rico
    VILLAS DE LOIZA                          17 BK 03283-LTS                                                  VILLA DE LOIZA                      17 BK 03283-LTS
    CALLE 6 J-10                                                                                              CALLE 6 J-10
    CANOVANAS, PR 00729                                                                                       CANOVANAS, PR 00729

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
217 GONZALEZ OLMO,                06/28/18   Commonwealth of Puerto         106399             Undetermined* GONZALEZ OLMO,            06/28/18   Commonwealth of Puerto    128318       Undetermined*
    NELIDA                                   Rico                                                            NELIDA                               Rico
    HC-03 BOX 20623                          17 BK 03283-LTS                                                 HC-03 BOX 20623                      17 BK 03283-LTS
    ARECIBO, PR 00612                                                                                        ARECIBO, PR 00612

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 42 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
218 GONZALEZ OLMO,                06/28/18   Commonwealth of Puerto         123802             Undetermined* GONZALEZ OLMO,          06/28/18   Commonwealth of Puerto    128318       Undetermined*
    NELIDA                                   Rico                                                            NELIDA                             Rico
    HC-03 BOX 20623                          17 BK 03283-LTS                                                 HC-03 BOX 20623                    17 BK 03283-LTS
    ARECIBO, PR 00612                                                                                        ARECIBO, PR 00612

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
219 GONZALEZ OLMO,                06/28/18   Commonwealth of Puerto         125250             Undetermined* GONZALEZ OLMO,          06/28/18   Commonwealth of Puerto    128318       Undetermined*
    NELIDA                                   Rico                                                            NELIDA                             Rico
    HC-03 BOX 20623                          17 BK 03283-LTS                                                 HC-03 BOX 20623                    17 BK 03283-LTS
    ARECIBO, PR 00612                                                                                        ARECIBO, PR 00612

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
220 GONZALEZ ORTIZ,               05/29/18   Commonwealth of Puerto         19100              Undetermined* GONZALEZ ORTIZ,         05/29/18   Commonwealth of Puerto    24798        Undetermined*
    VICTORIA                                 Rico                                                            VICTORIA                           Rico
    URB. CAGUAS NORTE                        17 BK 03283-LTS                                                 J3 CALLE ISRAEL                    17 BK 03283-LTS
    #J-3 CALLE ISRAEL                                                                                        CAGUAS NORTE
    CAGUAS, PR 00725-2225                                                                                    CAGUAS, PR 00725-2225

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
221 GONZALEZ PAGAN,               05/21/18   Commonwealth of Puerto         30067              Undetermined* GONZALEZ PAGAN,         05/21/18   Commonwealth of Puerto    32588        Undetermined*
    GLORI                                    Rico                                                            GLORI                              Rico
    JARDINES DE CAYEY                        17 BK 03283-LTS                                                 URB JARDINES I                     17 BK 03283-LTS
    IC-13 I 14                                                                                               I14 CALLE 13
    CAYEY, PR 00736                                                                                          CAYEY, PR 00736

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
222 GONZALEZ PAGAN,               06/29/18   Commonwealth of Puerto         82712              Undetermined* GONZALEZ PAGAN,         06/29/18   Commonwealth of Puerto    82859        Undetermined*
    MELISSA                                  Rico                                                            MELISSA                            Rico
    PO BOX 162                               17 BK 03283-LTS                                                 P.O.BOX 162                        17 BK 03283-LTS
    CIALES, PR 00638                                                                                         CAILES, PR 00638

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
223 GONZALEZ PEREZ,               05/25/18   Commonwealth of Puerto         22553              Undetermined* GONZALEZ PEREZ,         05/25/18   Commonwealth of Puerto    33262        Undetermined*
    LILLIANA                                 Rico                                                            LILLIANA                           Rico
    APARTADO 623                             17 BK 03283-LTS                                                 PO BOX 623                         17 BK 03283-LTS
    SAN SEBASTIAN, PR                                                                                        SAN SEBASTIAN, PR
    00685                                                                                                    00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 43 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
224 GONZALEZ PINO,                06/06/18   Commonwealth of Puerto         48582              Undetermined* GONZALEZ PINO,          06/06/18   Commonwealth of Puerto    79772        Undetermined*
    LEYLA                                    Rico                                                            LEYLA                              Rico
    101 AVE MONTEMAR                         17 BK 03283-LTS                                                 101 AVE MONTE MAR                  17 BK 03283-LTS
    AGUADILLA, PR 00603-                                                                                     AGUADILLA, PR 00603-
    5552                                                                                                     5552

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
225 GONZALEZ PINO,                06/06/18   Commonwealth of Puerto         69457              Undetermined* GONZALEZ PINO,          06/06/18   Commonwealth of Puerto    79772        Undetermined*
    LEYLA                                    Rico                                                            LEYLA                              Rico
    101 AVE. MONTEMAR                        17 BK 03283-LTS                                                 101 AVE MONTE MAR                  17 BK 03283-LTS
    AGUADILLA, PR 00603-                                                                                     AGUADILLA, PR 00603-
    5552                                                                                                     5552

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
226 GONZALEZ                      06/06/18   Commonwealth of Puerto         70281              Undetermined* GONZALEZ                06/06/18   Commonwealth of Puerto    91396        Undetermined*
    QUIRINDONGO, EFRAIN                      Rico                                                            QUIRINDONGO, EFRAIN                Rico
    HC 03 BOX 11056                          17 BK 03283-LTS                                                 HC03 BOX 11056                     17 BK 03283-LTS
    JUANA DIAZ, PR 00795                                                                                     JUANA DIAZ, PR 00795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
227 GONZALEZ RAMOS,               06/27/18   Commonwealth of Puerto         44960               $ 2,000,000.00 GONZALEZ RAMOS,       06/27/18   Commonwealth of Puerto    53622        $ 2,000,000.00*
    MARISOL                                  Rico                                                              MARISOL                          Rico
    URB. VELOMAS #62                         17 BK 03283-LTS                                                   URB VELOMAS 62                   17 BK 03283-LTS
    CALLE CENTRAL                                                                                              CALLE CENTRAL
    CAMBALACHE                                                                                                 CAMBALACHE
    VEGA ALTA, PR 00692                                                                                        VEGA ALTA, PR 00692

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
228 GONZALEZ REYES, LUIS          05/04/18   Commonwealth of Puerto          9301              Undetermined* GONZALEZ REYES, LUIS    05/04/18   Commonwealth of Puerto    21775        Undetermined*
    A                                        Rico                                                            A                                  Rico
    BOX 131                                  17 BK 03283-LTS                                                 BOX 131                            17 BK 03283-LTS
    CIDRA, PR 00739                                                                                          CIDRA, PR 00739

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
229 GONZALEZ REYES, LUIS          05/04/18   Commonwealth of Puerto          9491              Undetermined* GONZALEZ REYES, LUIS    05/04/18   Commonwealth of Puerto    21775        Undetermined*
    A                                        Rico                                                            A                                  Rico
    BOX 131                                  17 BK 03283-LTS                                                 BOX 131                            17 BK 03283-LTS
    CIDRA, PR 00739                                                                                          CIDRA, PR 00739

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 44 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
230 GONZALEZ RIVERA,              06/29/18   Commonwealth of Puerto         134180             Undetermined* GONZALEZ RIVERA,         06/29/18   Commonwealth of Puerto    151095       Undetermined*
    ENID M.                                  Rico                                                            ENID M.                             Rico
    URB. VILLA ROSA I                        17 BK 03283-LTS                                                 URB. VILLA ROSA 1                   17 BK 03283-LTS
    CALLE 5 A-32                                                                                             CALLE 5 A-32
    GUAYAMA, PR 00784                                                                                        GUAYAMA, PR 00784

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
231 GONZALEZ RIVERA,              05/29/18   Commonwealth of Puerto         28170              Undetermined* GONZALEZ RIVERA,         07/06/18   Commonwealth of Puerto    153307       Undetermined*
    NATIVIDAD                                Rico                                                            NATIVIDAD                           Rico
    HC 01                                    17 BK 03283-LTS                                                 HC-01-BOX 7425                      17 BK 03283-LTS
    BOX 7425 CARRIZALES                                                                                      CARRIZALES
    HATILLO, PR 00659-7343                                                                                   HATILLO, PR 00659-7343

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
232 GONZALEZ RIVERA,              04/16/18   Commonwealth of Puerto          5200              Undetermined* GONZALEZ RIVERA,         04/16/18   Commonwealth of Puerto    7465         Undetermined*
    OSCAR G                                  Rico                                                            OSCAR G                             Rico
    URB LOS CACIQUES                         17 BK 03283-LTS                                                 URB LOS CACIQUES 299                17 BK 03283-LTS
    299 CALLE URAYON                                                                                         CALLE URAYOAN
    CAROLINA, PR 00985                                                                                       CAROLINA, PR 00985

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
233 GONZALEZ RODRIGUEZ,           05/04/18   Commonwealth of Puerto         10720                $ 47,666.30* GONZALEZ RODRIGUEZ,     05/04/18   Commonwealth of Puerto    10975          $ 47,666.30*
    ISIDORO                                  Rico                                                             ISIDORO                            Rico
    HC 20 BOX 26390                          17 BK 03283-LTS                                                  HC 20 BOX 26390                    17 BK 03283-LTS
    SAN LORENZO, PR 00754                                                                                     SAN LORENZO, PR 00754

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
234 GONZALEZ RODRIGUEZ,           05/04/18   Commonwealth of Puerto         10897                $ 47,666.30* GONZALEZ RODRIGUEZ,     05/04/18   Commonwealth of Puerto    10975          $ 47,666.30*
    ISIDORO                                  Rico                                                             ISIDORO                            Rico
    HC 20 BOX 26390                          17 BK 03283-LTS                                                  HC 20 BOX 26390                    17 BK 03283-LTS
    SAN LORENZO, PR 00754                                                                                     SAN LORENZO, PR 00754

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 45 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                             Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
235 GONZALEZ ROLDAN,              06/04/18   Commonwealth of Puerto         46104              Undetermined* GONZALEZ ROLDAN,        06/04/18   Commonwealth of Puerto    58348        Undetermined*
    JOSE A                                   Rico                                                            JOSE A                             Rico
    JANE A BECKER                            17 BK 03283-LTS                                                 JANE A. BECKER                     17 BK 03283-LTS
    WHITAKER                                                                                                 WHITAKER
    PO BOX 9023914                                                                                           PO BOX 9023914
    SAN JUAN, PR 00902                                                                                       SAN JUAN, PR 00902

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
236 GONZALEZ ROMAN,               07/06/18   Commonwealth of Puerto         151815                $ 29,150.90 GONZALEZ ROMAN,        07/06/18   Commonwealth of Puerto    158093          $ 29,150.90
    OSCAR                                    Rico                                                             OSCAR                             Rico
    HC-02 BOX 12355                          17 BK 03283-LTS                                                  HC 02 BOX 12355                   17 BK 03283-LTS
    MOCA, PR 00676                                                                                            MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
237 GONZALEZ ROSADO,              06/29/18   Commonwealth of Puerto         47645                 $ 20,000.00 GONZALEZ ROSADO,       06/29/18   Commonwealth of Puerto    73327           $ 20,000.00
    LYMARI                                   Rico                                                             LYMARI                            Rico
    HC 4 BOX 5425                            17 BK 03283-LTS                                                  HC 4 BOX 5425                     17 BK 03283-LTS
    GUAYNABO, PR 00971                                                                                        GUAYNABO, PR 00971

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
238 GONZALEZ ROSAS,               07/06/18   Commonwealth of Puerto         158473             Undetermined* GONZALEZ ROSAS,         07/06/18   Commonwealth of Puerto    160435       Undetermined*
    MAYRA                                    Rico                                                            MAYRA                              Rico
    URB BELMONTE                             17 BK 03283-LTS                                                 URB BELMONTE                       17 BK 03283-LTS
    81 C SEGOVIA                                                                                             81 CALLE SEGOVIA
    MAYAGUEZ, PR 00680-                                                                                      MAYAGUEZ, PR 00680-
    2361                                                                                                     2361

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
239 GONZALEZ SANTIAGO,            06/29/18   Commonwealth of Puerto         128513               $ 35,675.74* GONZALEZ SANTIAGO,     06/29/18   Commonwealth of Puerto    136706         $ 35,675.74*
    JENNIE                                   Rico                                                             JENNIE                            Rico
    81 CALLE EUGENIO                         17 BK 03283-LTS                                                  81 CALLE EUGENIO                  17 BK 03283-LTS
    MARIA DE HOSTOS                                                                                           MARIA DE HOSTOS
    JUANA DIAZ, PR 00795                                                                                      JUANA DIAZ, PR 00795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 46 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                           Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
240 GONZALEZ SANTIAGO,            05/24/18   Commonwealth of Puerto         22566              Undetermined* GONZALEZ SANTIAGO,    05/24/18   Commonwealth of Puerto    25522        Undetermined*
    LIANETTE                                 Rico                                                            LIANETTE                         Rico
    VILLA FONTANA                            17 BK 03283-LTS                                                 VILLA FONTANA LR16               17 BK 03283-LTS
    VIA 17 MR18                                                                                              VIA 17
    CAROLINA, PR 00983                                                                                       CAROLINA, PR 00983

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
241 GONZALEZ SANTIAGO,            05/25/18   Commonwealth of Puerto         66318              Undetermined* GONZALEZ SANTIAGO,    05/29/18   Commonwealth of Puerto    135111       Undetermined*
    WYDMAR                                   Rico                                                            WYDMAR                           Rico
    PO BOX 599                               17 BK 03283-LTS                                                 P.O. BOX 599                     17 BK 03283-LTS
    SAN SEBASTIAN, PR                                                                                        SAN SEBASTIAN, PR
    00685                                                                                                    00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
242 GONZALEZ SOTO,                06/28/18   Commonwealth of Puerto         118357             Undetermined* GONZALEZ SOTO,        06/28/18   Commonwealth of Puerto    147314       Undetermined*
    MARIA N.                                 Rico                                                            MARIA N.                         Rico
    HC 60 BOX 29780                          17 BK 03283-LTS                                                 HC 60 BOX 29780                  17 BK 03283-LTS
    AGUADA, PR 00602                                                                                         AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
243 GONZALEZ TAPIA,               06/27/18   Commonwealth of Puerto         54889              Undetermined* GONZALEZ TAPIA,       06/27/18   Commonwealth of Puerto    57441        Undetermined*
    CLARYVETTE                               Rico                                                            CLARYVETTE                       Rico
    URB VILLA                                17 BK 03283-LTS                                                 URB VILLA CAROLINA               17 BK 03283-LTS
    CAROLINA 71-22                                                                                           71-22 CALLE 58
    CALLE 58                                                                                                 CAROLINA, PR 00985-
    CAROLINA, PR 00985                                                                                       4936

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
244 GONZALEZ TORRES,              06/27/18   Commonwealth of Puerto         73169              Undetermined* GONZALEZ TORRES,      07/06/18   Commonwealth of Puerto    120414       Undetermined*
    NANCY                                    Rico                                                            NANCY                            Rico
    HC-03 BOX 8725                           17 BK 03283-LTS                                                 HC-03 BOX 8725                   17 BK 03283-LTS
    LARES, PR 00669                                                                                          LARES, PR 00669

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 47 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
245 GONZALEZ VALENTIN,            06/27/18   Commonwealth of Puerto         53658                $ 150,000.00 GONZALEZ VALENTIN,       06/27/18   Commonwealth of Puerto    55129         $ 150,000.00*
    MILAGROS                                 Rico                                                             MILAGROS                            Rico
    CALLE ARNALDO                            17 BK 03283-LTS                                                  CALLE ARNALDO                       17 BK 03283-LTS
    SEVILLA #104                                                                                              SEVILLA #104
    MAYAGUEZ, PR 00680                                                                                        MAYAGÜEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
246 GONZALEZ                      06/28/18   Commonwealth of Puerto         113739             Undetermined* GONZALEZ                  06/28/18   Commonwealth of Puerto    137642       Undetermined*
    VELAZQUEZ,                               Rico                                                            VELAZQUEZ,                           Rico
    ELIZABETH                                17 BK 03283-LTS                                                 ELIZABETH                            17 BK 03283-LTS
    PO BOX 26                                                                                                PO BOX 26
    PATILLAS, PR 00723-0026                                                                                  PATILLAS, PR 00723-0026

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
247 GONZALEZ                      06/28/18   Commonwealth of Puerto         121063             Undetermined* GONZALEZ                  06/28/18   Commonwealth of Puerto    137642       Undetermined*
    VELAZQUEZ,                               Rico                                                            VELAZQUEZ,                           Rico
    ELIZABETH                                17 BK 03283-LTS                                                 ELIZABETH                            17 BK 03283-LTS
    PO BOX 26                                                                                                PO BOX 26
    PATILLAS, PR 00723-0026                                                                                  PATILLAS, PR 00723-0026

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
248 GONZALEZ                      06/28/18   Commonwealth of Puerto         122660             Undetermined* GONZALEZ                  06/28/18   Commonwealth of Puerto    137642       Undetermined*
    VELAZQUEZ,                               Rico                                                            VELAZQUEZ,                           Rico
    ELIZABETH                                17 BK 03283-LTS                                                 ELIZABETH                            17 BK 03283-LTS
    PO BOX 26                                                                                                PO BOX 26
    PATILLAS, PR 00723-0026                                                                                  PATILLAS, PR 00723-0026

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
249 GONZALEZ                      06/28/18   Commonwealth of Puerto         125912             Undetermined* GONZALEZ                  06/28/18   Commonwealth of Puerto    137642       Undetermined*
    VELAZQUEZ,                               Rico                                                            VELAZQUEZ,                           Rico
    ELIZABETH                                17 BK 03283-LTS                                                 ELIZABETH                            17 BK 03283-LTS
    PO BOX 26                                                                                                PO BOX 26
    PATILLAS, PR 00723-0026                                                                                  PATILLAS, PR 00723-0026

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 48 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
250 GONZALEZ                      06/28/18   Commonwealth of Puerto         127887             Undetermined* GONZALEZ                  06/28/18   Commonwealth of Puerto    137642       Undetermined*
    VELAZQUEZ,                               Rico                                                            VELAZQUEZ,                           Rico
    ELIZABETH                                17 BK 03283-LTS                                                 ELIZABETH                            17 BK 03283-LTS
    PO BOX 26                                                                                                PO BOX 26
    PATILLAS, PR 00723-0026                                                                                  PATILLAS, PR 00723-0026

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
251 GONZALEZ VERA,                06/26/18   Commonwealth of Puerto         94353                 $ 50,000.00 GONZALEZ VERA,           06/27/18   Commonwealth of Puerto    98743          $ 50,000.00*
    MARIBEL                                  Rico                                                             MARIBEL                             Rico
    URB. CONSTANCIA 875                      17 BK 03283-LTS                                                  URB. CONSTANCIA 875                 17 BK 03283-LTS
    CALLE CORTADA                                                                                             CALLE CORTADA
    PONCE, PR 00717-2203                                                                                      PONCE, PR 00717-2203

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
252 GONZALEZ ZAYAS,               06/29/18   Commonwealth of Puerto         98566              Undetermined* GONZALEZ ZAYAS,           07/03/18   Commonwealth of Puerto    150141       Undetermined*
    FERNANDO L.                              Rico                                                            FERNANDO L.                          Rico
    HC 05 BOX 13583                          17 BK 03283-LTS                                                 HC 05 BOX 13583                      17 BK 03283-LTS
    JUANA DIAZ, PR 00795                                                                                     JUANA DIAZ, PR 00795

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
253 GONZALEZ, JUAN                06/27/18   Commonwealth of Puerto         48658               $ 150,000.00* GONZALEZ, JUAN           06/27/18   Commonwealth of Puerto    57974         $ 150,000.00*
    CALLE ARNALDO                            Rico                                                             CALLE ARNALDO                       Rico
    SEVILLA #104                             17 BK 03283-LTS                                                  SEVILLA #104                        17 BK 03283-LTS
    MAYAGUEZ, PR 00680                                                                                        MAYAGÜEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
254 GONZALEZ, JUAN                06/27/18   Commonwealth of Puerto         55025               $ 150,000.00* GONZALEZ, JUAN           06/27/18   Commonwealth of Puerto    57974         $ 150,000.00*
    CALLE ARNALDO                            Rico                                                             CALLE ARNALDO                       Rico
    SEVILLA #104                             17 BK 03283-LTS                                                  SEVILLA #104                        17 BK 03283-LTS
    MAYAGÜEZ, PR 00680                                                                                        MAYAGÜEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
255 GONZALEZ, SANTIAGO            05/21/18   Commonwealth of Puerto         42948              Undetermined* GONZALEZ, SANTIAGO        03/12/18   Commonwealth of Puerto    2192         Undetermined*
    1408 MILLER ST.                          Rico                                                            1408 MILLER ST.                      Rico
    UTICA, NY 13501-4511                     17 BK 03283-LTS                                                 UTICA, NY 13501-4511                 17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 49 of 96
                                      Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                            Desc:
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
256 GONZALEZ-                    02/09/18   Commonwealth of Puerto           492                $ 113,535.60 GONZALEZ-             02/09/18   Commonwealth of Puerto     511          $ 113,535.60*
    CANDELARIO, JAVIER                      Rico                                                             CANDELARIO, JAVIER               Rico
    ENRIQUE                                 17 BK 03283-LTS                                                  ENRIQUE                          17 BK 03283-LTS
    1488 CALLE ELMIRA,                                                                                       1488 CALLE ELMIRA,
    URB. CAPARRA                                                                                             URB. CAPARRA
    HEIGHTS                                                                                                  HEIGHTS
    SAN JUAN, PR 00920                                                                                       SAN JUAN, PR 00920

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
257 GOTAY FERRER, ELLIOT         06/28/18   Commonwealth of Puerto         135367             Undetermined* GOTAY FERRER, ELLIOT   06/28/18   Commonwealth of Puerto    139358       Undetermined*
    2146 REPARTO                            Rico                                                            2146 REPARTO                      Rico
    ALTURAS 1                               17 BK 03283-LTS                                                 ALTURAS 1                         17 BK 03283-LTS
    PENUELAS, PR 00624                                                                                      PENUELAS, PR 00624

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
258 GRAFE CONSTRUCTION           05/10/18   Commonwealth of Puerto         14280                $ 203,210.75 GRAFE CONSTRUCTION    05/10/18   Commonwealth of Puerto    14307          $ 203,210.75
    CORP                                    Rico                                                             CORP                             Rico
    ADALBERTO FELICIANO                     17 BK 03283-LTS                                                  ADALBERTO FELICIANO              17 BK 03283-LTS
    CRESPO                                                                                                   CRESPO
    RR 2 BOX 4160                                                                                            RR 2 BOX 4160
    ANASCO, PR 00610                                                                                         ANASCO, PR 00610

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
259 GRUPO NEUROLOGIA             05/29/18   Commonwealth of Puerto         26801                 $ 39,191.00 GRUPO NEUROLOGIA      05/29/18   Commonwealth of Puerto    28207           $ 39,191.00
    AVANZADA                                Rico                                                             AVANZADA                         Rico
    COND PROFESSIONAL                       17 BK 03283-LTS                                                  CONDOMINIO                       17 BK 03283-LTS
    CENTER                                                                                                   PROFESSIONAL CENTER
    C MUNOZ RIVERA OFIC                                                                                      C MUNOZ RIVERA OFIC
    213                                                                                                      213
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
260 GUERRERO SALCEDO,            06/29/18   Commonwealth of Puerto         106716             Undetermined* GUERRERO SALCEDO,      06/29/18   Commonwealth of Puerto    147407       Undetermined*
    REINALDO                                Rico                                                            REINALDO                          Rico
    PO BOX 2520                             17 BK 03283-LTS                                                 PO BOX 2520                       17 BK 03283-LTS
    ISABELA, PR 00662                                                                                       ISABELA, PR 00662

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 50 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
261 GUERRERO SALCEDO,             06/28/18   Commonwealth of Puerto         118870             Undetermined* GUERRERO SALCEDO,       06/29/18   Commonwealth of Puerto    157386       Undetermined*
    REINALDO                                 Rico                                                            REINALDO                           Rico
    P.O. BOX 2520                            17 BK 03283-LTS                                                 PO BOX 2520                        17 BK 03283-LTS
    ISABELA, PR 00662                                                                                        ISABELA, PR 00662

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
262 GULICK MALDONADO,             05/07/18   Commonwealth of Puerto          9366                 $ 72,297.04 GULICK MALDONADO,      05/07/18   Commonwealth of Puerto    9368            $ 72,297.04
    RAFAEL E                                 Rico                                                             RAFAEL E                          Rico
    URB GARCIA PONCE                         17 BK 03283-LTS                                                  URB GARCIA PONCE                  17 BK 03283-LTS
    A5 CALLE SAN                                                                                              A5 CALLE SAN
    ANTONIO                                                                                                   ANTONIO
    FAJARDO, PR 00738                                                                                         FAJARDO, PR 00738

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
263 GUNKEL GUTIERREZ,             06/29/18   Commonwealth of Puerto         140352             Undetermined* GUNKEL GUTIERREZ,       06/29/18   Commonwealth of Puerto    155747       Undetermined*
    MARJORIE                                 Rico                                                            MARJORIE                           Rico
    URB. PUERTO NUEVO                        17 BK 03283-LTS                                                 URB. PUERTO NUEVO                  17 BK 03283-LTS
    CALLE CANARIAS #1219                                                                                     CALLE CANARIAS #1219
    SAN JUAN, PR 00920                                                                                       SAN JUAN, PR 00920

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
264 GUTIERREZ                     06/28/18   Commonwealth of Puerto         64665              Undetermined* GUTIERREZ               07/06/18   Commonwealth of Puerto    167401       Undetermined*
    ALMODOVAR,                               Rico                                                            ALMODOVAR,                         Rico
    NANNETTE                                 17 BK 03283-LTS                                                 NANNETTE                           17 BK 03283-LTS
    BOX 501                                                                                                  BOX 501
    GUANICA, PR 00653                                                                                        GUANICA, PR 00653

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
265 GUTIERREZ GONZALEZ,           06/25/18   Commonwealth of Puerto         104658             Undetermined* GUTIERREZ GONZALEZ,     06/28/18   Commonwealth of Puerto    58469        Undetermined*
    GUILLERMO                                Rico                                                            GUILLERMO                          Rico
    MIRADOR DE BAIROA                        17 BK 03283-LTS                                                 MIRADOR DE BAIROA                  17 BK 03283-LTS
    CALLE 30 BLOQUE 2T 50                                                                                    CALLE330 BLOQUE 2T 50
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 51 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                          Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                               REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                    DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME          FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
266 GUTIERREZ LEON,               06/29/18   Commonwealth of Puerto         76300              Undetermined* GUTIERREZ LEON,      06/29/18   Commonwealth of Puerto    81659        Undetermined*
    GISELLE                                  Rico                                                            GISELLE                         Rico
    JARD DEL CARIBE                          17 BK 03283-LTS                                                 URB JARDINES DEL                17 BK 03283-LTS
    MM7 CALLE 44                                                                                             CARIBE
    PONCE, PR 00728-2629                                                                                     MM-7 CALLE 44
                                                                                                             PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
267 GUZMAN GUZMAN,                06/28/18   Commonwealth of Puerto         111623             Undetermined* GUZMAN GUZMAN,       06/28/18   Commonwealth of Puerto    149301       Undetermined*
    EVELYN                                   Rico                                                            EVELYN                          Rico
    D-34 3                                   17 BK 03283-LTS                                                 D 34 #3                         17 BK 03283-LTS
    CAROLINA, PR 00982                                                                                       CAROLINA, PR 00982

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
268 GUZMAN RIVERA,                06/27/18   Commonwealth of Puerto         67908                 $ 25,000.00 GUZMAN RIVERA,      06/27/18   Commonwealth of Puerto    162154         $ 25,000.00*
    CARMELINA                                Rico                                                             CARMELINA                      Rico
    HC 7 BOX 72107                           17 BK 03283-LTS                                                  HC 7 BOX 72107                 17 BK 03283-LTS
    SAN SEBASTIAN, PR                                                                                         SAN SEBASTIAN, PR
    00685                                                                                                     00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
269 GUZMAN RODRIGUEZ,             07/05/18   Commonwealth of Puerto         155784             Undetermined* GUZMAN RODRIGUEZ,    07/05/18   Commonwealth of Puerto    157726       Undetermined*
    CARMELO                                  Rico                                                            CARMELO                         Rico
    198 CALLE SEGUNDA                        17 BK 03283-LTS                                                 198 CALLE SEGUNDA               17 BK 03283-LTS
    AGUIRRE, PR 00704                                                                                        AGUIRRE, PR 00704

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
270 GUZMAN SANTIAGO,              06/25/18   Commonwealth of Puerto         88182              Undetermined* GUZMAN SANTIAGO,     06/25/18   Commonwealth of Puerto    88745        Undetermined*
    CARMEN R                                 Rico                                                            CARMEN R                        Rico
    URB VISTAMAR                             17 BK 03283-LTS                                                 URB VISTAMAR                    17 BK 03283-LTS
    988 CALLE NAVARRA                                                                                        988 CALLE NAVARRA
    CAROLINA, PR 00983                                                                                       CAROLINA, PR 00983

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
271 GUZMAN VAZQUEZ,               07/02/18   Commonwealth of Puerto         108085             Undetermined* GUZMAN VAZQUEZ,      07/02/18   Commonwealth of Puerto    124775       Undetermined*
    MYRIAM                                   Rico                                                            MYRIAM                          Rico
    APARTADO 253                             17 BK 03283-LTS                                                 APARTADO 253                    17 BK 03283-LTS
    GURABO, PR 00778                                                                                         GURABO, PR 00778

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                     Page 52 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                            Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
272 HADDOCK GOMEZ,                06/27/18   Commonwealth of Puerto         56848                 $ 66,797.87 HADDOCK GOMEZ,        07/03/18   Commonwealth of Puerto    148987          $ 66,797.87
    MARISOL                                  Rico                                                             MARISOL                          Rico
    PO BOX 370492                            17 BK 03283-LTS                                                  P.O. BOX 370492                  17 BK 03283-LTS
    CAYEY, PR 00737                                                                                           CAYEY, PR 00737-492

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
273 HANCE DIAZ, CARMEN            06/29/18   Commonwealth of Puerto         89577                $ 11,806.12* HANCE DIAZ, CARMEN    06/29/18   Commonwealth of Puerto    163198         $ 11,806.12*
    P.O. BOX 1425                            Rico                                                             PO BOX 1425                      Rico
    CAROLINA, PR 00984                       17 BK 03283-LTS                                                  CAROLINA, PR 00984               17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
274 HENRIQUEZ                     06/25/18   Commonwealth of Puerto         86464              Undetermined* HENRIQUEZ              06/28/18   Commonwealth of Puerto    122383       Undetermined*
    VELAZQUEZ, AIXA                          Rico                                                            VELAZQUEZ, AIXA                   Rico
    REGINA                                   17 BK 03283-LTS                                                 REGINA                            17 BK 03283-LTS
    2732 LAS CARROZAS                                                                                        2732 LAS CARROZAS
    PERLO DEL SUR                                                                                            PERLA DEL SUR
    PONCE, PR 00717-0433                                                                                     PONCE, PR 00717-0433

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
275 HERNANDEZ ACOSTA,             06/27/18   Commonwealth of Puerto         54626              Undetermined* HERNANDEZ ACOSTA,      07/06/18   Commonwealth of Puerto    147103       Undetermined*
    JUAN RAMON                               Rico                                                            JUAN RAMON                        Rico
    PO BOX 1024                              17 BK 03283-LTS                                                 P.O. BOX 1024                     17 BK 03283-LTS
    LAJAS, PR 00667                                                                                          LAJAS, PR 00667

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
276 HERNANDEZ APONTE,             06/29/18   Commonwealth of Puerto         103363             Undetermined* HERNANDEZ APONTE,      06/29/18   Commonwealth of Puerto    148708       Undetermined*
    PABLO                                    Rico                                                            PABLO                             Rico
    441 SECTOR NOGUERAS                      17 BK 03283-LTS                                                 441 SECTOR NOGUERAS               17 BK 03283-LTS
    CIDRA, PR 00739                                                                                          CIDRA, PR 00739

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
277 HERNANDEZ ARCE,               07/03/18   Commonwealth of Puerto         109421             Undetermined* HERNANDEZ ARCE,        07/03/18   Commonwealth of Puerto    123174       Undetermined*
    DIANA                                    Rico                                                            DIANA                             Rico
    HC 3 BOX 21573                           17 BK 03283-LTS                                                 HC 3 BOX 21573                    17 BK 03283-LTS
    ARECIBO, PR 00612                                                                                        ARECIBO, PR 00612

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 53 of 96
                                      Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                           Desc:
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
278 HERNANDEZ BENEJAM,           05/25/18   Commonwealth of Puerto         22407              Undetermined* HERNANDEZ BENEJAM,    05/25/18   Commonwealth of Puerto    31737        Undetermined*
    EVERLIDYS                               Rico                                                            EVERLIDYS                        Rico
    MOCA GARDENS                            17 BK 03283-LTS                                                 URB. MOCA GARDENS                17 BK 03283-LTS
    485 CALLE ORQUIDEA                                                                                      CALLE ORQUIDEA #485
    MOCA, PR 00676                                                                                          MOCA, PR 00676

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
279 HERNANDEZ BENEJAM,           05/25/18   Commonwealth of Puerto         31734              Undetermined* HERNANDEZ BENEJAM,    05/25/18   Commonwealth of Puerto    31737        Undetermined*
    EVERLIDYS                               Rico                                                            EVERLIDYS                        Rico
    MOCA GARDENS                            17 BK 03283-LTS                                                 URB. MOCA GARDENS                17 BK 03283-LTS
    485 CALLE ORQUIDEA                                                                                      CALLE ORQUIDEA #485
    MOCA, PR 00676                                                                                          MOCA, PR 00676

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
280 HERNANDEZ CABRERA,           07/06/18   Commonwealth of Puerto         150780             Undetermined* HERNANDEZ CABRERA,    07/06/18   Commonwealth of Puerto    158866       Undetermined*
    ALTAGRACIA                              Rico                                                            ALTAGRACIA                       Rico
    TRASTALLERES                            17 BK 03283-LTS                                                 TRASTALLERES PDA 18              17 BK 03283-LTS
    808 CALLE SAN JUAN                                                                                      1066 CALLE NUEVA
    SAN JUAN, PR 00907                                                                                      PALMA
                                                                                                            SAN JUAN, PR 00907

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
281 HERNANDEZ CABRERA,           07/05/18   Commonwealth of Puerto         162032             Undetermined* HERNANDEZ CABRERA,    07/06/18   Commonwealth of Puerto    158866       Undetermined*
    ALTAGRACIA                              Rico                                                            ALTAGRACIA                       Rico
    TRASTALLERES PDA 18                     17 BK 03283-LTS                                                 TRASTALLERES PDA 18              17 BK 03283-LTS
    1066 CALLE NUEVA                                                                                        1066 CALLE NUEVA
    PALMA                                                                                                   PALMA
    SAN JUAN, PR 00907                                                                                      SAN JUAN, PR 00907

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
282 HERNANDEZ CASTRO,            06/28/18   Commonwealth of Puerto         118642             Undetermined* HERNANDEZ CASTRO,     06/28/18   Commonwealth of Puerto    137833       Undetermined*
    MARIA M.                                Rico                                                            MARIA M.                         Rico
    CALLE ISAURA #10                        17 BK 03283-LTS                                                 CALLE ISAURA #10                 17 BK 03283-LTS
    MOCA, PR 00676                                                                                          MOCA, PR 00676

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 54 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                            Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
283 HERNANDEZ CRESPO,             06/29/18   Commonwealth of Puerto         68335              Undetermined* HERNANDEZ CRESPO,      07/03/18   Commonwealth of Puerto    138189       Undetermined*
    ADELICIA                                 Rico                                                            ADELICIA                          Rico
    HC-01 BOX 5299 CEIBA                     17 BK 03283-LTS                                                 HC-01 BOX CELBA SUR               17 BK 03283-LTS
    SUR BO. SECTOR EL                                                                                        5299 BO CECTOR EL
    GANDUL                                                                                                   GANDUL
    JUNCOS, PR 00777                                                                                         JUNCOS, PR 00777

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
284 HERNANDEZ CUEVAS,             06/29/18   Commonwealth of Puerto         74780                $ 40,000.00* HERNANDEZ CUEVAS,     06/29/18   Commonwealth of Puerto    83637          $ 40,000.00*
    MYRNA                                    Rico                                                             MYRNA                            Rico
    PO BOX 5000 PMB 548                      17 BK 03283-LTS                                                  PO BOX 5000                      17 BK 03283-LTS
    CAMUY, PR 00627                                                                                           PMB 548
                                                                                                              CAMUY, PR 00627

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
285 HERNANDEZ DE JESUS,           05/22/18   Commonwealth of Puerto         18491              Undetermined* HERNANDEZ DE JESUS,    06/21/18   Commonwealth of Puerto    76345        Undetermined*
    MARISOL                                  Rico                                                            MARISOL                           Rico
    URBANIZACION VALLE                       17 BK 03283-LTS                                                 URBANIZACION VALLE                17 BK 03283-LTS
    DE ENSUENO 502                                                                                           DE ENSUENO
    VALLE VERDE                                                                                              502 VALLE VERDE
    GURABO, PR 00778                                                                                         GURABO, PR 00778

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
286 HERNANDEZ ESTRADA,            06/27/18   Commonwealth of Puerto         42658                   $ 8,400.00 HERNANDEZ ESTRADA,   07/06/18   Commonwealth of Puerto    156208           $ 8,400.00
    JUSTINA V.                               Rico                                                              JUSTINA V.                      Rico
    HC 02 BZN 21541                          17 BK 03283-LTS                                                   HC 02 BZN 21541                 17 BK 03283-LTS
    BO SALTOS II                                                                                               BO SALTOS II
    SAN SEBASTIAN, PR                                                                                          SAN SEBASTIAN, PR
    00685                                                                                                      00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
287 HERNANDEZ ESTRADA,            06/27/18   Commonwealth of Puerto         56504                 $ 15,600.00 HERNANDEZ ESTRADA,    07/06/18   Commonwealth of Puerto    150744         $ 15,600.00*
    JUSTINA V.                               Rico                                                             JUSTINA V.                       Rico
    HC 02 BZN 21541                          17 BK 03283-LTS                                                  HC 02 BZN 21541                  17 BK 03283-LTS
    BO SALTOS II                                                                                              BO SALTOS II
    SAN SEBASTIAN, PR                                                                                         SAN SEBASTIAN, PR
    00685                                                                                                     00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 55 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                            Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
288 HERNANDEZ                     06/27/18   Commonwealth of Puerto         54250              Undetermined* HERNANDEZ              07/02/18   Commonwealth of Puerto    96191        Undetermined*
    FIGUEROA, VILMA                          Rico                                                            FIGUEROA, VILMA                   Rico
    STAR LIGHT CALLE                         17 BK 03283-LTS                                                 3910 CALLE LUCERO                 17 BK 03283-LTS
    LUCERO 3910                                                                                              URB. STARLIGHT
    PONCE, PR 00717-1486                                                                                     PONCE, PR 00717-1486

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
289 HERNANDEZ FRAGOSO,            07/06/18   Commonwealth of Puerto         147265             Undetermined* HERNANDEZ FRAGOSO,     07/06/18   Commonwealth of Puerto    151962       Undetermined*
    WANDA I                                  Rico                                                            WANDA I                           Rico
    HC 4 BOX 6327                            17 BK 03283-LTS                                                 HC 4 BOX 6327                     17 BK 03283-LTS
    YABUCOA, PR 00767                                                                                        YABUCOA, PR 00767

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
290 HERNANDEZ GOMEZ,              06/27/18   Commonwealth of Puerto         44361              Undetermined* HERNANDEZ GOMEZ,       06/29/18   Commonwealth of Puerto    152492       Undetermined*
    BLANCA I.                                Rico                                                            BLANCA I.                         Rico
    URB. LA HACIENDA                         17 BK 03283-LTS                                                 URB. LA HACIENDA                  17 BK 03283-LTS
    CALLE MEDIA LUNA #12                                                                                     CALLE MEDIA LUNA #12
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
291 HERNANDEZ GOMEZ,              06/27/18   Commonwealth of Puerto         54317              Undetermined* HERNANDEZ GOMEZ,       06/29/18   Commonwealth of Puerto    123659       Undetermined*
    BLANCA I.                                Rico                                                            BLANCA I.                         Rico
    URB. LA HACIENDA                         17 BK 03283-LTS                                                 URB. LA HACIENDA                  17 BK 03283-LTS
    CALLE MEDIA LUNA #                                                                                       CALLE MEDIA LUNA #12
    12                                                                                                       CAGUAS, PR 00725
    CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
292 HERNANDEZ GOMEZ,              06/28/18   Commonwealth of Puerto         65286              Undetermined* HERNANDEZ GOMEZ,       06/29/18   Commonwealth of Puerto    135742       Undetermined*
    BLANCA I.                                Rico                                                            BLANCA I.                         Rico
    URB. LA HACIENDA                         17 BK 03283-LTS                                                 URB. LA HACIENDA                  17 BK 03283-LTS
    CALLE MEDIA LUNA #                                                                                       CALLE MEDIA LUNA #
    12                                                                                                       12
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 56 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
293 HERNANDEZ                     04/26/18   Commonwealth of Puerto          8839              Undetermined* HERNANDEZ              04/26/18   Commonwealth of Puerto    9321         Undetermined*
    GUTIERREZ, JAVIER                        Rico                                                            GUTIERREZ, JAVIER                 Rico
    PO BOX 442                               17 BK 03283-LTS                                                 URB.BALDORIOTY 2506               17 BK 03283-LTS
    PENUELAS, PR 00624-                                                                                      CALLE GOBERNADORES
    0442                                                                                                     PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
294 HERNANDEZ HERRERA,            05/15/18   Commonwealth of Puerto         22502              Undetermined* HERNANDEZ HERRERA,     05/15/18   Commonwealth of Puerto    23293        Undetermined*
    ANTONIA                                  Rico                                                            ANTONIA                           Rico
    BO. EL TUQUE SECT                        17 BK 03283-LTS                                                 NUEVA VIDA                        17 BK 03283-LTS
    NUEVA VIDA                                                                                               S 13 CALLE L
    S13 CALLE L                                                                                              PONCE, PR 00728
    FRANCISCO LUGO
    PONCE, PR 00728

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
295 HERNANDEZ JAMARDO,            05/10/18   Commonwealth of Puerto         12848              Undetermined* HERNANDEZ JAMARDO,     05/10/18   Commonwealth of Puerto    12851        Undetermined*
    RICARDO                                  Rico                                                            RICARDO                           Rico
    URB EL VALLE                             17 BK 03283-LTS                                                 EL VALLE                          17 BK 03283-LTS
    72 CALLE ROBLE                                                                                           72 CALLE ROBLES
    LAJAS, PR 00667                                                                                          LAJAS, PR 00667

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
296 HERNANDEZ JAMARDO,            05/10/18   Commonwealth of Puerto         12850              Undetermined* HERNANDEZ JAMARDO,     05/10/18   Commonwealth of Puerto    12851        Undetermined*
    RICARDO                                  Rico                                                            RICARDO                           Rico
    URB EL VALLE                             17 BK 03283-LTS                                                 EL VALLE                          17 BK 03283-LTS
    72 CALLE ROBLE                                                                                           72 CALLE ROBLES
    LAJAS, PR 00667                                                                                          LAJAS, PR 00667

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
297 HERNANDEZ JIMENEZ,            07/24/18   Commonwealth of Puerto         101148                $ 72,897.00 HERNANDEZ JIMENEZ,    07/24/18   Commonwealth of Puerto    140678          $ 72,897.00
    TERESA                                   Rico                                                             TERESA                           Rico
    41793 CARRETERA 483                      17 BK 03283-LTS                                                  41793 CARRETERA 483              17 BK 03283-LTS
    QUEBRADILLAS, PR                                                                                          QUEBRADILLAS, PR
    00678                                                                                                     00678

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 57 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
298 HERNANDEZ JIMENEZ,            07/24/18   Commonwealth of Puerto         105907                $ 72,897.00 HERNANDEZ JIMENEZ,    07/24/18   Commonwealth of Puerto    140678         $ 72,897.00
    TERESA                                   Rico                                                             TERESA                           Rico
    41793 CARRERTERA 483                     17 BK 03283-LTS                                                  41793 CARRETERA 483              17 BK 03283-LTS
    QUEBRADILLAS, PR                                                                                          QUEBRADILLAS, PR
    00678                                                                                                     00678

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
299 HERNANDEZ JIMENEZ,            07/24/18   Commonwealth of Puerto         148096                $ 72,897.00 HERNANDEZ JIMENEZ,    07/24/18   Commonwealth of Puerto    140678         $ 72,897.00
    TERESA                                   Rico                                                             TERESA                           Rico
    41793 CARRETERA 483                      17 BK 03283-LTS                                                  41793 CARRETERA 483              17 BK 03283-LTS
    QUEBRADILLAS, PR                                                                                          QUEBRADILLAS, PR
    00678                                                                                                     00678

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
300 HERNANDEZ JIMENEZ,            07/24/18   Commonwealth of Puerto         154011               $ 72,897.00* HERNANDEZ JIMENEZ,    07/24/18   Commonwealth of Puerto    140678         $ 72,897.00
    TERESA                                   Rico                                                             TERESA                           Rico
    41793 CARRETERA 483                      17 BK 03283-LTS                                                  41793 CARRETERA 483              17 BK 03283-LTS
    QUEBRADILLAS, PR                                                                                          QUEBRADILLAS, PR
    00678                                                                                                     00678

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
301 HERNANDEZ JIMENEZ,            07/24/18   Commonwealth of Puerto         158968                $ 72,897.00 HERNANDEZ JIMENEZ,    07/24/18   Commonwealth of Puerto    140678         $ 72,897.00
    TERESA                                   Rico                                                             TERESA                           Rico
    41793 CARRETERA 483                      17 BK 03283-LTS                                                  41793 CARRETERA 483              17 BK 03283-LTS
    QUEBRADILLAS, PR                                                                                          QUEBRADILLAS, PR
    00678                                                                                                     00678

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
302 HERNANDEZ JIMENEZ,            07/24/18   Commonwealth of Puerto         161587                $ 72,897.00 HERNANDEZ JIMENEZ,    07/24/18   Commonwealth of Puerto    140678         $ 72,897.00
    TERESA                                   Rico                                                             TERESA                           Rico
    41793 CARRETERA 483                      17 BK 03283-LTS                                                  41793 CARRETERA 483              17 BK 03283-LTS
    QUEBRADILLAS, PR                                                                                          QUEBRADILLAS, PR
    00678                                                                                                     00678

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 58 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                             Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
303 HERNANDEZ JIMENEZ,            07/24/18   Commonwealth of Puerto         161599                $ 72,897.00 HERNANDEZ JIMENEZ,     07/24/18   Commonwealth of Puerto    140678          $ 72,897.00
    TERESA                                   Rico                                                             TERESA                            Rico
    41793 CARRETERA 483                      17 BK 03283-LTS                                                  41793 CARRETERA 483               17 BK 03283-LTS
    QUEBRADILLAS, PR                                                                                          QUEBRADILLAS, PR
    00678                                                                                                     00678

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
304 HERNANDEZ JIMENEZ,            07/24/18   Commonwealth of Puerto         162208                $ 72,897.00 HERNANDEZ JIMENEZ,     07/24/18   Commonwealth of Puerto    140678          $ 72,897.00
    TERESA                                   Rico                                                             TERESA                            Rico
    41793 CARRETERA 483                      17 BK 03283-LTS                                                  41793 CARRETERA 483               17 BK 03283-LTS
    QUEBRADILLAS, PR                                                                                          QUEBRADILLAS, PR
    00678                                                                                                     00678

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
305 HERNANDEZ MENDEZ,             07/03/18   Commonwealth of Puerto         133217             Undetermined* HERNANDEZ MENDEZ,       07/03/18   Commonwealth of Puerto    154919       Undetermined*
    JANNETTE                                 Rico                                                            JANNETTE                           Rico
    PO BOX 364                               17 BK 03283-LTS                                                 P O BOX 364                        17 BK 03283-LTS
    MOCA, PR 00676                                                                                           MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
306 HERNANDEZ MILLAN,             05/29/18   Commonwealth of Puerto         32529              Undetermined* HERNANDEZ MILLAN,       05/29/18   Commonwealth of Puerto    32720        Undetermined*
    MARIBEL                                  Rico                                                            MARIBEL                            Rico
    PO BOX 1669                              17 BK 03283-LTS                                                 PO BOX 1669                        17 BK 03283-LTS
    LAS PIEDRAS, PR 00771                                                                                    LAS PIEDRAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
307 HERNÁNDEZ                     06/29/18   Commonwealth of Puerto         77721              Undetermined* HERNÁNDEZ               06/29/18   Commonwealth of Puerto    162685       Undetermined*
    MONTALVO,                                Rico                                                            MONTALVO,                          Rico
    GLORYMAR                                 17 BK 03283-LTS                                                 GLORYMAR                           17 BK 03283-LTS
    HC 73 BOX 4953                                                                                           HC 73 BOX 4953
    BARRIO NUEVO                                                                                             BARRIO NUEVO
    NARANJITO, PR 00719                                                                                      NARANJITO, PR 00719

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 59 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                            Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
308 HERNANDEZ                     05/23/18   Commonwealth of Puerto         27324              Undetermined* HERNANDEZ              05/23/18   Commonwealth of Puerto    33430        Undetermined*
    MONTALVO, WILSON                         Rico                                                            MONTALVO, WILSON                  Rico
    URB VISTA DEL RIO II                     17 BK 03283-LTS                                                 URB VISTA DEL RIO II              17 BK 03283-LTS
    S-5                                                                                                      S5
    ANASCO, PR 00610                                                                                         ANASCO, PR 00610

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
309 HERNANDEZ MORALES,            03/26/18   Commonwealth of Puerto          4291              Undetermined* HERNANDEZ MORALES,     03/26/18   Commonwealth of Puerto    4567         Undetermined*
    DAISY                                    Rico                                                            DAISY                             Rico
    P O BOX 40613                            17 BK 03283-LTS                                                 PO BOX 40613                      17 BK 03283-LTS
    SAN JUAN, PR 00940                                                                                       PDA 22
                                                                                                             SAN JUAN, PR 00940

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
310 HERNANDEZ MORALES,            06/29/18   Commonwealth of Puerto         112521             Undetermined* HERNANDEZ MORALES,     06/29/18   Commonwealth of Puerto    145710       Undetermined*
    WALESKA                                  Rico                                                            WALESKA                           Rico
    CALLE A J-3                              17 BK 03283-LTS                                                 URB STA CATALINA                  17 BK 03283-LTS
    URB. SANTA CATALINA                                                                                      J 3 CALLE A
    BAYAMON, PR 00957                                                                                        BAYAMON, PR 00957

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
311 HERNANDEZ MORALES,            06/29/18   Commonwealth of Puerto         145253             Undetermined* HERNANDEZ MORALES,     06/29/18   Commonwealth of Puerto    145710       Undetermined*
    WALESKA                                  Rico                                                            WALESKA                           Rico
    URB STA CATALINA                         17 BK 03283-LTS                                                 URB STA CATALINA                  17 BK 03283-LTS
    J 3 CALLE A                                                                                              J 3 CALLE A
    BAYAMON, PR 00957                                                                                        BAYAMON, PR 00957

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
312 HERNANDEZ                     05/17/18   Commonwealth of Puerto         15775              Undetermined* HERNANDEZ              05/17/18   Commonwealth of Puerto    16245         $ 150,000.00*
    RODRIGUEZ,                               Rico                                                            RODRIGUEZ,                        Rico
    SEBASTIAN JOSE                           17 BK 03283-LTS                                                 SEBASTIAN JOSE                    17 BK 03283-LTS
    PO BOX 743                                                                                               PO BOX 743
    VEGA ALTA, PR 00962                                                                                      VEGA ALTA, PR 00962

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 60 of 96
                                      Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                             Desc:
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
313 HERNANDEZ ROLDAN,            05/29/18   Commonwealth of Puerto         24287              Undetermined* HERNANDEZ ROLDAN,       05/29/18   Commonwealth of Puerto    28399        Undetermined*
    JANET                                   Rico                                                            JANET                              Rico
    URB LOMAS DE                            17 BK 03283-LTS                                                 URB LOMAS DE                       17 BK 03283-LTS
    TRUJILLO                                                                                                TRUJILLO
    B-8 CALLE 1                                                                                             B-8 CALLE 1
    TRUJILLO ALTO, PR                                                                                       TRUJILLO ALTO, PR
    00976                                                                                                   00976

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
314 HERNANDEZ RUIZ,              05/25/18   Commonwealth of Puerto         22998              Undetermined* HERNANDEZ RUIZ,         05/25/18   Commonwealth of Puerto    23075        Undetermined*
    JOHNNY                                  Rico                                                            JOHNNY                             Rico
    URB. JARDINES DE                        17 BK 03283-LTS                                                 URB. JARDINES DE                   17 BK 03283-LTS
    SALINAS A-20                                                                                            SALINAS A-20
    CALLE ROLANDO CRUZ                                                                                      CALLE ROLANDO CRUZ
    QUIÑONEZ                                                                                                QUINONEZ
    SALINAS, PR 00751                                                                                       SALINAS, PR 00751

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
315 HERNANDEZ                    07/05/18   Commonwealth of Puerto         109534                $ 75,000.00 HERNANDEZ              07/05/18   Commonwealth of Puerto    119259          $ 75,000.00
    SANTIAGO, MARIBEL                       Rico                                                             SANTIAGO, MARIBEL                 Rico
    40305 CALLE SHELIMAR                    17 BK 03283-LTS                                                  40305 CALLE SHELIMAR              17 BK 03283-LTS
    QUEBRADILLAS, PR                                                                                         QUEBRADILLAS, PR
    00678-9413                                                                                               00678-9413

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
316 HERNANDEZ                    07/05/18   Commonwealth of Puerto         116568                $ 75,000.00 HERNANDEZ              07/05/18   Commonwealth of Puerto    119259          $ 75,000.00
    SANTIAGO, MARIBEL                       Rico                                                             SANTIAGO, MARIBEL                 Rico
    40305 CALLE SHELIMAR                    17 BK 03283-LTS                                                  40305 CALLE SHELIMAR              17 BK 03283-LTS
    QUEBRADILLAS, PR                                                                                         QUEBRADILLAS, PR
    00678-9413                                                                                               00678-9413

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
317 HERNANDEZ                    07/12/18   Commonwealth of Puerto         125846             Undetermined* HERNANDEZ               07/12/18   Commonwealth of Puerto    161493       Undetermined*
    SANTIAGO, NORMA I.                      Rico                                                            SANTIAGO, NORMA I.                 Rico
    A 4 EXT. MONSERRATE                     17 BK 03283-LTS                                                 EXT MONSERRATE # A4                17 BK 03283-LTS
    SALINAS, PR 00751                                                                                       SALINAS, PR 00751

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 61 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                                Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
318 HERNANDEZ SOSTRE,             06/29/18   Commonwealth of Puerto         84589                 $ 41,000.00 HERNANDEZ SOSTRE,         06/29/18   Commonwealth of Puerto    85998           $ 41,000.00
    ELSA A.                                  Rico                                                             ELSA A.                              Rico
    LA INMACULADA                            17 BK 03283-LTS                                                  LA INMACULADA                        17 BK 03283-LTS
    COURT                                                                                                     COURT
    EDIF. C APTO. 152                                                                                         EDIF. C APARTAMENTO
    VEGA ALTA, PR 00692                                                                                       152
                                                                                                              VEGA ALTA, PR 00692

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
319 HERNANDEZ SOTO,               06/28/18   Commonwealth of Puerto         72543               $ 150,000.00* HERNANDEZ SOTO,           06/28/18   Commonwealth of Puerto    72664         $ 150,000.00*
    CARMEN                                   Rico                                                             CARMEN                               Rico
    ARNALDO ELIAS                            17 BK 03283-LTS                                                  ARNALDO ELIAS                        17 BK 03283-LTS
    PO BOX 191841                                                                                             PO BOX 191841
    SAN JUAN, PR 00919-1841                                                                                   SAN JUAN, PR 00919-1841

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
320 HERNANDEZ TORRES,             05/22/18   Commonwealth of Puerto         23593              Undetermined* HERNANDEZ TORRES,          05/22/18   Commonwealth of Puerto    23679        Undetermined*
    LILLIAM                                  Rico                                                            LILLIAM                               Rico
    URB. JARDINES DE                         17 BK 03283-LTS                                                 JARD DE GURABO                        17 BK 03283-LTS
    GURABO                                                                                                   207 CALLE 10
    CALLE 10 #207                                                                                            GURABO, PR 00778
    GURABO, PR 00778

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
321 HERNANDEZ TORRES,             06/28/18   Commonwealth of Puerto         65423              Undetermined* HERNANDEZ TORRES,          06/29/18   Commonwealth of Puerto    148209       Undetermined*
    MARIA I.                                 Rico                                                            MARIA I.                              Rico
    PO BOX 1370                              17 BK 03283-LTS                                                 P.O. BOX 1370                         17 BK 03283-LTS
    CIALES, PR 00638                                                                                         CIALES, PR 00638

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
322 HERNANDEZ VARGAS,             05/10/18   Commonwealth of Puerto         14139              Undetermined* HERNANDEZ VARGAS,          05/10/18   Commonwealth of Puerto    14769        Undetermined*
    YESENIA                                  Rico                                                            YESENIA                               Rico
    CALLE OTONO #2017                        17 BK 03283-LTS                                                 URB. EXT. ELIZABETH 2                 17 BK 03283-LTS
    URB. EXT. ELIZABETH 2                                                                                    CALLE OTONO #2017
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 62 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                              Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
323 HERRAN MONTERO,               05/30/18   Commonwealth of Puerto         30127                $ 163,500.00 HERRAN MONTERO,         05/30/18   Commonwealth of Puerto    40445          $ 163,500.00
    GLORIMAR                                 Rico                                                             GLORIMAR                           Rico
    BO SALTO ABAJO KM                        17 BK 03283-LTS                                                  HC 2 BOX 6739                      17 BK 03283-LTS
    58.3                                                                                                      UTUADO, PR 00641-9503
    CARR 123
    HC-2 BOX 6739
    UTUADO, PR 00641

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
324 HERRAN MONTERO,               05/30/18   Commonwealth of Puerto         36964                $ 163,500.00 HERRAN MONTERO,         05/30/18   Commonwealth of Puerto    40445          $ 163,500.00
    GLORIMAR                                 Rico                                                             GLORIMAR                           Rico
    HC 02 BOX 6739                           17 BK 03283-LTS                                                  HC 2 BOX 6739                      17 BK 03283-LTS
    UTUADO, PR 00641                                                                                          UTUADO, PR 00641-9503

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
325 HERRAN MONTERO,               05/30/18   Commonwealth of Puerto         40204                $ 163,500.00 HERRAN MONTERO,         05/30/18   Commonwealth of Puerto    40445          $ 163,500.00
    GLORIMAR                                 Rico                                                             GLORIMAR                           Rico
    HC-02 BOX 6739                           17 BK 03283-LTS                                                  HC 2 BOX 6739                      17 BK 03283-LTS
    UTUADO, PR 00641                                                                                          UTUADO, PR 00641-9503

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
326 HIGGINS CUADRADO,             05/23/18   Commonwealth of Puerto         22626              Undetermined* HIGGINS CUADRADO,        05/23/18   Commonwealth of Puerto    29534        Undetermined*
    SOL Y                                    Rico                                                            SOL Y                               Rico
    HC 15 BOX 16343                          17 BK 03283-LTS                                                 HC 15 BOX 16343                     17 BK 03283-LTS
    HUMACAO, PR 00791                                                                                        HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
327 HSIANG, TOM                   04/01/18   Commonwealth of Puerto          4753                   $ 5,629.00 HSIANG, TOM            04/02/18   Commonwealth of Puerto    4797             $ 5,629.00
    5633 SILVER VALLEY                       Rico                                                              5633 AVE SILVER                   Rico
    AVE.                                     17 BK 03283-LTS                                                   VALLEY                            17 BK 03283-LTS
    AGOURA HILLS, CA                                                                                           AGOURA HILLS, CA
    91301                                                                                                      91301

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 63 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
328 HUERTAS RIVERA,               06/30/18   Commonwealth of Puerto         115781                $ 65,000.00 HUERTAS RIVERA,           06/30/18   Commonwealth of Puerto    130145          $ 65,000.00
    MYRNA N                                  Rico                                                             MYRNA N                              Rico
    URB COVANDONGA                           17 BK 03283-LTS                                                  URB COVANDONGA                       17 BK 03283-LTS
    1D18 CALLE 11                                                                                             1D18 CALLE 11
    TOA BAJA, PR 00949-5353                                                                                   TOA BAJA, PR 00949-5353

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
329 HUERTAS SANTIAGO,             05/24/18   Commonwealth of Puerto         21991              Undetermined* HUERTAS SANTIAGO,          05/24/18   Commonwealth of Puerto    21997        Undetermined*
    JESSICA                                  Rico                                                            JESSICA                               Rico
    104 ESTANCIAS DEL                        17 BK 03283-LTS                                                 APT 104 ESTANCIAS DEL                 17 BK 03283-LTS
    REY                                                                                                      REY
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
330 INOSTROZA ARROYO,             05/29/18   Commonwealth of Puerto         32334              Undetermined* INOSTROZA ARROYO,          05/29/18   Commonwealth of Puerto    32244        Undetermined*
    MARIA P                                  Rico                                                            MARIA P                               Rico
    URB VISTA HERMOSA J                      17 BK 03283-LTS                                                 URB VISTA HERMOSA J                   17 BK 03283-LTS
    17 CALLE 8                                                                                               17 CALLE 8
    HUMACAO, PR 00791                                                                                        HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
331 INOSTROZA ARROYO,             05/29/18   Commonwealth of Puerto         34102              Undetermined* INOSTROZA ARROYO,          05/29/18   Commonwealth of Puerto    32244        Undetermined*
    MARIA P                                  Rico                                                            MARIA P                               Rico
    URB VISTA HERMOSA                        17 BK 03283-LTS                                                 URB VISTA HERMOSA J                   17 BK 03283-LTS
    J 17 CALLE 8                                                                                             17 CALLE 8
    HUMACAO, PR 00791                                                                                        HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
332 IRAIDA RIVERA, RUTH           06/29/18   Commonwealth of Puerto         86905              Undetermined* IRAIDA RIVERA, RUTH        06/29/18   Commonwealth of Puerto    143082       Undetermined*
    1802 PORTALES DEL                        Rico                                                            1802 PORTALES DEL                     Rico
    MONTE                                    17 BK 03283-LTS                                                 MONTE                                 17 BK 03283-LTS
    COTO LAUREL, PR 00780                                                                                    COTO LAUREL, PR 00780

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 64 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME           FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
333 IRIS LUGO, ADA                07/03/18   Commonwealth of Puerto         67902                   $ 6,600.00 IRIS LUGO, ADA       07/03/18   Commonwealth of Puerto    125799           $ 6,600.00
    523 CALLE F. MARTINEZ                    Rico                                                              523. CALLE F. URB.              Rico
    DE MATOS                                 17 BK 03283-LTS                                                   MARTINEZ DE MATOS               17 BK 03283-LTS
    URB VILLA SALUTE                                                                                           MAYAGUEZ, PR 00680
    MAYAGUEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
334 IRIZARRY APONTE,              07/09/18   Commonwealth of Puerto         145329                  $ 6,000.00 IRIZARRY APONTE,     07/09/18   Commonwealth of Puerto    155588          $ 6,000.00*
    SONIA                                    Rico                                                              SONIA                           Rico
    1236 MANUEL A.                           17 BK 03283-LTS                                                   1236 MANUEL A.                  17 BK 03283-LTS
    BARRETO                                                                                                    BARRETO
    MAYAGUEZ, PR 00682                                                                                         MAYAGUEZ, PR 00682

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
335 IRIZARRY CHAULISANT,          05/29/18   Commonwealth of Puerto         37949              Undetermined* IRIZARRY CHAULISANT,   05/29/18   Commonwealth of Puerto    42224        Undetermined*
    ANGEL                                    Rico                                                            ANGEL                             Rico
    P.O. BOX 1754                            17 BK 03283-LTS                                                 PO BOX 1754                       17 BK 03283-LTS
    MAYAGUEZ, PR 00680                                                                                       MAYAGUEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
336 IRIZARRY NEGRON,              05/24/18   Commonwealth of Puerto         34295              Undetermined* IRIZARRY NEGRON,       05/24/18   Commonwealth of Puerto    37193        Undetermined*
    DIANA                                    Rico                                                            DIANA                             Rico
    PO BOX 1061                              17 BK 03283-LTS                                                 APARTADO 1061                     17 BK 03283-LTS
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
337 IRIZARRY OTERO,               05/10/18   Commonwealth of Puerto         12862              Undetermined* IRIZARRY OTERO,        05/10/18   Commonwealth of Puerto    12878        Undetermined*
    ELIKA                                    Rico                                                            ELIKA                             Rico
    CARR 348 KM. 1.8                         17 BK 03283-LTS                                                 7 REPARTO RUBEN MDS               17 BK 03283-LTS
    CAMINO RUBEN MASS                                                                                        MAYAGUEZ, PR 00680
    #7
    MAYAGUEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 65 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
338 IRIZARRY SANCHEZ,             05/29/18   Commonwealth of Puerto         91391              Undetermined* IRIZARRY SANCHEZ,       06/05/18   Commonwealth of Puerto    101453       Undetermined*
    ANIBAL                                   Rico                                                            ANIBAL                             Rico
    HC1 BOX 8637                             17 BK 03283-LTS                                                 HC 1 BOX 8637                      17 BK 03283-LTS
    MARICAO, PR 00606                                                                                        MARICAO, PR 00606

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
339 IRIZARRY SANCHEZ,             05/29/18   Commonwealth of Puerto         94477              Undetermined* IRIZARRY SANCHEZ,       06/05/18   Commonwealth of Puerto    101453       Undetermined*
    ANIBAL                                   Rico                                                            ANIBAL                             Rico
    HC 1 BOX 8637                            17 BK 03283-LTS                                                 HC 1 BOX 8637                      17 BK 03283-LTS
    MARICAO, PR 00606                                                                                        MARICAO, PR 00606

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
340 IRIZARRY SIERRA,              05/25/18   Commonwealth of Puerto         35130                   $ 1,400.46 IRIZARRY SIERRA,      05/25/18   Commonwealth of Puerto    36303            $ 1,400.46
    HIRAM                                    Rico                                                              HIRAM                            Rico
    CALLE ORQUIDEA 162                       17 BK 03283-LTS                                                   CALLE ORQUIDEA 162               17 BK 03283-LTS
    BO. MAGINAS                                                                                                BO. MAGINAS
    SABANA GRANDE, PR                                                                                          SABANA GRANDE, PR
    00637                                                                                                      00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
341 IRIZARRY VALENTIN,            06/25/18   Commonwealth of Puerto         81152              Undetermined* IRIZARRY VALENTIN,      06/25/18   Commonwealth of Puerto    90690        Undetermined*
    CARMEN                                   Rico                                                            CARMEN                             Rico
    JARDINES DE DORADO                       17 BK 03283-LTS                                                 JARDINES DE DORADO                 17 BK 03283-LTS
    B 1 CALLE 9                                                                                              B1 CALLE JAZMINES
    DORADO, PR 00646                                                                                         DORADO, PR 00646

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
342 J R INDUSTRIAL                05/29/18   Commonwealth of Puerto         18159                 $ 13,157.00 J R INDUSTRIAL         05/29/18   Commonwealth of Puerto    35424           $ 13,157.00
    CONTRACTOR INC                           Rico                                                             CONTRACTOR INC                    Rico
    PO BOX 10490                             17 BK 03283-LTS                                                  PO BOX 10490                      17 BK 03283-LTS
    PONCE, PR 00732-0490                                                                                      PONCE, PR 00732-0490

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
343 J.G.V.R.                      06/29/18   Commonwealth of Puerto         75867              Undetermined* J.G.V.R.                06/29/18   Commonwealth of Puerto    80596        Undetermined*
    LISSY A RONDA MEJIAS                     Rico                                                            LISSY A. RONDA MEJIAS              Rico
    PO BOX 1712                              17 BK 03283-LTS                                                 PO BOX 1712                        17 BK 03283-LTS
    LAJAS, PR 00667                                                                                          LAJAS, PR 00667

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 66 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
344 J.J.C.R.                      06/28/18   Commonwealth of Puerto         70229              Undetermined* J.J.C.R.                06/29/18   Commonwealth of Puerto    75932        Undetermined*
    QUETSY D. RUIZ LOPEZ                     Rico                                                            QUETSY D. RUIZ LOPEZ               Rico
    PARCELA PUNTA                            17 BK 03283-LTS                                                 PARCELAS PUNTA                     17 BK 03283-LTS
    PALMA                                                                                                    PALMA
    CALLE PLAYERO #137                                                                                       CALLE PLAYERO #137
    BARCELONETA, PR                                                                                          BARCELONETA, PR
    00617                                                                                                    00617

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
345 JAPP, THEODORE LEE            03/08/18   Commonwealth of Puerto           892                 $ 20,000.00 JAPP, THEODORE LEE     03/09/18   Commonwealth of Puerto    1154            $ 20,000.00
    AND LORI LYN                             Rico                                                             AND LORI LYN                      Rico
    13514 CO ROAD P30                        17 BK 03283-LTS                                                  13514 CO ROAD P30                 17 BK 03283-LTS
    BLAIR, NE 68008                                                                                           BLAIR, NE 68008

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
346 JARVIS RIVERA, GLORIA         05/11/18   Commonwealth of Puerto         10318              Undetermined* JARVIS RIVERA, GLORIA   05/11/18   Commonwealth of Puerto    10472        Undetermined*
    APTO. G-4 BUZON 85                       Rico                                                            COOP ROLLING HILLS                 Rico
    COOP. ROLLING HI                         17 BK 03283-LTS                                                 BUZON 85                           17 BK 03283-LTS
    CAROLINA, PR 00987                                                                                       CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
347 JARVIS RIVERA, GLORIA         05/09/18   Commonwealth of Puerto         12705              Undetermined* JARVIS RIVERA, GLORIA   05/11/18   Commonwealth of Puerto    10472        Undetermined*
    APTO. G-4 BUZON 85                       Rico                                                            COOP ROLLING HILLS                 Rico
    COOP. ROLLING HI                         17 BK 03283-LTS                                                 BUZON 85                           17 BK 03283-LTS
    CAROLINA, PR 00987                                                                                       CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
348 JARVIS RIVERA, GLORIA         05/09/18   Commonwealth of Puerto         12731              Undetermined* JARVIS RIVERA, GLORIA   05/11/18   Commonwealth of Puerto    10472        Undetermined*
    COOP ROLLING HILLS                       Rico                                                            COOP ROLLING HILLS                 Rico
    BUZON 85                                 17 BK 03283-LTS                                                 BUZON 85                           17 BK 03283-LTS
    CAROLINA, PR 00987                                                                                       CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
349 JIMENEZ ACEVEDO,              05/25/18   Commonwealth of Puerto         19069              Undetermined* JIMENEZ ACEVEDO,        05/30/18   Commonwealth of Puerto    41739        Undetermined*
    IVETTE M                                 Rico                                                            IVETTE M                           Rico
    HC 57 BOX 12063                          17 BK 03283-LTS                                                 HC 57 BOX 12063                    17 BK 03283-LTS
    AGUADA, PR 00602                                                                                         AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 67 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                              Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
350 JIMENEZ ACEVEDO,              05/29/18   Commonwealth of Puerto         32546              Undetermined* JIMENEZ ACEVEDO,         05/30/18   Commonwealth of Puerto    41739        Undetermined*
    IVETTE M                                 Rico                                                            IVETTE M                            Rico
    HC 57 BOX 12063                          17 BK 03283-LTS                                                 HC 57 BOX 12063                     17 BK 03283-LTS
    AGUADA, PR 00602                                                                                         AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
351 JIMENEZ DE JESUS,             05/24/18   Commonwealth of Puerto         22306              Undetermined* JIMENEZ DE JESUS,        05/18/18   Commonwealth of Puerto    39215        Undetermined*
    RUTH                                     Rico                                                            RUTH                                Rico
    AMERICAN CIVIL                           17 BK 03283-LTS                                                 AMERICAN CIVIL                      17 BK 03283-LTS
    LIBERTIES UNION OF                                                                                       LIBERTIES UNION OF
    PUERTO RICO                                                                                              PUERTO RICO
    UNION PLAZA, SUITE                                                                                       UNION PLAZA, SUITE
    1105                                                                                                     1105
    416 AVE. PONCE DE                                                                                        416 AVE. PONCE DE
    LEON                                                                                                     LEON
    SAN JUAN, PR 00918                                                                                       SAN JUAN, PR 00918

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
352 JIMENEZ JIMENEZ,              06/29/18   Commonwealth of Puerto         70672              Undetermined* JIMENEZ JIMENEZ,         07/06/18   Commonwealth of Puerto    151557       Undetermined*
    AMARILIS                                 Rico                                                            AMARILIS                            Rico
    HC06 BOX 65203                           17 BK 03283-LTS                                                 HC06 BOX 65203                      17 BK 03283-LTS
    CAMUY, PR 00627                                                                                          CAMUY, PR 00627

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
353 JIMENEZ PIMENTEL,             07/06/18   Commonwealth of Puerto         113666             Undetermined* JIMENEZ PIMENTEL,        07/06/18   Commonwealth of Puerto    158895       Undetermined*
    IVIS I.                                  Rico                                                            IVIS I.                             Rico
    PO BOX 141161                            17 BK 03283-LTS                                                 PO BOX 141161                       17 BK 03283-LTS
    ARECIBO, PR 00614-1161                                                                                   ARECIBO, PR 00614-1161

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
354 JIMENEZ TOLENTINO,            05/23/18   Commonwealth of Puerto         27942              Undetermined* JIMENEZ TOLENTINO,       05/23/18   Commonwealth of Puerto    32584        Undetermined*
    MINERVA                                  Rico                                                            MINERVA                             Rico
    VILLA UNIVERSITARIA                      17 BK 03283-LTS                                                 VILLA UNIVERSITARIA                 17 BK 03283-LTS
    C/6 C-10                                                                                                 C 10 CALLE 6
    HUMACAO, PR 00791                                                                                        HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 68 of 96
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
355 JORDAN COLON, DIANA          07/09/18   Commonwealth of Puerto         103867             Undetermined* JORDAN COLON, DIANA     07/09/18   Commonwealth of Puerto    166574       Undetermined*
    C.                                      Rico                                                            C.                                 Rico
    105 CAMINO LOS                          17 BK 03283-LTS                                                 105 CAMINO LOS                     17 BK 03283-LTS
    GARCIA ARECIBO                                                                                          GARCIA
    ARECIBO, PR 00610                                                                                       ARECIBO, PR 00610

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
356 JORGE PAGAN, GLENDA          06/06/18   Commonwealth of Puerto         58132              Undetermined* JORGE PAGAN, GLENDA     06/06/18   Commonwealth of Puerto    73977        Undetermined*
    I                                       Rico                                                            I                                  Rico
    COND LAGOS DEL                          17 BK 03283-LTS                                                 COND LAGOS DEL                     17 BK 03283-LTS
    NORTE                                                                                                   NORTE
    APTO. 1603                                                                                              APTO. 1603
    LEVITTOWN, PR 00950                                                                                     LEVITTOWN, PR 00950

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
357 JORGE PAGAN, GLENDA          06/06/18   Commonwealth of Puerto         61686              Undetermined* JORGE PAGAN, GLENDA     06/06/18   Commonwealth of Puerto    69188        Undetermined*
    I                                       Rico                                                            I                                  Rico
    COND LAGOS DEL                          17 BK 03283-LTS                                                 COND LAGOS DEL                     17 BK 03283-LTS
    NORTE                                                                                                   NORTE
    APTO. 1603                                                                                              APTO. 1603
    LEVITTOWN, PR 00950                                                                                     LEVITTOWN, PR 00950

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
358 JORGE PAGAN, GLENDA          06/06/18   Commonwealth of Puerto         61802                   $ 1,552.35 JORGE PAGAN, GLENDA   06/06/18   Commonwealth of Puerto    65910            $ 1,552.35
    I                                       Rico                                                              I                                Rico
    COND LAGOS DEL                          17 BK 03283-LTS                                                   COND LAGOS DEL                   17 BK 03283-LTS
    NORTE                                                                                                     NORTE
    APTO. 1603                                                                                                APTO. 1603
    LEVITTOWN, PR 00950                                                                                       LEVITTOWN, PR 00950

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
359 JORGE PAGAN, GLENDA          06/06/18   Commonwealth of Puerto         65929              Undetermined* JORGE PAGAN, GLENDA     06/06/18   Commonwealth of Puerto    71958        Undetermined*
    I                                       Rico                                                            I                                  Rico
    COND LAGOS DEL                          17 BK 03283-LTS                                                 COND LAGOS DEL                     17 BK 03283-LTS
    NORTE                                                                                                   NORTE
    APTO. 1603                                                                                              APTO. 1603
    LEVITTOWN, PR 00950                                                                                     LEVITTOWN, PR 00950

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 69 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                      REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                           DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                  NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
360 JORGE PAGAN, GLENDA           06/06/18   Commonwealth of Puerto         67210              Undetermined* JORGE PAGAN, GLENDA         06/06/18   Commonwealth of Puerto    73977        Undetermined*
    I                                        Rico                                                            I                                      Rico
    COND LAGOS DEL                           17 BK 03283-LTS                                                 COND LAGOS DEL                         17 BK 03283-LTS
    NORTE                                                                                                    NORTE
    APTO. 1603                                                                                               APTO. 1603
    LEVITTOWN, PR 00950                                                                                      LEVITTOWN, PR 00950

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
361 JUAN ESTEVES MASSO            06/29/18   Commonwealth of Puerto         140824             Undetermined* JUAN ESTEVES MASSO          06/29/18   Commonwealth of Puerto    163659       Undetermined*
    URB VISTA MAR                            Rico                                                            URB VISTA MAR                          Rico
    1018 CALLE NAVARRA                       17 BK 03283-LTS                                                 1018 CALLE NAVARRA                     17 BK 03283-LTS
    CAROLINA, PR 00983                                                                                       CAROLINA, PR 00983

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
362 JUAN PÉREZ-COLÓN ET           05/25/18   Commonwealth of Puerto         25478               $ 2,435,987.21 JUAN PÉREZ-COLÓN ET       05/31/18   Commonwealth of Puerto    30851        $ 2,435,987.21
    AL (324 PLAINTIFFS)                      Rico                                                              AL (324 PLAINTIFFS)                  Rico
    COLLECTIVELY (THE                        17 BK 03283-LTS                                                   COLLECTIVELY (THE                    17 BK 03283-LTS
    "PÉREZ-COLÓN                                                                                               "PÉREZ-COLÓN
    PLAINTIFF GROUP")                                                                                          PLAINTIFF GROUP")
    CIVIL CASE NUM. K                                                                                          CIVIL CASE NUM. K
    AC1990-0487                                                                                                AC1990-0487
    LCDA. IVONNE                                                                                               LCDA. IVONNE
    GONZÁLEZ-MORALES                                                                                           GONZÁLEZ-MORALES
    PO BOX 9021828                                                                                             PO BOX 9021828
    SAN JUAN, PR 00902-1828                                                                                    SAN JUAN, PR 00902-1828

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
363 JUSINO MORALES,               05/04/18   Commonwealth of Puerto          8783              Undetermined* JUSINO MORALES,             05/04/18   Commonwealth of Puerto    10512        Undetermined*
    NOREEN                                   Rico                                                            NOREEN                                 Rico
    2DA EXT EL VALLE                         17 BK 03283-LTS                                                 2DA EXT EL VALLE                       17 BK 03283-LTS
    530 CALLE GIRASOL                                                                                        530 CALLE GIRASOL
    LAJAS, PR 00667                                                                                          LAJAS, PR 00662

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 70 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                  NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
364 JUSINO RIVERA, MARI           07/06/18   Commonwealth of Puerto         149006             Undetermined* JUSINO RIVERA, MARI        07/06/18   Commonwealth of Puerto    149322       Undetermined*
    OLGA                                     Rico                                                            OLGA                                  Rico
    URB. ESTANCIAS DEL                       17 BK 03283-LTS                                                 URB. ESTANCIES DEL                    17 BK 03283-LTS
    RIO                                                                                                      RIO GIRASOL
    CALLE GIRASOL 2164                                                                                       SABONA GRANDE, PR
    SABANA GRANDE, PR                                                                                        00673-7164
    00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
365 JUSINO RIVERA,                07/06/18   Commonwealth of Puerto         103987             Undetermined* JUSINO RIVERA,             07/06/18   Commonwealth of Puerto    166064       Undetermined*
    MARIOLGA                                 Rico                                                            MARIOLGA                              Rico
    URB ESTONGES DEL RIO                     17 BK 03283-LTS                                                 URB ESTANCIAS DEL                     17 BK 03283-LTS
    CALLE GIRASEE 2164                                                                                       RIO
    SABANA GRANDE, PR                                                                                        CALLE GIRASOL 2164
    00637                                                                                                    SABANA GRANDE, PR
                                                                                                             00673

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
366 KANOSO AUTO SALES             12/21/17   Commonwealth of Puerto           356               $ 301,903.89* KANOSO AUTO SALES         12/21/17   Commonwealth of Puerto     374           $ 301,903.89
    INC                                      Rico                                                             INC                                  Rico
    PO BOX 1446                              17 BK 03283-LTS                                                  PO BOX 1446                          17 BK 03283-LTS
    SAN GERMAN, PR 00683                                                                                      SAN GERMAN, PR 00683

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
367 KEVANE GRANT                  05/25/18   Commonwealth of Puerto         21555                 $ 20,957.50 KEVANE GRANT              05/25/18   Commonwealth of Puerto    22137           $ 20,957.50
    THORNTON LLP                             Rico                                                             THORNTON LLP                         Rico
    33 CALLE BOLIVIA,                        17 BK 03283-LTS                                                  33 CALLE BOLIVIA,                    17 BK 03283-LTS
    SUITE 400                                                                                                 SUITE 400
    SAN JUAN, PR 00917-2013                                                                                   SAN JUAN, PR 00917-2013

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
368 KORTRIGHT                     03/09/18   Commonwealth of Puerto          1754                       $ 613.00 KORTRIGHT              03/09/18   Commonwealth of Puerto    2275              $ 613.00
    SANTAELLA, RAFAEL                        Rico                                                                SANTAELLA, RAFAEL                 Rico
    URB IDAMARIS                             17 BK 03283-LTS                                                     URB IDAMARIS                      17 BK 03283-LTS
    GARDENS                                                                                                      GARDENS
    54 CALLE BENITO                                                                                              54 CALLE BENITO
    RODRIGUEZ                                                                                                    RODRIGUEZ
    CAGUAS, PR 00727                                                                                             CAGUAS, PR 00727

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 71 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
369 L.P.S.C.                      06/28/18   Commonwealth of Puerto         72077              Undetermined* L.P.S.C.              06/28/18   Commonwealth of Puerto    72495        Undetermined*
    AGNNA DEL PILAR                          Rico                                                            AGNNA DEL PILAR                  Rico
    CARABALLO                                17 BK 03283-LTS                                                 CARABALLO                        17 BK 03283-LTS
    URB. BUENAVENTURA                                                                                        URB. BUENAVENTURA
    CALLE PASCUA #9037                                                                                       CALLE PASCUA #9037
    MAYAGUEZ, PR 00682                                                                                       MAYAGUEZ, PR 00682

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
370 LABOY APONTE, ANGEL           07/05/18   Commonwealth of Puerto         155522             Undetermined* LABOY APONTE, ANGEL   07/05/18   Commonwealth of Puerto    167695       Undetermined*
    M                                        Rico                                                            M                                Rico
    HC 02 BOX 11233                          17 BK 03283-LTS                                                 HC-02, BOX 11233                 17 BK 03283-LTS
    HUMACAO, PR 00791-                                                                                       HUMACAO, PR 00791-
    9317                                                                                                     9317

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
371 LABOY ARCE, ANEIDA            06/27/18   Commonwealth of Puerto         52814              Undetermined* LABOY ARCE, ANEIDA    06/28/18   Commonwealth of Puerto    104490       Undetermined*
    CALLE JOHN F.                            Rico                                                            CALLE JOHN F.                    Rico
    KENNEDY #18                              17 BK 03283-LTS                                                 KENNEDY #18                      17 BK 03283-LTS
    ADJUNTAS, PR 00601                                                                                       ADJUNTAS, PR 00601

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
372 LABOY NAZARIO,                06/25/18   Commonwealth of Puerto         76690              Undetermined* LABOY NAZARIO,        06/25/18   Commonwealth of Puerto    99142        Undetermined*
    MYRNA                                    Rico                                                            MYRNA                            Rico
    PO BOX 8556                              17 BK 03283-LTS                                                 PO BOX 8556                      17 BK 03283-LTS
    PONCE, PR 00732                                                                                          PONCE, PR 00732

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
373 LABOY PAGAN,                  05/25/18   Commonwealth of Puerto         20272              Undetermined* LABOY PAGAN,          05/25/18   Commonwealth of Puerto    22024        Undetermined*
    AWILDA                                   Rico                                                            AWILDA                           Rico
    P O BOX 84                               17 BK 03283-LTS                                                 PO BOX 84                        17 BK 03283-LTS
    YABUCOA, PR 00767                                                                                        YABUCOA, PR 00767

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 72 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                              REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                   DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME         FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
374 LABOY PAGAN,                  05/25/18   Commonwealth of Puerto         21464              Undetermined* LABOY PAGAN,        05/25/18   Commonwealth of Puerto    22024        Undetermined*
    AWILDA                                   Rico                                                            AWILDA                         Rico
    URB SENDEROS DE                          17 BK 03283-LTS                                                 PO BOX 84                      17 BK 03283-LTS
    JUNCOS                                                                                                   YABUCOA, PR 00767
    131 CALLE LIMA
    JUNCOS, PR 00777-7613

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
375 LABOY REYES,                  06/29/18   Commonwealth of Puerto         112938             Undetermined* LABOY REYES,        06/29/18   Commonwealth of Puerto    167372       Undetermined*
    HERIBERTO                                Rico                                                            HERIBERTO                      Rico
    HC 04 BOX 4247                           17 BK 03283-LTS                                                 BO. PASTO VIEJO                17 BK 03283-LTS
    HUMACAO, PR 00791                                                                                        HC-04 BOX 4425
                                                                                                             HUMACAO, PR 00791

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
376 LABOY ROSA,                   06/27/18   Commonwealth of Puerto         108649             Undetermined* LABOY ROSA,         06/27/18   Commonwealth of Puerto    118588       Undetermined*
    BETZAIDA                                 Rico                                                            BETZAIDA                       Rico
    HC 1 BOX 6046                            17 BK 03283-LTS                                                 HC 1 BOX 6046                  17 BK 03283-LTS
    GURABO, PR 00778                                                                                         GURABO, PR 00778

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
377 LABOY ROSA,                   06/27/18   Commonwealth of Puerto         108935             Undetermined* LABOY ROSA,         06/27/18   Commonwealth of Puerto    118588       Undetermined*
    BETZAIDA                                 Rico                                                            BETZAIDA                       Rico
    HC 1 BOX 6046                            17 BK 03283-LTS                                                 HC 1 BOX 6046                  17 BK 03283-LTS
    GURABO, PR 00778                                                                                         GURABO, PR 00778

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
378 LAMOURT CARDONA,              06/27/18   Commonwealth of Puerto         106317             Undetermined* LAMOURT CARDONA,    06/21/18   Commonwealth of Puerto    149604       Undetermined*
    GLADYS                                   Rico                                                            GLADYS                         Rico
    HC-3 BOX 36939                           17 BK 03283-LTS                                                 HC03 BOX 36939                 17 BK 03283-LTS
    SAN SEBASTIAN, PR                                                                                        SAN SEBASTIAN, PR
    00685                                                                                                    00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                    Page 73 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
379 LARACUENTE                    06/26/18   Commonwealth of Puerto         124237             Undetermined* LARACUENTE               06/27/18   Commonwealth of Puerto    100500       Undetermined*
    SANCHEZ, NYDIA                           Rico                                                            SANCHEZ, NYDIA                      Rico
    URB. VALLE ALTO 1812                     17 BK 03283-LTS                                                 URB. VALLE ALTO                     17 BK 03283-LTS
    C/LLANURA                                                                                                1812 CALLE LLANURA
    PONCE, PR 00730                                                                                          PONCE, PR 00730-4144

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
380 LARACUENTE, TANNIA            05/25/18   Commonwealth of Puerto         20696                   $ 8,262.00 LARACUENTE, TANNIA     05/29/18   Commonwealth of Puerto    38344            $ 8,262.00
    4120 SW 82 ND CT                         Rico                                                              4120 SW 82 ND CT                  Rico
    MIAMI, FL 33155-4249                     17 BK 03283-LTS                                                   MIAMI, FL 33155-4249              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
381 LARRAGOITY                    05/25/18   Commonwealth of Puerto         32867              Undetermined* LARRAGOITY               05/25/18   Commonwealth of Puerto    33216        Undetermined*
    MURIENTE, LAURA                          Rico                                                            MURIENTE, LAURA                     Rico
    C/LISA AM-19 URB.                        17 BK 03283-LTS                                                 500 ROBERTO H.TODD                  17 BK 03283-LTS
    LEVITTOW 4TA SECC.                                                                                       PO BOX 8000
    TOA BAJA, PR 00949                                                                                       SANTURCE, PR 00910

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
382 LATORRE ALVARADO,             06/27/18   Commonwealth of Puerto         55724                 $ 12,000.00 LATORRE ALVARADO,       06/28/18   Commonwealth of Puerto    67882           $ 12,000.00
    LOURDES                                  Rico                                                             LOURDES                            Rico
    PO BOX 1504                              17 BK 03283-LTS                                                  BO SALTOS COLI                     17 BK 03283-LTS
    OROCOVIS, PR 00720                                                                                        PO BOX 1504
                                                                                                              OROCOVIS, PR 00720-
                                                                                                              1504

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
383 LAUREANO GARCIA,              06/27/18   Commonwealth of Puerto         102500             Undetermined* LAUREANO GARCIA,         06/27/18   Commonwealth of Puerto    111017       Undetermined*
    JOSE                                     Rico                                                            JOSE                                Rico
    RR-5                                     17 BK 03283-LTS                                                 RR-5                                17 BK 03283-LTS
    BOX 18693                                                                                                BOX 18693
    TOA ALTA, PR 00953-                                                                                      TOA ALTA, PR 00953-
    9218                                                                                                     9218

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 74 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                             Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
384 LAUREANO GARCIA,              06/27/18   Commonwealth of Puerto         104172             Undetermined* LAUREANO GARCIA,        06/27/18   Commonwealth of Puerto    105792       Undetermined*
    JOSE                                     Rico                                                            JOSE                               Rico
    RR-5                                     17 BK 03283-LTS                                                 RR-5                               17 BK 03283-LTS
    BOX 18693                                                                                                BOX 18693
    TOA ALTA, PR 00953-                                                                                      TOA ALTA, PR 00953-
    9218                                                                                                     9218

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
385 LAUREANO                      07/02/18   Commonwealth of Puerto         100058                $ 75,000.00 LAUREANO               07/02/18   Commonwealth of Puerto    108053          $ 75,000.00
    MONTALVO, PEDRO                          Rico                                                             MONTALVO, PEDRO                   Rico
    JUAN                                     17 BK 03283-LTS                                                  JUAN                              17 BK 03283-LTS
    P.O. BOX 27                                                                                               P.O. BOX - 27
    COMERIO, PR 00782                                                                                         COMERIO, PR 00782

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
386 LEBRON PEREZ, GRACE           06/29/18   Commonwealth of Puerto         80545              Undetermined* LEBRON PEREZ, GRACE     07/06/18   Commonwealth of Puerto    156473       Undetermined*
    M.                                       Rico                                                            M.                                 Rico
    VILLA DE SAN                             17 BK 03283-LTS                                                 CALLE CAOBA #390                   17 BK 03283-LTS
    CRISTOBAL II CALLE                                                                                       VILLAS DE SAN
    CAOBA #390                                                                                               CRISTOBAL
    LAS PIEDRAS, PR 00771                                                                                    LAS PIEDRAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
387 LEBRON RIVERA,                02/06/18   Commonwealth of Puerto           470                $ 81,859.37* LEBRON RIVERA,         02/06/18   Commonwealth of Puerto     472            $ 81,859.37
    FRANCES MIRIAM                           Rico                                                             FRANCES MIRIAM                    Rico
    410 INGENIO URB.                         17 BK 03283-LTS                                                  410 INGENIO URB.                  17 BK 03283-LTS
    PALACIOS DEL RIO 1                                                                                        PALACIOS DEL RIO 1
    TOA ALTA, PR 00953                                                                                        TOA ALTA, PR 00953

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
388 LECLERC CINTRON,              05/28/18   Commonwealth of Puerto         24735              Undetermined* LECLERC CINTRON,        05/28/18   Commonwealth of Puerto    24848        Undetermined*
    RUBEN                                    Rico                                                            RUBEN                              Rico
    C/ JR GARCIA C-19                        17 BK 03283-LTS                                                 C/ JR GARCIA C-19                  17 BK 03283-LTS
    URB. BRISAS DE                                                                                           URB BRISAS DE
    HATILLO                                                                                                  HATILLO
    HATILLO, PR 00659                                                                                        HATILLO, PR 00659

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 75 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                              Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME              FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
389 LEDEE COLON, AIDA L           06/06/18   Commonwealth of Puerto         52626              Undetermined* LEDEE COLON, AIDA L      06/06/18   Commonwealth of Puerto    71004        Undetermined*
    URB HACIENDA LOS                         Rico                                                            URB HACIENDA LOS                    Rico
    RECREOS K-8                              17 BK 03283-LTS                                                 RECREOS                             17 BK 03283-LTS
    119 CALLE ALEGRIA                                                                                        CALLE ALEGRIA 199
    GUAYAMA, PR 00784                                                                                        GUAYAMA, PR 00784

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
390 LEHMAN BROTHERS               05/25/18   Commonwealth of Puerto         32037            $ 15,972,584.85* LEHMAN BROTHERS         05/29/18   Commonwealth of Puerto    32224       $ 15,972,584.85*
    SPECIAL FINANCING                        Rico                                                             SPECIAL FINANCING                  Rico
    INC.                                     17 BK 03283-LTS                                                  INC.                               17 BK 03283-LTS
    ATTN: ABHISEK KALRA                                                                                       LEHMAN BROTHERS
    277 PARK AVENUE, 46TH                                                                                     HOLDINGS INC.
    FLOOR                                                                                                     ATTN: KRISTINE
    NEW YORK, NY 10172                                                                                        DICKSON & ABHISHEK
                                                                                                              KALRA
                                                                                                              277 PARK AVENUE, 46TH
                                                                                                              FLOOR
                                                                                                              NEW YORK, NY 10172

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
391 LEON GIRAU, LUIS              05/09/18   Commonwealth of Puerto         13114               $ 400,000.00* LEON GIRAU, LUIS        05/09/18   Commonwealth of Puerto    13148         $ 400,000.00*
    MANUEL PORRO                             Rico                                                             LCDO. MANUEL PORRO                 Rico
    VIZCARRA                                 17 BK 03283-LTS                                                  VIZCARRA                           17 BK 03283-LTS
    CAPARRA HEIGHTS 382                                                                                       CAPARRA HEIGHTS
    AVE ESCORIAL                                                                                              382 AVE ESCORIAL
    SAN JUAN, PR 00920                                                                                        SAN JUAN, PR 00920

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
392 LEON RODRIGUEZ,               05/15/18   Commonwealth of Puerto         12540            $ 23,910,997.80* LEON RODRIGUEZ,         05/16/18   Commonwealth of Puerto    15780       $ 23,910,997.80*
    EDDIE                                    Rico                                                             EDDIE                              Rico
    8 CALLE ANTONIO R                        17 BK 03283-LTS                                                  8 CALLE ANTONIO R                  17 BK 03283-LTS
    BARCELO                                                                                                   BARCELO
    MAUNABO, PR 00707-                                                                                        MAUNABO, PR 00707
    2109

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 76 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                   NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
393 LEON RODRIGUEZ,               05/15/18   Commonwealth of Puerto         15469            $ 23,910,997.80* LEON RODRIGUEZ,          05/16/18   Commonwealth of Puerto    15780       $ 23,910,997.80*
    EDDIE                                    Rico                                                             EDDIE                               Rico
    CALLE ANTONIO R.                         17 BK 03283-LTS                                                  8 CALLE ANTONIO R                   17 BK 03283-LTS
    BARCELO #8                                                                                                BARCELO
    MAUNABO, PR 00707                                                                                         MAUNABO, PR 00707

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
394 LLANOS LLANOS, OLGA           06/29/18   Commonwealth of Puerto         163322             Undetermined* LLANOS LLANOS, OLGA       06/29/18   Commonwealth of Puerto    167760       Undetermined*
    M.                                       Rico                                                            M                                    Rico
    P.O. BOX 5191                            17 BK 03283-LTS                                                 PO BOX 5191                          17 BK 03283-LTS
    CAROLINA, PR 00984                                                                                       CAROLINA, PR 00984

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
395 LLERAS RIOS, ENRIQUE          06/01/18   Commonwealth of Puerto         30126               $ 150,000.00* LLERAS RIOS, ENRIQUE     06/01/18   Commonwealth of Puerto    30869         $ 150,000.00*
    JOSE                                     Rico                                                             JOSE                                Rico
    CHRISTIE E. RIVERA                       17 BK 03283-LTS                                                  PO BOX 1188                         17 BK 03283-LTS
    RIVERA                                                                                                    COAMO, PR 00769
    PO BOX 1188
    COAMO, PR 00769

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
396 LOMBA RODRIGUEZ,              06/25/18   Commonwealth of Puerto         41679                 $ 20,000.00 LOMBA RODRIGUEZ,         06/27/18   Commonwealth of Puerto    54518           $ 20,000.00*
    EUGENIO                                  Rico                                                             EUGENIO                             Rico
    PO BOX 27                                17 BK 03283-LTS                                                  PO BOX 27                           17 BK 03283-LTS
    VEGA BAJA, PR 00694                                                                                       VEGA BAJA, PR 00694

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
397 LOPEZ BARRETO,                05/28/18   Commonwealth of Puerto         21575                       $ 754.00 LOPEZ BARRETO,        05/28/18   Commonwealth of Puerto    21739               $ 754.00
    AMARILYS                                 Rico                                                                AMARILYS                         Rico
    114 LEMAY RAMEY                          17 BK 03283-LTS                                                     114 LEMAY RAMEY                  17 BK 03283-LTS
    AGUADILLA, PR 00603                                                                                          AGUADILLA, PR 00603

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
398 LOPEZ BELEN,                  06/27/18   Commonwealth of Puerto         52393              Undetermined* LOPEZ BELEN,              06/28/18   Commonwealth of Puerto    62625        Undetermined*
    BENJAMIN                                 Rico                                                            BENJAMIN                             Rico
    HC-01 BOX 4739                           17 BK 03283-LTS                                                 HC-01 BOX 4739                       17 BK 03283-LTS
    LAJAS, PR 00667-9032                                                                                     LAJAS, PR 00667-9032

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 77 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                            Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
399 LOPEZ BELEN, MARIBEL          06/27/18   Commonwealth of Puerto         54055              Undetermined* LOPEZ BELEN, MARIBEL   07/03/18   Commonwealth of Puerto    89405        Undetermined*
    HC-01 BOX 4739                           Rico                                                            HC-01 BOX 4739                    Rico
    LAJAS, PR 00667-9032                     17 BK 03283-LTS                                                 LAJAS, PR 00667-9032              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
400 LOPEZ BERRIOS, WILMA          06/29/18   Commonwealth of Puerto         86898              Undetermined* LOPEZ BERRIOS, WILMA   06/29/18   Commonwealth of Puerto    142919       Undetermined*
    Y                                        Rico                                                            Y                                 Rico
    RR04 BOX 4225                            17 BK 03283-LTS                                                 RR-04 BOX 4225                    17 BK 03283-LTS
    CIDRA, PR 00739                                                                                          CIDRA, PR 00739

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
401 LOPEZ BULTRON,                06/27/18   Commonwealth of Puerto         105153             Undetermined* LOPEZ BULTRON,         06/28/18   Commonwealth of Puerto    63035        Undetermined*
    LEYDA M                                  Rico                                                            LEYDA M                           Rico
    URB. EDUARDO J.                          17 BK 03283-LTS                                                 E-31 RAMON QUINONES               17 BK 03283-LTS
    SALDANA                                                                                                  URB. EDUARDO J.
    E-31 RAMON QUINONES                                                                                      SALDANA
    CAROLINA, PR 00983                                                                                       CAROLINA, PR 00983

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
402 LOPEZ BURGOS, EMMA            06/29/18   Commonwealth of Puerto         131058             Undetermined* LOPEZ BURGOS, EMMA     06/29/18   Commonwealth of Puerto    140704       Undetermined*
    HC-1 BOX 9013                            Rico                                                            HC-1 BOX 9013                     Rico
    TOA BAJA, PR 00949                       17 BK 03283-LTS                                                 TOA BAJA, PR 00949                17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
403 LOPEZ CABASSA,                07/06/18   Commonwealth of Puerto         107835             Undetermined* LOPEZ CABASSA,         07/06/18   Commonwealth of Puerto    160269       Undetermined*
    SWANILDA                                 Rico                                                            SWANILDA                          Rico
    #303, ONIX, URB. VILLA                   17 BK 03283-LTS                                                 #303 ONIX                         17 BK 03283-LTS
    LUISA                                                                                                    URB. VILLA LUISA
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
404 LOPEZ CABASSA,                07/06/18   Commonwealth of Puerto         127439             Undetermined* LOPEZ CABASSA,         07/06/18   Commonwealth of Puerto    159253       Undetermined*
    SWANILDA                                 Rico                                                            SWANILDA                          Rico
    URB VILLA LUISA                          17 BK 03283-LTS                                                 URB VILLA LUISA                   17 BK 03283-LTS
    303 CALLE ONIX                                                                                           303 CALLE ONIX
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 78 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
405 LOPEZ CABASSA,                07/06/18   Commonwealth of Puerto         149187             Undetermined* LOPEZ CABASSA,           07/06/18   Commonwealth of Puerto    159649       Undetermined*
    SWANILDA                                 Rico                                                            SWANILDA                            Rico
    URB VILLA LUISA                          17 BK 03283-LTS                                                 # 303 ONIX URB. VILLA               17 BK 03283-LTS
    303 CALLE ONIX                                                                                           LUISA
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
406 LOPEZ CABASSA,                07/06/18   Commonwealth of Puerto         152514             Undetermined* LOPEZ CABASSA,           07/06/18   Commonwealth of Puerto    159647       Undetermined*
    SWANILDA                                 Rico                                                            SWANILDA                            Rico
    #303 ONIX, URB. VILLA                    17 BK 03283-LTS                                                 #303, ONIX, URB. VILLA              17 BK 03283-LTS
    LUISA                                                                                                    LUISA
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
407 LOPEZ CALDERON, EMY           06/28/18   Commonwealth of Puerto         80200              Undetermined* LOPEZ CALDERON, EMY      06/28/18   Commonwealth of Puerto    117476       Undetermined*
    B.                                       Rico                                                            B.                                  Rico
    HC-01 BOX 7128                           17 BK 03283-LTS                                                 HC-01 BOX 7128                      17 BK 03283-LTS
    AGUAS BUENAS, PR                                                                                         AGUAS BUENAS, PR
    00703                                                                                                    00703

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
408 LOPEZ CALDERON, EMY           06/28/18   Commonwealth of Puerto         105234             Undetermined* LOPEZ CALDERON, EMY      06/28/18   Commonwealth of Puerto    117476       Undetermined*
    B.                                       Rico                                                            B.                                  Rico
    HC-01 BOX 7128                           17 BK 03283-LTS                                                 HC-01 BOX 7128                      17 BK 03283-LTS
    AGUAS BUENAS, PR                                                                                         AGUAS BUENAS, PR
    00703                                                                                                    00703

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
409 LOPEZ CALDERON, EMY           06/28/18   Commonwealth of Puerto         113965             Undetermined* LOPEZ CALDERON, EMY      06/28/18   Commonwealth of Puerto    117476       Undetermined*
    B.                                       Rico                                                            B.                                  Rico
    HC01 BOX 7128                            17 BK 03283-LTS                                                 HC-01 BOX 7128                      17 BK 03283-LTS
    AGUAS BUENAS, PR                                                                                         AGUAS BUENAS, PR
    00703                                                                                                    00703

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 79 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
410 LOPEZ CARABALLO,              06/26/18   Commonwealth of Puerto         41964              Undetermined* LOPEZ CARABALLO,        06/28/18   Commonwealth of Puerto    148341       Undetermined*
    HECTOR E.                                Rico                                                            HECTOR E.                          Rico
    CALLE VILLA TAINA 126                    17 BK 03283-LTS                                                 CALLE VILLA TAINA 126              17 BK 03283-LTS
    BO SUSUA BAJA                                                                                            BIO SUSUA BAJA
    YAUCO, PR 00698                                                                                          YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
411 LOPEZ CARABALLO,              06/25/18   Commonwealth of Puerto         40655              Undetermined* LOPEZ CARABALLO,        06/28/18   Commonwealth of Puerto    151455       Undetermined*
    RUTH D.                                  Rico                                                            RUTH D.                            Rico
    URB. COSTA SUR A-19                      17 BK 03283-LTS                                                 URB. COSTA SUR A-19,               17 BK 03283-LTS
    CALLE B                                                                                                  CALLE B
    YAUCO, PR 00698                                                                                          YAUCO, PR 00698

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
412 LOPEZ CHANZA,                 06/27/18   Commonwealth of Puerto         95022              Undetermined* LOPEZ CHANZA,           06/29/18   Commonwealth of Puerto    108451       Undetermined*
    NEREIDA                                  Rico                                                            NEREIDA                            Rico
    BOX 199 ANGELES                          17 BK 03283-LTS                                                 PO BOX 199                         17 BK 03283-LTS
    ANGELES, PR 00611                                                                                        ANGELES, PR 00611

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
413 LOPEZ COLON,                  06/26/18   Commonwealth of Puerto         84241              Undetermined* LOPEZ COLON,            06/26/18   Commonwealth of Puerto    92310        Undetermined*
    ENRIQUE                                  Rico                                                            ENRIQUE                            Rico
    P.O. BOX 933                             17 BK 03283-LTS                                                 P. O. BOX 933                      17 BK 03283-LTS
    CAGUAS, PR 00726                                                                                         CAGUAS, PR 00726

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
414 LOPEZ CRUZ, BEATRIZ           06/27/18   Commonwealth of Puerto         54998              Undetermined* LOPEZ CRUZ, BEATRIZ     06/28/18   Commonwealth of Puerto    69558        Undetermined*
    31, LOPEZ LANDRON 31,                    Rico                                                            31 LOPEZ LANDRON,                  Rico
    VILLA BORINQUEN                          17 BK 03283-LTS                                                 VILLA BORINQUEN                    17 BK 03283-LTS
    SAN JUAN, PR 00921                                                                                       SAN JUAJN, PR 00921

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
415 LOPEZ CRUZ, RAMON             06/27/18   Commonwealth of Puerto         106797             Undetermined* LOPEZ CRUZ, RAMON       06/28/18   Commonwealth of Puerto    122811       Undetermined*
                                             Rico                                                            67 CECILIA DOMINGUEZ               Rico
                                             17 BK 03283-LTS                                                 ESTE                               17 BK 03283-LTS
                                                                                                             GUAYAMA, PR 00784

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 80 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
416 LOPEZ DAVILA, OLGA L.         06/28/18   Commonwealth of Puerto         50620                 $ 20,400.00 LOPEZ DAVILA, OLGA L.   06/28/18   Commonwealth of Puerto    63167           $ 20,400.00
    URB. CIUDAD JARDIN                       Rico                                                             URB. CIUDAD JARDIN,                Rico
    ALAMO 25                                 17 BK 03283-LTS                                                  ALAMO 25                           17 BK 03283-LTS
    CANOVANAS, PR 00729                                                                                       CANOVANAS, PR 00729

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
417 LOPEZ FUENTES,                06/27/18   Commonwealth of Puerto         85328              Undetermined* LOPEZ FUENTES,           06/27/18   Commonwealth of Puerto    146376       Undetermined*
    EFRAIN                                   Rico                                                            EFRAIN                              Rico
    URB TURABO GARDENS                       17 BK 03283-LTS                                                 URB TURABO GARDENS                  17 BK 03283-LTS
    R9-13 CALLE H                                                                                            TERCERA
    CAGUAS, PR 00725-5941                                                                                    R913 CALLE H
                                                                                                             CAGUAS, PR 00727

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
418 LOPEZ GONZALEZ,               06/28/18   Commonwealth of Puerto         121454             Undetermined* LOPEZ GONZALEZ,          06/28/18   Commonwealth of Puerto    131581       Undetermined*
    DAMARIS                                  Rico                                                            DAMARIS                             Rico
    URB. EL MADRIGUL                         17 BK 03283-LTS                                                 URB. EL MADRIGAL                    17 BK 03283-LTS
    #509                                                                                                     #509 CALLE MAGNOLIA
    CALLE MAGNOLIA                                                                                           PENUELAS, PR 00624
    PENUELAS, PR 00624

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
419 LOPEZ GONZALEZ,               06/27/18   Commonwealth of Puerto         52389                $ 20,000.00* LOPEZ GONZALEZ,         06/27/18   Commonwealth of Puerto    55016          $ 20,000.00*
    EVELYN                                   Rico                                                             EVELYN                             Rico
    URB. VISTA AZUL                          17 BK 03283-LTS                                                  URB. VISTA AZUL                    17 BK 03283-LTS
    CALLE 18 P 38                                                                                             CALLE 18 P 38
    ARECIBO, PR 00612                                                                                         ARECIBO, PR 00612

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
420 LOPEZ GONZALEZ, SOL           05/08/18   Commonwealth of Puerto         12357              Undetermined* LOPEZ GONZALEZ, SOL      05/08/18   Commonwealth of Puerto    12495        Undetermined*
    E                                        Rico                                                            E                                   Rico
    URB. ESTANCIAS DEL                       17 BK 03283-LTS                                                 URB ESTANCIAS DEL                   17 BK 03283-LTS
    RIO                                                                                                      RIO
    549 CALLE PORTUGUES                                                                                      549 CALLE PORTUGUES
    HORMIGUEROS, PR                                                                                          HORMIGUEROS, PR
    00660                                                                                                    00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 81 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
421 LOPEZ GONZALEZ, SOL           05/08/18   Commonwealth of Puerto         12489              Undetermined* LOPEZ GONZALEZ, SOL     05/08/18   Commonwealth of Puerto    12495        Undetermined*
    E                                        Rico                                                            E                                  Rico
    URB ESTANCIAS DEL                        17 BK 03283-LTS                                                 URB ESTANCIAS DEL                  17 BK 03283-LTS
    RIO                                                                                                      RIO
    549 CALLE PORTUGUES                                                                                      549 CALLE PORTUGUES
    HORMIGUEROS, PR                                                                                          HORMIGUEROS, PR
    00660                                                                                                    00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
422 LOPEZ LEBRON, LUZ M           06/28/18   Commonwealth of Puerto         71035              Undetermined* LOPEZ LEBRON, LUZ M     07/03/18   Commonwealth of Puerto    112412       Undetermined*
    2249 MORRIS AVE APT                      Rico                                                            2249 MORRIS AVE APT                Rico
    A1                                       17 BK 03283-LTS                                                 A1                                 17 BK 03283-LTS
    BRONX, NY 10453                                                                                          BRONX, NY 10453

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
423 LOPEZ LOPEZ, EDNA             05/10/18   Commonwealth of Puerto         10615              Undetermined* LOPEZ LOPEZ, EDNA       05/10/18   Commonwealth of Puerto    10671        Undetermined*
    HC-4 40900                               Rico                                                            HC-4 BOX 40900                     Rico
    HATILLO, PR 00659                        17 BK 03283-LTS                                                 HATILLO, PR 00659                  17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
424 LOPEZ LOPEZ, ELBA L.          06/28/18   Commonwealth of Puerto         111505             Undetermined* LOPEZ LOPEZ, ELBA L.    06/28/18   Commonwealth of Puerto    115534       Undetermined*
    URB. LOS RODRIGUEZ                       Rico                                                            URB. LOS RODRIGUEZ                 Rico
    B-7                                      17 BK 03283-LTS                                                 B-7                                17 BK 03283-LTS
    CAMUY, PR 00627                                                                                          CAMUY, PR 00624

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
425 LOPEZ LOPEZ, ELBA L.          06/28/18   Commonwealth of Puerto         118702               $ 25,000.00* LOPEZ LOPEZ, ELBA L.   06/28/18   Commonwealth of Puerto    137830         $ 25,000.00*
    URB. LOS RODRIGUEZ                       Rico                                                             URB. LOS RODRIGUEZ                Rico
    B-7                                      17 BK 03283-LTS                                                  B-7                               17 BK 03283-LTS
    CAMUY, PR 00627                                                                                           CAMUY, PR 00627

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
426 LOPEZ LUGO, ISABEL M          05/04/18   Commonwealth of Puerto         10518              Undetermined* LOPEZ LUGO, ISABEL M    05/07/18   Commonwealth of Puerto    12199        Undetermined*
    PMB 333 P.O. BOX 1283                    Rico                                                            PMB 333 P.O. BOX 1283              Rico
    SAN LORENZO, PR 00754                    17 BK 03283-LTS                                                 SAN LORENZO, PR 00754              17 BK 03283-LTS
    -1283                                                                                                    -1283

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 82 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
427 LOPEZ MARTINEZ, ANA           06/29/18   Commonwealth of Puerto         139403             Undetermined* LOPEZ MARTINEZ, ANA   06/29/18   Commonwealth of Puerto    154501       Undetermined*
    L.                                       Rico                                                            L.                               Rico
    BOX 654                                  17 BK 03283-LTS                                                 APARTODO 654                     17 BK 03283-LTS
    AGUAS BUENAS, PR                                                                                         AGUAS BUENAS, PR
    00703                                                                                                    00703

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
428 LOPEZ MELENDEZ,               06/28/18   Commonwealth of Puerto         64564                 $ 60,090.03 LOPEZ MELENDEZ,      07/03/18   Commonwealth of Puerto    104425          $ 60,090.03
    HIPOLITO                                 Rico                                                             HIPOLITO                        Rico
    HC-01 6981                               17 BK 03283-LTS                                                  BO JUAN ASCENCIO                17 BK 03283-LTS
    AGUAS BUENAS, PR                                                                                          HC 01 BOX 6981
    00703                                                                                                     AGUAS BUENAS, PR
                                                                                                              00703

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
429 LOPEZ MORA, ESTHER            06/28/18   Commonwealth of Puerto         165634             Undetermined* LOPEZ MORA, ESTHER    06/28/18   Commonwealth of Puerto    165705       Undetermined*
    URB. SANTA JUANA II                      Rico                                                            URB SANTA JUANA II               Rico
    CALLE 2 H2                               17 BK 03283-LTS                                                 CALLE 2 H2                       17 BK 03283-LTS
    CAGUAS, PR 00725                                                                                         CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
430 LOPEZ MORALES, EDNA           05/23/18   Commonwealth of Puerto         14288              Undetermined* LOPEZ MORALES, EDNA   05/23/18   Commonwealth of Puerto    18130        Undetermined*
    C                                        Rico                                                            C                                Rico
    PO BOX 346                               17 BK 03283-LTS                                                 PO BOX 346                       17 BK 03283-LTS
    YABUCOA, PR 00767                                                                                        YABUCOA, PR 00767

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
431 LOPEZ MORALES, EDNA           05/23/18   Commonwealth of Puerto         17881              Undetermined* LOPEZ MORALES, EDNA   05/23/18   Commonwealth of Puerto    18130        Undetermined*
    C                                        Rico                                                            C                                Rico
    PO BOX 346                               17 BK 03283-LTS                                                 PO BOX 346                       17 BK 03283-LTS
    YABUCOA, PR 00767                                                                                        YABUCOA, PR 00767

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 83 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
432 LOPEZ PACHECO,                06/29/18   Commonwealth of Puerto         147723             Undetermined* LOPEZ PACHECO,          07/03/18   Commonwealth of Puerto    154704       Undetermined*
    AMARYLIS                                 Rico                                                            AMARYLIS                           Rico
    RES SABANA                               17 BK 03283-LTS                                                 RES SABANA C/ CUBA                 17 BK 03283-LTS
    E50 CALLE CUBA                                                                                           #E-50
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
433 LOPEZ PEREZ, FELIX A.         05/29/18   Commonwealth of Puerto         24581              Undetermined* LOPEZ PEREZ, FELIX A.   05/29/18   Commonwealth of Puerto    36520        Undetermined*
    URB HERMANAS                             Rico                                                            HERMANOS DAVILA                    Rico
    DAVILA E6 CALLE 4                        17 BK 03283-LTS                                                 E6 CALLE 4                         17 BK 03283-LTS
    BAYAMON, PR 00959                                                                                        BAYAMON, PR 00959

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
434 LOPEZ PLAZA, ROSE             06/27/18   Commonwealth of Puerto         105811             Undetermined* LOPEZ PLAZA, ROSE       06/27/18   Commonwealth of Puerto    105962       Undetermined*
    MARY                                     Rico                                                            MARY                               Rico
    PO BOX 8596                              17 BK 03283-LTS                                                 PO BOX 8596                        17 BK 03283-LTS
    HUMACAO, PR 00792                                                                                        HUMACAO, PR 00792

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
435 LOPEZ RAMIREZ, NOEMI          06/28/18   Commonwealth of Puerto         72303              Undetermined* LOPEZ RAMIREZ, NOEMI    06/29/18   Commonwealth of Puerto    74173        Undetermined*
    URB. SANTA ANA                           Rico                                                            URB. SANTA ANA                     Rico
    CALLE 6 B-13                             17 BK 03283-LTS                                                 CALLE 6 B-13                       17 BK 03283-LTS
    VEGA ALTA, PR 00692                                                                                      VEGA ALTA, PR 00692

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
436 LOPEZ RAMOS,                  06/27/18   Commonwealth of Puerto         80158              Undetermined* LOPEZ RAMOS,            06/27/18   Commonwealth of Puerto    132938       Undetermined*
    ZENAIDA                                  Rico                                                            ZENAIDA                            Rico
    MB-14 PUNTA SALINA                       17 BK 03283-LTS                                                 MB- 14 PUNTA SALINA                17 BK 03283-LTS
    URB. MARINA BAHIA                                                                                        URB.MARINA BAHIA
    CATANO, PR 00962                                                                                         CATANO, PR 00962

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
437 LOPEZ RIVERA, LUIS            06/28/18   Commonwealth of Puerto         65031              Undetermined* LOPEZ RIVERA, LUIS      06/28/18   Commonwealth of Puerto    69282        Undetermined*
    ALBERTO                                  Rico                                                            ALBERTO                            Rico
    17 CALLE PALMA REAL                      17 BK 03283-LTS                                                 17 CALLE PALMA REAL                17 BK 03283-LTS
    PENUELAS, PR 00624                                                                                       PEÑUELAS, PR 00624

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 84 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
438 LOPEZ RIVERA, MARIFE          06/28/18   Commonwealth of Puerto         61079              Undetermined* LOPEZ RIVERA, MARIFE      07/06/18   Commonwealth of Puerto    159840       Undetermined*
    HC 02 BOX 15208                          Rico                                                            HC 2 BOX 15208                       Rico
    VIEQUES, PR 00765                        17 BK 03283-LTS                                                 VIEQUES, PR 00765                    17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
439 LOPEZ RIVERA, WANDA           06/13/18   Commonwealth of Puerto         24552                 $ 56,074.43 LOPEZ RIVERA, WANDA      06/28/18   Commonwealth of Puerto    78950           $ 56,074.43
    I                                        Rico                                                             I                                   Rico
    PO BOX 10007                             17 BK 03283-LTS                                                  PO BOX 10007                        17 BK 03283-LTS
    SUITE 247                                                                                                 SUITE 247
    GUAYAMA, PR 00785                                                                                         GUAYAMA, PR 00785

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
440 LOPEZ ROCHE, LAURA L          06/21/18   Commonwealth of Puerto         33874              Undetermined* LOPEZ ROCHE, LAURA L      06/22/18   Commonwealth of Puerto    46397        Undetermined*
    PO BOX 22556                             Rico                                                            PO BOX 22556                         Rico
    SAN JUAN, PR 00931-2556                  17 BK 03283-LTS                                                 SAN JUAN, PR 00931-2556              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
441 LOPEZ ROSADO,                 06/29/18   Commonwealth of Puerto         132833             Undetermined* LOPEZ ROSADO,             06/29/18   Commonwealth of Puerto    145677       Undetermined*
    DAGMARILIS                               Rico                                                            DAGMARILIS                           Rico
    HC 1 BOX 4723                            17 BK 03283-LTS                                                 HC 1 BOX 4723                        17 BK 03283-LTS
    RINCON, PR 00677                                                                                         RINCON, PR 00677

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
442 LOPEZ RUIZ, CLAUDIO           06/29/18   Commonwealth of Puerto         73654              Undetermined* LOPEZ RUIZ, CLAUDIO       06/29/18   Commonwealth of Puerto    141902       Undetermined*
    HC 61 BOX 35420                          Rico                                                            HC 61 BOX 35420                      Rico
    CARRETERA #417                           17 BK 03283-LTS                                                 AGUADA, PR 00602                     17 BK 03283-LTS
    AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
443 LOPEZ RUIZ, ELSIE             07/05/18   Commonwealth of Puerto         105883             Undetermined* LOPEZ RUIZ, ELSIE         07/05/18   Commonwealth of Puerto    139219       Undetermined*
    #2 ONIX URB. LAMELA                      Rico                                                            #2 ONIX URB. LAMELA                  Rico
    ISABELA, PR 00662                        17 BK 03283-LTS                                                 ISABELA, PR 00662                    17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 85 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME               FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
444 LOPEZ SANTIAGO,               06/28/18   Commonwealth of Puerto         113651              $ 230,000.00* LOPEZ SANTIAGO,           06/28/18   Commonwealth of Puerto    120457        $ 230,000.00*
    MARIBEL                                  Rico                                                             MARIBEL                              Rico
    CALLE HONDURAS NUM                       17 BK 03283-LTS                                                  CALLE HONDURAS NUM                   17 BK 03283-LTS
    273                                                                                                       273
    APT 701 CONDOMINIO                                                                                        APT 701 CONDOMINIO
    ROYAL                                                                                                     ROYAL
    SAN JUAN, PR 00917                                                                                        SAN JUAN, PR 00917

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
445 LOPEZ SOBA, ROSA M.           04/26/18   Commonwealth of Puerto          8844              Undetermined* LOPEZ SOBA, ROSA M.        04/26/18   Commonwealth of Puerto    8995         Undetermined*
    URB EXT VILLA                            Rico                                                            VILLA TABAIBA                         Rico
    TABAIBA                                  17 BK 03283-LTS                                                 AVE HUNGRIA #276                      17 BK 03283-LTS
    276 AVE HUNGRIA                                                                                          PONCE, PR 00716-1331
    PONCE, PR 00716

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
446 LOPEZ TORRES, LORNA           07/02/18   Commonwealth of Puerto         142238             Undetermined* LOPEZ TORRES, LORNA        07/02/18   Commonwealth of Puerto    153942       Undetermined*
    PASEO LAS BRUMAS                         Rico                                                            PASEO LAS BRUMAS                      Rico
    CALLE ARCOIRIS 74                        17 BK 03283-LTS                                                 CALLE ARCOIRIS # 74                   17 BK 03283-LTS
    CAYEY, PR 00736                                                                                          CAYEY, PR 00736

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
447 LOPEZ TROCHE,                 05/29/18   Commonwealth of Puerto         38572                $ 18,000.00* LOPEZ TROCHE,             05/29/18   Commonwealth of Puerto    40538           $ 18,000.00
    LILIBETH                                 Rico                                                             LILIBETH                             Rico
    ALEJANDRA ANGELET                        17 BK 03283-LTS                                                  ALEJANDRA ANGELET                    17 BK 03283-LTS
    RODRÍGUEZ                                                                                                 RODRÍGUEZ
    PO BOX 9023904                                                                                            PO BOX 9023904
    SAN JUAN, PR 00902-3904                                                                                   SAN JUAN, PR 00902-3904

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
448 LOPEZ VAZQUEZ,                06/27/18   Commonwealth of Puerto         55748                   $ 8,000.00 LOPEZ VAZQUEZ,           07/24/18   Commonwealth of Puerto    167730           $ 8,000.00
    AURORA                                   Rico                                                              AURORA                              Rico
    URB. CIUDAD CENTRAL                      17 BK 03283-LTS                                                   URB. CIUDAD CENTRAL                 17 BK 03283-LTS
    II                                                                                                         II
    CALLE HERMANOS                                                                                             CALLE HERMANOS
    RUPPERT #705                                                                                               RUPPERT #705
    CAROLINA, PR 00987                                                                                         CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 86 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
449 LOPEZ VAZQUEZ,                06/28/18   Commonwealth of Puerto         118168             Undetermined* LOPEZ VAZQUEZ,         06/28/18   Commonwealth of Puerto    167169       Undetermined*
    NEIDA                                    Rico                                                            NEIDA                             Rico
    #4 CALLE PACO ROSA                       17 BK 03283-LTS                                                 #4 CALLE PACO ROSA                17 BK 03283-LTS
    MOCA, PR 00676                                                                                           MOCA, PR 00676

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
450 LOPEZ, MIGDALIA               06/07/18   Commonwealth of Puerto         49424              Undetermined* LOPEZ, MIGDALIA        06/07/18   Commonwealth of Puerto    49427        Undetermined*
    VALENTIN                                 Rico                                                            VALENTIN                          Rico
    PO BOX 1210                              17 BK 03283-LTS                                                 PO BOX 1210 VICTORIA              17 BK 03283-LTS
    VICTORIA STATION                                                                                         STATION
    AGUADILLA, PR 00605                                                                                      AGUADILLA, PR 00603

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
451 LORENZO ACEVEDO,              06/29/18   Commonwealth of Puerto         132014             Undetermined* LORENZO ACEVEDO,       06/29/18   Commonwealth of Puerto    132558       Undetermined*
    MANUEL                                   Rico                                                            MANUEL                            Rico
    REPARTO MINEULA #6                       17 BK 03283-LTS                                                 REPARTO MINURVA #6                17 BK 03283-LTS
    AGUADA, PR 00602                                                                                         AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
452 LORENZO CARRERO,              06/29/18   Commonwealth of Puerto         108788                $ 20,000.00 LORENZO CARRERO,      07/09/18   Commonwealth of Puerto    138245          $ 20,000.00
    IVIS D.                                  Rico                                                             IVIS D.                          Rico
    HC 60 BOX 12457                          17 BK 03283-LTS                                                  HC 60 BOX 12457                  17 BK 03283-LTS
    AGUADA, PR 00602                                                                                          AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
453 LORENZO GARCIA,               04/06/18   Commonwealth of Puerto          6690              Undetermined* LORENZO GARCIA,        04/06/18   Commonwealth of Puerto    6811         Undetermined*
    ROXANA                                   Rico                                                            ROXANA                            Rico
    URB ESTANCIAS DEL                        17 BK 03283-LTS                                                 URB ESTANCIAS DEL                 17 BK 03283-LTS
    RIO                                                                                                      RIO
    CALLE YAGUEZ # 740                                                                                       740 CALLE YAGUEZ
    HORMIGUERO, PR 00660                                                                                     HORMIGUEROS, PR
                                                                                                             00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 87 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
454 LORENZO GARCIA,               04/06/18   Commonwealth of Puerto          6799              Undetermined* LORENZO GARCIA,       04/06/18   Commonwealth of Puerto    6811         Undetermined*
    ROXANA                                   Rico                                                            ROXANA                           Rico
    URB ESTANCIAS DEL                        17 BK 03283-LTS                                                 URB ESTANCIAS DEL                17 BK 03283-LTS
    RIO                                                                                                      RIO
    740 CALLE YAGUEZ                                                                                         740 CALLE YAGUEZ
    HORMIGUEROS, PR                                                                                          HORMIGUEROS, PR
    00660                                                                                                    00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
455 LORENZO GONZALEZ,             06/29/18   Commonwealth of Puerto         93804              Undetermined* LORENZO GONZALEZ,     07/06/18   Commonwealth of Puerto    157898       Undetermined*
    MARIA E.                                 Rico                                                            MARIA E.                         Rico
    HC 60 BOX 12654                          17 BK 03283-LTS                                                 HC 60 BOX 12654                  17 BK 03283-LTS
    AGUADA, PR 00602                                                                                         AGUADA, PR 00602

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
456 LOZA RUIZ, SYLKIA             05/24/18   Commonwealth of Puerto         29227              Undetermined* LOZA RUIZ, SYLKIA     05/24/18   Commonwealth of Puerto    30129        Undetermined*
    P O BOX 315                              Rico                                                            PO BOX 315                       Rico
    YABUCOA, PR 00767                        17 BK 03283-LTS                                                 YABUCOA, PR 00767                17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
457 LOZA RUIZ, SYLMARIE           05/24/18   Commonwealth of Puerto         20979              Undetermined* LOZA RUIZ, SYLMARIE   05/24/18   Commonwealth of Puerto    31314        Undetermined*
    PO BOX 315                               Rico                                                            PO BOX 315                       Rico
    YABUCOA, PR 00767                        17 BK 03283-LTS                                                 YABUCOA, PR 00767                17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
458 LOZA RUIZ, SYLMARIE           05/24/18   Commonwealth of Puerto         24921              Undetermined* LOZA RUIZ, SYLMARIE   05/24/18   Commonwealth of Puerto    31314        Undetermined*
    PO BOX 315                               Rico                                                            PO BOX 315                       Rico
    YABUCOA, PR 00767                        17 BK 03283-LTS                                                 YABUCOA, PR 00767                17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
459 LUCENA OLMO,                  05/23/18   Commonwealth of Puerto         25817              Undetermined* LUCENA OLMO,          05/23/18   Commonwealth of Puerto    30728        Undetermined*
    EVELYN                                   Rico                                                            EVELYN                           Rico
    HC-01 BOX 41900                          17 BK 03283-LTS                                                 HC04 BOX 41900                   17 BK 03283-LTS
    MAYAGUEZ, PR 00680                                                                                       MAYAGUEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 88 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                             Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
460 LUGO ACOSTA, NOE              06/29/18   Commonwealth of Puerto         142759             Undetermined* LUGO ACOSTA, NOE        06/29/18   Commonwealth of Puerto    145981       Undetermined*
    URB. MANSIONES 28                        Rico                                                            URB. MANSIONES 28                  Rico
    SABANA GRANDE, PR                        17 BK 03283-LTS                                                 SABANA GRANDE, PR                  17 BK 03283-LTS
    00637-1517                                                                                               00637-1517

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
461 LUGO DOMINGUEZ,               05/10/18   Commonwealth of Puerto         14698                $ 40,091.23* LUGO DOMINGUEZ,        05/10/18   Commonwealth of Puerto    14699          $ 40,091.23*
    JOSE A                                   Rico                                                             JOSE A                            Rico
    URB. METROPOLIS Q-3                      17 BK 03283-LTS                                                  URB METROPOLIS                    17 BK 03283-LTS
    CALLE 22                                                                                                  Q 3 CALLE 22
    CAROLINA, PR 00987                                                                                        CAROLINA, PR 00987

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
462 LUGO MENDEZ, HARRY            06/01/18   Commonwealth of Puerto         34160              Undetermined* LUGO MENDEZ, HARRY      06/01/18   Commonwealth of Puerto    45815        Undetermined*
    RR 4 BOX 17301                           Rico                                                            RR 4 BOX 17301                     Rico
    ANASCO, PR 00610-9010                    17 BK 03283-LTS                                                 ANASCO, PR 00610-9010              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
463 LUGO MENDEZ, HARRY            06/01/18   Commonwealth of Puerto         45732              Undetermined* LUGO MENDEZ, HARRY      06/01/18   Commonwealth of Puerto    45815        Undetermined*
    RR 4 BOX 17301                           Rico                                                            RR 4 BOX 17301                     Rico
    ANASCO, PR 00610                         17 BK 03283-LTS                                                 ANASCO, PR 00610-9010              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
464 LUGO MENDEZ, HARRY            06/01/18   Commonwealth of Puerto         45771              Undetermined* LUGO MENDEZ, HARRY      06/01/18   Commonwealth of Puerto    45815        Undetermined*
    RR 4 BOX 17301                           Rico                                                            RR 4 BOX 17301                     Rico
    ANASCO, PR 00610-9010                    17 BK 03283-LTS                                                 ANASCO, PR 00610-9010              17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
465 LUGO MENDEZ, LUZ N.           06/28/18   Commonwealth of Puerto         70920                 $ 12,000.00 LUGO MENDEZ, LUZ N.    07/06/18   Commonwealth of Puerto    155082          $ 12,000.00
    URBANIZACION                             Rico                                                             URBANIZACION                      Rico
    COLINAS VERDES                           17 BK 03283-LTS                                                  COLINAS VERDES                    17 BK 03283-LTS
    CALLE #1 T-14                                                                                             CALLE #1 T-14
    SAN SEBASTIAN, PR                                                                                         SAN SEBASTIAN, PR
    00685                                                                                                     00685

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 89 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                             Desc:
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
466 LUGO PADILLA,                 06/29/18   Commonwealth of Puerto         82181              Undetermined* LUGO PADILLA,           06/29/18   Commonwealth of Puerto    94942        Undetermined*
    RAMONITA                                 Rico                                                            RAMONITA                           Rico
    92 URB. MANSIONES                        17 BK 03283-LTS                                                 92 URB. MANSIONES                  17 BK 03283-LTS
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
467 LUGO PADILLA,                 06/26/18   Commonwealth of Puerto         93718              Undetermined* LUGO PADILLA,           06/29/18   Commonwealth of Puerto    94942        Undetermined*
    RAMONITA                                 Rico                                                            RAMONITA                           Rico
    URB. MANSIONES # 92                      17 BK 03283-LTS                                                 92 URB. MANSIONES                  17 BK 03283-LTS
    SABANA GRANDE, PR                                                                                        SABANA GRANDE, PR
    00637                                                                                                    00637

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
468 LUGO PAGAN, ADA E.            06/28/18   Commonwealth of Puerto         116059                $ 20,000.00 LUGO PAGAN, ADA E.     06/28/18   Commonwealth of Puerto    120110          $ 20,000.00
    PO BOX 771                               Rico                                                             403 QUAMANI                       Rico
    HORMIGUEROS, PR                          17 BK 03283-LTS                                                  ESTANCIAS DEL RIO                 17 BK 03283-LTS
    00660                                                                                                     HORMIGUEROS, PR
                                                                                                              00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
469 LUGO PAGAN, ADA E.            06/28/18   Commonwealth of Puerto         120283               $ 100,000.00 LUGO PAGAN, ADA E.     06/28/18   Commonwealth of Puerto    121523         $ 100,000.00
    PABLO LUGO PAGAN                         Rico                                                             PO BOX 771                        Rico
    PO BOX 771                               17 BK 03283-LTS                                                  HORMIGUEROS, PR                   17 BK 03283-LTS
    HORMIGUEROS, PR                                                                                           00660
    00660

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
470 LUGO QUILES,                  05/25/18   Commonwealth of Puerto         27744                $ 44,538.91* LUGO QUILES,           05/25/18   Commonwealth of Puerto    30164           $ 44,538.91
    MARYLIN                                  Rico                                                             MARYLIN                           Rico
    URB HERSON MORALES                       17 BK 03283-LTS                                                  6 URB HERSON                      17 BK 03283-LTS
    6                                                                                                         MORALES
    CABO ROJO, PR 00623                                                                                       CABO ROJO, PR 00623-
                                                                                                              4506

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 90 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
471 LUGO SEGARRA,                 05/09/18   Commonwealth of Puerto         12498              Undetermined* LUGO SEGARRA,           05/09/18   Commonwealth of Puerto    12613        Undetermined*
    BRENDA                                   Rico                                                            BRENDA                             Rico
    URB MAYAGUEZ                             17 BK 03283-LTS                                                 URB MAYAGUEZ                       17 BK 03283-LTS
    TERRACE                                                                                                  TERRACE
    7086 B GAUDIER                                                                                           7086 B GAUDIER
    TEXIDOR                                                                                                  TEXIDOR
    MAYAGUEZ, PR 00682-                                                                                      MAYAGUEZ, PR 00682-
    6616                                                                                                     6616

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
472 LUGO TROCHE, ADA              07/03/18   Commonwealth of Puerto         142309               $ 13,800.00* LUGO TROCHE, ADA       07/03/18   Commonwealth of Puerto    146341          $ 13,800.00
    IRIS                                     Rico                                                             IRIS                              Rico
    523 CALLE F                              17 BK 03283-LTS                                                  523, CALLE F.                     17 BK 03283-LTS
    MARTINEZ DE MATOS                                                                                         MARTINEZ DE MATOS
    URB VILLA SOL TENITA                                                                                      URB. VILLA SUSTANITA
    MAYAGUEZ, PR 00680                                                                                        MAYAGUEZ, PR 00680

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
473 LUNA ORTIZ, NORMA             06/24/18   Commonwealth of Puerto         40489              Undetermined* LUNA ORTIZ, NORMA       06/25/18   Commonwealth of Puerto    48682        Undetermined*
    PO BOX 482                               Rico                                                            PO BOX 482                         Rico
    SALINAS, PR 00751                        17 BK 03283-LTS                                                 SALINAS, PR 00751                  17 BK 03283-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
474 MACHADO ROSADO,               06/07/18   Commonwealth of Puerto         34557              Undetermined* MACHADO ROSADO,         06/07/18   Commonwealth of Puerto    49520        Undetermined*
    MAYRA                                    Rico                                                            MAYRA                              Rico
    2281 CARR.494                            17 BK 03283-LTS                                                 2281 CARR.494                      17 BK 03283-LTS
    ISABELA, PR 00662                                                                                        ISABELA, PR 00662

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
475 MACHADO ROSADO,               06/07/18   Commonwealth of Puerto         49260              Undetermined* MACHADO ROSADO,         06/07/18   Commonwealth of Puerto    49520        Undetermined*
    MAYRA                                    Rico                                                            MAYRA                              Rico
    2281 CARR 494                            17 BK 03283-LTS                                                 2281 CARR.494                      17 BK 03283-LTS
    ISABELA, PR 00662                                                                                        ISABELA, PR 00662

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 91 of 96
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                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
476 MACHIN FONSECA,               06/06/18   Commonwealth of Puerto         49063              Undetermined* MACHIN FONSECA,         06/06/18   Commonwealth of Puerto    59556        Undetermined*
    MIGDALIA                                 Rico                                                            MIGDALIA                           Rico
    URB SANTA JUANITA                        17 BK 03283-LTS                                                 URB. SANTA JUANITA                 17 BK 03283-LTS
    WB 22 A CALLE                                                                                            CALLE TORRECH SUR
    TORRECH SUR                                                                                              WB-22 A
    BAYAMON, PR 00956                                                                                        BAYAMON, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
477 MAISONET ARZUAGA,             05/09/18   Commonwealth of Puerto         12766              Undetermined* MAISONET ARZUAGA,       05/09/18   Commonwealth of Puerto    13437        Undetermined*
    MIRIAM                                   Rico                                                            MIRIAM                             Rico
    URB COLINAS DE SAN                       17 BK 03283-LTS                                                 URB COLINAS DE SAN                 17 BK 03283-LTS
    AGUSTIN                                                                                                  AGUSTIN
    115 CALLE SAN                                                                                            115 CALLE SAN
    CRISTOBAL                                                                                                CRISTOBAL
    LAS PIEDRAS, PR 00771                                                                                    LAS PIEDRAS, PR 00771

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
478 MAISONET                      05/15/18   Commonwealth of Puerto         15377                $ 150,420.00 MAISONET               05/15/18   Commonwealth of Puerto    15467          $ 150,420.00
    CONCEPCION, HECTOR                       Rico                                                             CONCEPCION, HECTOR                Rico
    PO BOX 591                               17 BK 03283-LTS                                                  PO BOX 591                        17 BK 03283-LTS
    FLORIDAD, PR 00650                                                                                        FLORIDAD, PR 00650

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
479 MAISONET                      05/15/18   Commonwealth of Puerto         15383                $ 150,420.00 MAISONET               05/15/18   Commonwealth of Puerto    15467          $ 150,420.00
    CONCEPCION, HECTOR                       Rico                                                             CONCEPCION, HECTOR                Rico
    PO BOX 591                               17 BK 03283-LTS                                                  PO BOX 591                        17 BK 03283-LTS
    FLORIDA, PR 00650                                                                                         FLORIDAD, PR 00650

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
480 MAISONET ORTIZ,               05/16/18   Commonwealth of Puerto         15743              Undetermined* MAISONET ORTIZ,         05/16/18   Commonwealth of Puerto    15770        Undetermined*
    MIGDALIA                                 Rico                                                            MIGDALIA                           Rico
    PO BOX 2645                              17 BK 03283-LTS                                                 PO BOX 2645                        17 BK 03283-LTS
    JUNCOS, PR 00777                                                                                         JUNCOS, PR 00777

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 92 of 96
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
481 MALAVE CRESPO,               06/29/18   Commonwealth of Puerto         126391             Undetermined* MALAVE CRESPO,        06/29/18   Commonwealth of Puerto    135488       Undetermined*
    ROBERTO                                 Rico                                                            ROBERTO                          Rico
    URB. EXT. ELIZABETH                     17 BK 03283-LTS                                                 URB. EXT. ELIZABETH              17 BK 03283-LTS
    5117 CALLE CANTARES                                                                                     5117 CALLE CANTARES
    CABO ROJO, PR 00623                                                                                     CABO ROJO, PR 00623

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
482 MALDONADO COLON,             05/21/18   Commonwealth of Puerto         24433                $ 350,000.00 MALDONADO COLON,     05/21/18   Commonwealth of Puerto    25094          $ 350,000.00
    SHENAIRA                                Rico                                                             SHENAIRA                        Rico
    HC-01 BOX 17438                         17 BK 03283-LTS                                                  HC 1 BOX 17438                  17 BK 03283-LTS
    HUMACAO, PR 00791                                                                                        HUMACAO, PR 00791

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
483 MALDONADO CRUZ,              06/29/18   Commonwealth of Puerto         101440             Undetermined* MALDONADO CRUZ,       07/24/18   Commonwealth of Puerto    158279       Undetermined*
    NICOLAS                                 Rico                                                            NICOLAS                          Rico
    URB. HILL VIEW                          17 BK 03283-LTS                                                 URB HILL VIEW                    17 BK 03283-LTS
    CALLE LAKE NUM. 328                                                                                     C LAKE 328
    YAUCO, PR 00698                                                                                         YAUCO, PR 00698

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
484 MALDONADO DIAZ,              03/26/18   Commonwealth of Puerto          2817                 $ 40,000.00 MALDONADO DIAZ,      03/26/18   Commonwealth of Puerto    4827            $ 40,000.00
    JAVIER                                  Rico                                                             JAVIER                          Rico
    SECTOR PONDEROSA                        17 BK 03283-LTS                                                  SECTOR PONDEROSA                17 BK 03283-LTS
    811                                                                                                      811 CALLE LAREDO
    CALLE LAREDO                                                                                             PONCE, PR 00730
    PONCE, PR 00730

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
485 MALDONADO GREEN,             05/24/18   Commonwealth of Puerto         31325              Undetermined* MALDONADO GREEN,      05/24/18   Commonwealth of Puerto    33449        Undetermined*
    SONIA E                                 Rico                                                            SONIA E                          Rico
    VILLA COQUI # 200                       17 BK 03283-LTS                                                 200 VILLA COQUI                  17 BK 03283-LTS
    BARRANQUITAS, PR                                                                                        BARRANQUITAS, PR
    00794                                                                                                   00794

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                      Page 93 of 96
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME             FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
486 MALDONADO                    05/14/18   Commonwealth of Puerto         11073                 $ 76,413.64 MALDONADO             05/14/18   Commonwealth of Puerto    13360           $ 76,413.64
    GUADALUPE, NARCISO                      Rico                                                             GUADALUPE, NARCISO               Rico
    FAJARDO GARDENS                         17 BK 03283-LTS                                                  FAJARDO GARDENS                  17 BK 03283-LTS
    384 CALLE CEDRO                                                                                          384 CALLE CEDRO
    FAJARDO, PR 00738                                                                                        FAJARDO, PR 00738

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
487 MALDONADO                    06/27/18   Commonwealth of Puerto         100063               $ 13,000.00* MALDONADO             06/27/18   Commonwealth of Puerto    108861         $ 13,000.00*
    HERNANDEZ, NORA H.                      Rico                                                             HERNANDEZ, NORA H.               Rico
    212 MILLO                               17 BK 03283-LTS                                                  212 MILLE MALDONADO              17 BK 03283-LTS
    MALDONADO GRANJAS                                                                                        GRANJAS
    VEGA BAJA, PR 00693                                                                                      VEGA BAJA, PR 00693

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
488 MALDONADO LABOY,             06/25/18   Commonwealth of Puerto         50642              Undetermined* MALDONADO LABOY,       06/29/18   Commonwealth of Puerto    67335        Undetermined*
    PILAR                                   Rico                                                            PILAR                             Rico
    PO BOX 1385                             17 BK 03283-LTS                                                 PO BOX 1385                       17 BK 03283-LTS
    JAYUYA, PR 00664                                                                                        JAYUYA, PR 00664

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
489 MALDONADO                    06/28/18   Commonwealth of Puerto         117603             Undetermined* MALDONADO              06/28/18   Commonwealth of Puerto    141874       Undetermined*
    MALDONADO, LYDIA                        Rico                                                            MALDONADO, LYDIA                  Rico
    2104 DRAMA URB. SAN                     17 BK 03283-LTS                                                 2104 DRAMA                        17 BK 03283-LTS
    ANTONIO                                                                                                 URB. SAN ANTONIO
    PONCE, PR 00728                                                                                         PONCE, PR 00728

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
490 MALDONADO                    06/28/18   Commonwealth of Puerto         63624              Undetermined* MALDONADO              06/28/18   Commonwealth of Puerto    70945        Undetermined*
    MALDONADO, MYRIAM                       Rico                                                            MALDONADO, MYRIAM                 Rico
    COND. TORRE DEL                         17 BK 03283-LTS                                                 COND. TORRE DEL                   17 BK 03283-LTS
    PARQUE                                                                                                  PARQUE SUR
    APT.1411                                                                                                APT. 1411
    FEDERICO MONTILLA                                                                                       FEDERICO MONTILLA
    1700                                                                                                    1700
    BAYAMON, PR 00956                                                                                       BAYAMON, PR 00956

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 94 of 96
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                                                                            Twenty-Fourth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                              REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                   DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT               NAME          FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
491 MALDONADO                    05/23/18   Commonwealth of Puerto         19541              Undetermined* MALDONADO           05/23/18   Commonwealth of Puerto    31285        Undetermined*
    MARQUEZ, VILMA R                        Rico                                                            MARQUEZ, VILMA R               Rico
    BO DAGUADO                              17 BK 03283-LTS                                                 BO DAGUAO                      17 BK 03283-LTS
    BOX 146                                                                                                 BOX 146
    NAGUABO, PR 00718                                                                                       NAGUABO, PR 00718

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
492 MALDONADO                    05/23/18   Commonwealth of Puerto         34231              Undetermined* MALDONADO           05/23/18   Commonwealth of Puerto    31285        Undetermined*
    MARQUEZ, VILMA R                        Rico                                                            MARQUEZ, VILMA R               Rico
    BO DAGUAO                               17 BK 03283-LTS                                                 BO DAGUAO                      17 BK 03283-LTS
    BOX 146                                                                                                 BOX 146
    NAGUABO, PR 00718                                                                                       NAGUABO, PR 00718

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
493 MALDONADO MENDEZ,            05/17/18   Commonwealth of Puerto         13556              Undetermined* MALDONADO MENDEZ,   05/17/18   Commonwealth of Puerto    14522        Undetermined*
    PEDRO L                                 Rico                                                            PEDRO L                        Rico
    HC 08 BOX 346                           17 BK 03283-LTS                                                 HC 08 BOX 346                  17 BK 03283-LTS
    PONCE, PR 00731                                                                                         PONCE, PR 00731

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
494 MALDONADO MENDEZ,            05/17/18   Commonwealth of Puerto         13560              Undetermined* MALDONADO MENDEZ,   05/17/18   Commonwealth of Puerto    14522        Undetermined*
    PEDRO L                                 Rico                                                            PEDRO L                        Rico
    HC 08 BOX 346                           17 BK 03283-LTS                                                 HC 08 BOX 346                  17 BK 03283-LTS
    PONCE, PR 00731                                                                                         PONCE, PR 00731

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
495 MALDONADO MENDEZ,            05/17/18   Commonwealth of Puerto         14515              Undetermined* MALDONADO MENDEZ,   05/17/18   Commonwealth of Puerto    14522        Undetermined*
    PEDRO L                                 Rico                                                            PEDRO L                        Rico
    HC 08 BOX 346                           17 BK 03283-LTS                                                 HC 08 BOX 346                  17 BK 03283-LTS
    PONCE, PR 00731                                                                                         PONCE, PR 00731

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
496 MALDONADO MENDEZ,            05/17/18   Commonwealth of Puerto         13497              Undetermined* MALDONADO MENDEZ,   05/17/18   Commonwealth of Puerto    13528        Undetermined*
    PEDRO L.                                Rico                                                            PEDRO L.                       Rico
    HC 08 BOX 346                           17 BK 03283-LTS                                                 HC 08 BOX 346                  17 BK 03283-LTS
    PONCE, PR 00731                                                                                         PONCE, PR 00731

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                    Page 95 of 96
                                       Case:17-03283-LTS Doc#:6273-1 Filed:04/15/19 Entered:04/15/19 20:36:13                                             Desc:
                                                  Exhibit Exhibit A (Schedule of Claims -English) Page 97 of 97

                                                                             Twenty-Fourth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                 NAME            FILED            DEBTOR             CLAIM #   CLAIM AMOUNT
497 MALDONADO SOTO,               06/27/18   Commonwealth of Puerto         37266              Undetermined* MALDONADO SOTO,         06/27/18   Commonwealth of Puerto    43081        Undetermined*
    MINERVA                                  Rico                                                            MINERVA                            Rico
    PO BOX 353                               17 BK 03283-LTS                                                 PO BOX 353                         17 BK 03283-LTS
    CASTANER, PR 00631-                                                                                      CASTAÑER, PR 00631
    0353

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
498 MANAGEMENT                    06/28/18   Commonwealth of Puerto         64914               $ 3,516,879.18 MANAGEMENT            06/29/18   Commonwealth of Puerto    100310       $ 3,516,879.18
    CONSULTANTS &                            Rico                                                              CONSULTANTS &                    Rico
    COMPUTER SERVICES,                       17 BK 03283-LTS                                                   COMPUTER SERVICES,               17 BK 03283-LTS
    INC.                                                                                                       INC.
    P.O. BOX 195236                                                                                            RICARDO L. ORTIZ-
    SAN JUAN, PR 00919-5236                                                                                    COLON, ESQ.
                                                                                                               PO BOX 195236
                                                                                                               SAN JUAN, PR 00919-
                                                                                                               5236

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
499 MANSO ESCOBAR,                05/25/18   Commonwealth of Puerto         19782              Undetermined* MANSO ESCOBAR,          06/06/18   Commonwealth of Puerto    42338        Undetermined*
    YANIS                                    Rico                                                            YANIS                              Rico
    SUITE 178-1980                           17 BK 03283-LTS                                                 SUITE 178-1980                     17 BK 03283-LTS
    LOIZA, PR 00772                                                                                          LOIZA, PR 00772

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
500 MANSO ESCOBAR,                05/25/18   Commonwealth of Puerto         23502              Undetermined* MANSO ESCOBAR,          06/06/18   Commonwealth of Puerto    42338        Undetermined*
    YANIS                                    Rico                                                            YANIS                              Rico
    POLICIA DE PUERTO                        17 BK 03283-LTS                                                 SUITE 178-1980                     17 BK 03283-LTS
    RICO                                                                                                     LOIZA, PR 00772
    AUXILIAR DE SISTEMA
    DE OFICINA II
    SUITE 178-1980
    LOIZA, PR 00772-1980

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 96 of 96
